Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 1 of 22 PageID: 826




                              EXHIBIT 1
                            Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 2 of 22 PageID: 827

                                                   Su v. Ernie's Auto Detailing Inc., et al.
                                                     Case No. 20-CV-17785-KM-ESK
                                                                  Exhibit 1


                                                                        Violation    To Violation
                                                     Geographic        Period From Period Week                         Liquidated     Total Damages
              Last Name             First Name       Worksheets        Week Ending     Ending      Back Wages Due     Damages Due          Due
1    Abbene                   Anthony            NYC                      5/21/2017      6/4/2017 $          50.40   $        50.40   $        100.80
2    Abel Martinez            Rircado            NJ                      12/29/2019     1/26/2020 $         110.83   $       110.83   $        221.66
3    Abraham                  Tiffany            NJ                       8/13/2017     10/8/2017 $         895.35   $       895.35   $      1,790.70
4    Abreu                    Dariel             NYC                      2/11/2018      3/4/2018 $          50.27   $        50.27   $        100.54
5    Abreu                    Wilmer             NJ                      12/15/2019     1/26/2020 $         721.28   $       721.28   $      1,442.56
6    Abreu Cabrera            Michel             Long Island              1/20/2019     2/24/2019 $         391.40   $       391.40   $        782.80
7    Abreu Dominquez          Eliut              NJ                       9/15/2019     12/1/2019 $         998.00   $       998.00   $      1,996.00
8    Abreu Melendez           Wellington         NJ                      10/20/2019     1/26/2020 $         886.31   $       886.31   $      1,772.62
9    Abud Garcia              Elvis de Jesus     NYC                      2/25/2018     7/15/2018 $       8,694.25   $     8,694.25   $     17,388.50
10   Accoo                    Wayne              NJ                       5/20/2018      7/8/2018 $         203.46   $       203.46   $        406.92
11   Acevedo                  Josue              NJ                         8/6/2017    1/26/2020 $      10,928.75   $    10,928.75   $     21,857.50
12   Acosta                   Brian              NYC                      1/21/2018     1/26/2020 $       9,698.85   $     9,698.85   $     19,397.70
13   Acosta                   Elmer              Long Island              1/14/2018     7/15/2018 $       2,564.70   $     2,564.70   $      5,129.40
14   Acosta                   Jimmie             NJ                       9/24/2017     6/23/2019 $       3,025.07   $     3,025.07   $      6,050.14
15   Acosta                   Luilly J.          NJ                         2/5/2017   11/11/2018 $       3,783.06   $     3,783.06   $      7,566.12
16   Acosta                   Luis A.            NJ                      11/12/2017     1/26/2020 $      19,508.40   $    19,508.40   $     39,016.80
17   Acosta Valerio           Jorge Luis         NY/NJ                      5/7/2017   11/17/2019 $      11,461.91   $    11,461.91   $     22,923.82
18   Adames                   Alejandro          NYC                      11/4/2018    11/25/2018 $         330.28   $       330.28   $        660.56
19   Afanador                 Daniel             NYC                        1/7/2018    1/26/2020 $      15,160.00   $    15,160.00   $     30,320.00
20   Ageniel Arias            Angel              NJ                       7/21/2019     8/11/2019 $         549.52   $       549.52   $      1,099.04
21   Agramonte                Eddher             NYC/Westchester            4/1/2018    1/26/2020 $      18,958.11   $    18,958.11   $     37,916.22
22   Aguasanta                Geraldo            NYC                      4/23/2017     1/26/2020 $      11,126.48   $    11,126.48   $     22,252.96
23   Agudelo                  Rodrigo            NYC                      5/12/2019     1/26/2020 $      10,131.91   $    10,131.91   $     20,263.82
24   Agudelo                  Steven             Westchester                7/2/2017     1/7/2018 $       5,120.98   $     5,120.98   $     10,241.96
25   Agudelo Moncada          Sandra Marcela     NJ                       4/14/2019     1/26/2020 $       2,929.82   $     2,929.82   $      5,859.64
26   Aguilar                  Breydi             Long Island                2/5/2017     8/5/2018 $       2,825.33   $     2,825.33   $      5,650.66
27   Aguilar                  Douglas            Westchester                2/5/2017    1/26/2020 $      20,690.26   $    20,690.26   $     41,380.52
28   Aguilar Cortez           Elvis              NJ                       12/1/2019     1/26/2020 $         185.72   $       185.72   $        371.44
29   Aguilar Landa            Johanan            NJ                       12/9/2018      1/5/2020 $       9,764.65   $     9,764.65   $     19,529.30
30   Aguilar Orellana         Jose A.            NJ                         2/5/2017    11/5/2017 $       2,480.32   $     2,480.32   $      4,960.64
31   Aguinada                 Jose               NJ                      12/17/2017     2/17/2019 $         311.92   $       311.92   $        623.84
32   Aguinada Orellana        Jose W.            Long Island                2/5/2017    1/26/2020 $      16,531.81   $    16,531.81   $     33,063.62
33   Alamo                    Angel              PA                         9/1/2019    1/26/2020 $       1,627.12   $     1,627.12   $      3,254.24
34   Alanya                   Paul               NJ                         2/5/2017    1/26/2020 $      23,543.18   $    23,543.18   $     47,086.36
35   Albeno                   Jorge              NYC                        2/5/2017    1/26/2020 $      29,194.68   $    29,194.68   $     58,389.36
36   Alberto A. Cifuentes     Luis               NJ                         2/5/2017    12/1/2019 $      21,322.10   $    21,322.10   $     42,644.20
37   Alberto Alcantara        Jose               NYC                      9/30/2018     9/15/2019 $       6,270.35   $     6,270.35   $     12,540.70
38   Alberto Cruz             Jose               NJ                         9/9/2018    1/19/2020 $       4,378.83   $     4,378.83   $      8,757.66
39   Alberto Ferreria         Ramon              Westchester              6/17/2018     1/26/2020 $      18,566.20   $    18,566.20   $     37,132.40
40   Alberto Gutierrez        Luis               NJ                      10/20/2019     1/19/2020 $       2,220.59   $     2,220.59   $      4,441.18
41   Alberto Henriquez        Lewis              NJ                         6/9/2019   12/15/2019 $         942.32   $       942.32   $      1,884.64
42   Alberto Rojas            Francis            NJ                         4/9/2017    1/26/2020 $       9,323.29   $     9,323.29   $     18,646.58
43   Alcantara                Carlos             NJ                       2/19/2017     3/26/2017 $         440.75   $       440.75   $        881.50
44   Alcantara                Engell             NJ                         8/4/2019    8/25/2019 $         249.70   $       249.70   $        499.40
45   Alcantara                Miguel             NYC/NJ                   11/4/2018      9/1/2019 $       1,101.73   $     1,101.73   $      2,203.46
46   Alcantara Medina         Miguel             NJ                       9/16/2018     1/26/2020 $       8,469.63   $     8,469.63   $     16,939.26
47   Alcantara Ovidio         Juan Luis          NYC                      4/16/2017     1/26/2020 $      56,017.35   $    56,017.35   $   112,034.70
48   Alcazar                  William            NJ                         2/5/2017    1/26/2020 $      27,054.19   $    27,054.19   $     54,108.38
49   Aldana                   Alexander          NJ                       1/13/2019      5/5/2019 $       1,944.83   $     1,944.83   $      3,889.66
50   Alegria                  Alberto            NJ                         5/7/2017    1/26/2020 $      26,731.44   $    26,731.44   $     53,462.88
51   Alejandro Alvarado       Leiser             NJ                       8/25/2019     1/26/2020 $       2,738.91   $     2,738.91   $      5,477.82
52   Alex Canales             Melvis             Long Island              12/9/2018     3/31/2019 $       1,991.83   $     1,991.83   $      3,983.66
53   Alexander Barrera        Luswin             NYC/NJ                   9/24/2017     1/26/2020 $      24,051.12   $    24,051.12   $     48,102.24
54   Alexander Nino           Wilber             Long Island              8/20/2017      9/8/2019 $      11,272.19   $    11,272.19   $     22,544.38
55   Alexander Portillo       Denis              NJ                       8/13/2017     1/26/2020 $      14,794.14   $    14,794.14   $     29,588.28
56   Alexander Velasquez      Rene               NYC                        9/3/2017     6/2/2019 $      12,919.77   $    12,919.77   $     25,839.54
57   Alexis Castro            Ramon              NJ                       7/23/2017     1/21/2018 $       1,070.70   $     1,070.70   $      2,141.40
58   Alfonso Ocamp            Edwin              NJ                       3/25/2018    11/25/2018 $          71.50   $        71.50   $        143.00
59   Alfredo Moza             Wil                Long Island              7/15/2018     1/26/2020 $       6,203.24   $     6,203.24   $     12,406.48
60   Algenis Rodriguez        Diony              NJ                       10/6/2019     1/26/2020 $       2,010.08   $     2,010.08   $      4,020.16
61   Almanzar                 Benjamin M.        NYC                        2/5/2017   11/26/2017 $       6,462.03   $     6,462.03   $     12,924.06
62   Almanzar                 Victor             NJ                       4/23/2017      6/3/2018 $       4,793.92   $     4,793.92   $      9,587.84
63   Almanzar Leonardo        Bienvenido Jesus   NYC                      1/13/2019     1/26/2020 $      22,930.03   $    22,930.03   $     45,860.06
64   Almodovar                Angel              NJ                       7/29/2018     1/26/2020 $       1,909.68   $     1,909.68   $      3,819.36
65   Almonte                  Jose               NJ                         2/5/2017    1/26/2020 $       4,777.84   $     4,777.84   $      9,555.68
66   Almonte                  Ramon              NJ                      10/20/2019    10/27/2019 $          87.01   $        87.01   $        174.02
67   Almonte Payano           Turlin             NJ                       5/20/2018     1/26/2020 $       7,959.23   $     7,959.23   $     15,918.46
68   Alonso                   John               NJ                       2/17/2019     1/26/2020 $       6,940.48   $     6,940.48   $     13,880.96
69   Alvarado                 Abelino            NJ                         2/5/2017    1/26/2020 $      23,688.78   $    23,688.78   $     47,377.56
70   Alvarado                 Alejandro          NJ                       4/21/2019     5/12/2019 $         195.83   $       195.83   $        391.66
71   Alvarado                 Alfonso            Long Island                3/4/2018   10/21/2018 $       4,585.09   $     4,585.09   $      9,170.18
72   Alvarado                 Brayan             NJ                       6/17/2018     1/26/2020 $       1,604.79   $     1,604.79   $      3,209.58
73   Alvarado                 Gustavo            NJ                       8/25/2019     1/26/2020 $       3,182.18   $     3,182.18   $      6,364.36
74   Alvarado                 Herbert            NYC                      4/23/2017     5/28/2017 $         537.03   $       537.03   $      1,074.06



                                                                       1
                            Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 3 of 22 PageID: 828

                                                    Su v. Ernie's Auto Detailing Inc., et al.
                                                      Case No. 20-CV-17785-KM-ESK
                                                                   Exhibit 1


                                                                         Violation    To Violation
                                                     Geographic         Period From Period Week                         Liquidated     Total Damages
                Last Name           First Name       Worksheets         Week Ending     Ending      Back Wages Due     Damages Due          Due
 75   Alvarado                Jonathan           NJ                       12/23/2018      8/4/2019 $       2,993.79   $     2,993.79   $      5,987.58
 76   Alvarado                Jose               NJ                          2/5/2017    1/26/2020 $      27,472.31   $    27,472.31   $     54,944.62
 77   Alvarado                Jose               NJ                       12/16/2018     2/10/2019 $         288.58   $       288.58   $        577.16
 78   Alvarado                Josue              Long Island               4/30/2017      4/7/2019 $       6,587.32   $     6,587.32   $     13,174.64
 79   Alvarado                Lazaro             NJ                       11/17/2019     1/26/2020 $       1,186.72   $     1,186.72   $      2,373.44
 80   Alvarado                Luis               NY                       12/17/2017     7/29/2018 $       2,370.46   $     2,370.46   $      4,740.92
 81   Alvarado                Saul               NJ                        3/10/2019     1/26/2020 $       9,053.47   $     9,053.47   $     18,106.94
 82   Alvarado                Wilmar J.          NJ                          3/3/2019   11/17/2019 $       4,925.37   $     4,925.37   $      9,850.74
 83   Alvarado Mejia          Oliver             NJ                       10/20/2019    12/22/2019 $         632.33   $       632.33   $      1,264.66
 84   Alvarado Ramirez        Chon               Long Island               6/11/2017     3/25/2018 $       3,840.19   $     3,840.19   $      7,680.38
 85   Alvarenca               Juan               NJ                        5/19/2019     1/26/2020 $       6,057.10   $     6,057.10   $     12,114.20
 86   Alvarez                 Siro               NJ                       11/11/2018     1/26/2020 $       3,043.88   $     3,043.88   $      6,087.76
 87   Alvarez Perez           Johan Camilo       NJ                          8/4/2019    12/1/2019 $       1,052.75   $     1,052.75   $      2,105.50
 88   Amador                  Alix E.            Westchester               4/16/2017     4/30/2017 $         101.58   $       101.58   $        203.16
 89   Amarante Pierrot        Bryan              NJ                        7/16/2017    11/11/2018 $       1,567.50   $     1,567.50   $      3,135.00
 90   Amaya                   Erick              Long Island               9/23/2018    11/17/2019 $       2,703.33   $     2,703.33   $      5,406.66
 91   Amaya                   Samuel             Long Island               1/13/2019     3/31/2019 $       1,974.75   $     1,974.75   $      3,949.50
 92   Amica                   Welfran            NJ                        6/16/2019     7/21/2019 $         432.61   $       432.61   $        865.22
 93   Amilcar Marquez         Fredy              NJ                       10/29/2017    11/26/2017 $         307.08   $       307.08   $        614.16
 94   Anderson                Johnathan          NYC                       1/21/2018     6/10/2018 $       3,196.18   $     3,196.18   $      6,392.36
 95   Andonaire               Miguel             Westchester               1/26/2020     1/26/2020 $         170.38   $       170.38   $        340.76
 96   Andre Chance            Virgil             NYC/NJ                      4/8/2018    1/26/2020 $         419.66   $       419.66   $        839.32
 97   Andres                  Feliz              NJ                       10/20/2019     1/26/2020 $         835.18   $       835.18   $      1,670.36
 98   Andres Soto             Yonier             NJ                        5/19/2019      9/8/2019 $       3,325.25   $     3,325.25   $      6,650.50
 99   Angel Hernandez         Jose               NJ                          2/3/2019    3/10/2019 $         919.50   $       919.50   $      1,839.00
100   Angel Peralta           Miguel             NJ                        10/6/2019     1/26/2020 $         650.94   $       650.94   $      1,301.88
101   Anormaliza              Ryan               NYC                         8/5/2018    4/28/2019 $       5,061.08   $     5,061.08   $     10,122.16
102   Anthony Gascot          Marc               NJ                        1/19/2020     1/26/2020 $         200.29   $       200.29   $        400.58
103   Antonetti               Jose               NYC                       12/3/2017     1/26/2020 $       6,404.72   $     6,404.72   $     12,809.44
104   Antonio                 Miguel             NJ                        9/15/2019     9/29/2019 $         177.50   $       177.50   $        355.00
105   Antonio Camacho         Luis               Westchester              11/25/2018     4/14/2019 $       4,439.43   $     4,439.43   $      8,878.86
106   Antonio Cardoza         Juan               Long Island               3/31/2019     1/26/2020 $       4,909.78   $     4,909.78   $      9,819.56
107   Antonio Castro          Gerber             Long Island               1/27/2019     1/26/2020 $       7,733.08   $     7,733.08   $     15,466.16
108   Antonio Castro          Wilfredo           Long Island                 2/5/2017    1/19/2020 $      12,516.49   $    12,516.49   $     25,032.98
109   Antonio Cueto           Ramon              NJ                        3/12/2017     1/26/2020 $      11,726.46   $    11,726.46   $     23,452.92
110   Antonio Felipe          Juan               NJ                        9/10/2017     1/26/2020 $       7,787.76   $     7,787.76   $     15,575.52
111   Antonio Garcia          Tomas              Long Island                 2/5/2017    2/12/2017 $          96.28   $        96.28   $        192.56
112   Antonio Hernandez       Jose               CT                        12/1/2019     1/26/2020 $         978.03   $       978.03   $      1,956.06
113   Antonio Morel           Jose               NJ                        12/8/2019     1/26/2020 $       1,666.43   $     1,666.43   $      3,332.86
114   Antonio Pena            Melanio            NJ                        2/12/2017     1/26/2020 $      15,807.23   $    15,807.23   $     31,614.46
115   Antonio Quintanilla     Gerson             NJ                        10/8/2017     4/28/2019 $      12,135.00   $    12,135.00   $     24,270.00
116   Antonio Rodriguez       Jose               NJ                       12/29/2019     1/26/2020 $         365.50   $       365.50   $        731.00
117   Antonio Rodriguez       Ramiro             Long Island               6/24/2018     11/3/2019 $         880.61   $       880.61   $      1,761.22
118   Antonio Ynfante         Wilson             Westchester                 8/6/2017   10/15/2017 $       1,991.50   $     1,991.50   $      3,983.00
119   Antono Perez            Francisco          NJ                        4/28/2019     1/26/2020 $       2,171.90   $     2,171.90   $      4,343.80
120   Aponte Ortiz            Erik               NY                        1/19/2020     1/26/2020 $          80.30   $        80.30   $        160.60
121   Aquino                  Elias              NJ                       10/29/2017     1/26/2020 $      17,192.70   $    17,192.70   $     34,385.40
122   Aquino                  Lucas              NJ                        5/20/2018    10/28/2018 $       1,587.90   $     1,587.90   $      3,175.80
123   Aquino                  Rafael A.          NJ                        7/14/2019      8/4/2019 $          42.55   $        42.55   $         85.10
124   Arambarry               Arnaldo            Westchester              12/16/2018     4/28/2019 $       3,501.98   $     3,501.98   $      7,003.96
125   Araujo                  Rainel             NYC                         1/7/2018     8/5/2018 $       1,235.76   $     1,235.76   $      2,471.52
126   Ardino Martinez         Luis               NJ                          7/7/2019   11/10/2019 $       1,389.09   $     1,389.09   $      2,778.18
127   Ardon Mancias           Darwin             NJ                       10/29/2017      8/5/2018 $       3,053.56   $     3,053.56   $      6,107.12
128   Are                     Luis               NYC                       5/20/2018      6/3/2018 $          96.42   $        96.42   $        192.84
129   Arguera                 Ivette             Long Island              11/11/2018     1/26/2020 $       8,467.11   $     8,467.11   $     16,934.22
130   Arias                   Javier             NJ                          2/5/2017    1/26/2020 $      18,478.90   $    18,478.90   $     36,957.80
131   Arias                   Jose               NJ                       10/15/2017    12/17/2017 $         716.70   $       716.70   $      1,433.40
132   Arias                   Kelvin             NYC                         2/5/2017    10/7/2018 $      15,894.25   $    15,894.25   $     31,788.50
133   Arias Jimenez           Elias Bienvedino   NYC                       2/18/2018      9/9/2018 $         272.83   $       272.83   $        545.66
134   Arias Lopez             Edwin Rafael       NJ                        8/18/2019    11/24/2019 $         956.67   $       956.67   $      1,913.34
135   Aristides               Bernabe            NJ                          6/9/2019    6/23/2019 $         173.67   $       173.67   $        347.34
136   Aroni                   Juan C.            NYC                       2/10/2019     1/12/2020 $       7,260.64   $     7,260.64   $     14,521.28
137   Arroyo Rosario          Rafael Antonio     NYC                       9/15/2019     1/26/2020 $       5,476.20   $     5,476.20   $     10,952.40
138   Arturo Flores           Javier             NJ                        4/30/2017      5/7/2017 $          72.83   $        72.83   $        145.66
139   Asencio Linares         Eris Fernando      NJ                        10/6/2019     12/8/2019 $         915.38   $       915.38   $      1,830.76
140   Atz                     Edgar              NJ                          2/5/2017    6/23/2019 $      16,176.91   $    16,176.91   $     32,353.82
141   Atz                     Jairo              NJ                          8/6/2017    8/27/2017 $         281.50   $       281.50   $        563.00
142   Atz                     Martin             NJ                        3/12/2017     1/26/2020 $       4,251.03   $     4,251.03   $      8,502.06
143   Atz Mejia               Edgar Bartolo      NJ                        12/8/2019     1/26/2020 $         571.45   $       571.45   $      1,142.90
144   Avallone                Derek              NJ                        5/27/2018     3/10/2019 $       5,245.33   $     5,245.33   $     10,490.66
145   Aviles                  Jesus              Long Island               8/25/2019     1/26/2020 $       1,900.38   $     1,900.38   $      3,800.76
146   Ayala                   Joshua             CT/NJ                       9/8/2019   12/15/2019 $         497.69   $       497.69   $        995.38
147   Azt                     Alexander          NJ                        8/11/2019     9/22/2019 $         483.25   $       483.25   $        966.50
148   Babohadjaer             Farrah             NYC                         3/3/2019    1/26/2020 $       7,200.00   $     7,200.00   $     14,400.00



                                                                        2
                            Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 4 of 22 PageID: 829

                                                     Su v. Ernie's Auto Detailing Inc., et al.
                                                       Case No. 20-CV-17785-KM-ESK
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                                                                          Violation    To Violation
                                                      Geographic         Period From Period Week                         Liquidated     Total Damages
                Last Name           First Name        Worksheets         Week Ending     Ending      Back Wages Due     Damages Due          Due
149   Badia Merejo            Brian               NJ                          2/5/2017     3/4/2018 $       1,855.05   $     1,855.05   $      3,710.10
150   Baez                    Christopher         NYC                       3/10/2019     3/24/2019 $         886.91   $       886.91   $      1,773.82
151   Baez                    Daniel              NJ                          7/7/2019    1/26/2020 $       3,131.10   $     3,131.10   $      6,262.20
152   Baez                    Deyvi               NJ                        7/22/2018     2/17/2019 $       1,982.08   $     1,982.08   $      3,964.16
153   Baez                    Luilly              NJ                        2/17/2019     12/1/2019 $       2,249.11   $     2,249.11   $      4,498.22
154   Balan                   Carlos              NJ                          2/5/2017    1/26/2020 $      14,801.42   $    14,801.42   $     29,602.84
155   Balbuena                Samuel              Long Island               1/14/2018    12/15/2019 $      11,828.95   $    11,828.95   $     23,657.90
156   Balbuena Polanco        Eyerson             Long Island               3/26/2017      4/9/2017 $         254.50   $       254.50   $        509.00
157   Baltazar Zeferino       Amado               NJ                        6/16/2019      1/5/2020 $       4,157.70   $     4,157.70   $      8,315.40
158   Baltazar Zeperino       Saqueo              NJ                        5/12/2019      1/5/2020 $       5,210.60   $     5,210.60   $     10,421.20
159   Balvin                  Alejandro           NJ                        8/19/2018     1/13/2019 $       2,154.50   $     2,154.50   $      4,309.00
160   Banegas Castro          Christian Ariel     Long Island               9/23/2018     1/26/2020 $      11,729.26   $    11,729.26   $     23,458.52
161   Banos                   Silvio              NJ                        11/4/2018    12/30/2018 $         877.83   $       877.83   $      1,755.66
162   Barahona                Jackson             NJ                        5/19/2019      6/2/2019 $          30.53   $        30.53   $         61.06
163   Barahona                Kevin               NJ                        9/16/2018    10/28/2018 $         689.67   $       689.67   $      1,379.34
164   Barnes                  Dominique           NJ                        9/15/2019    10/27/2019 $         199.01   $       199.01   $        398.02
165   Barrera Morales         Jamie Danilo        NYC                       5/27/2018     12/2/2018 $       8,815.03   $     8,815.03   $     17,630.06
166   Barrios Mazariegos      Erick Osberto       Westchester               4/14/2019     10/6/2019 $         751.05   $       751.05   $      1,502.10
167   Baten Lopez             Carlos              NYC                         2/5/2017    1/26/2020 $      23,155.77   $    23,155.77   $     46,311.54
168   Batista                 Christopher         NJ                          7/7/2019    8/11/2019 $         636.40   $       636.40   $      1,272.80
169   Bautista                Cresencio           NJ                          2/5/2017     7/2/2017 $       1,575.66   $     1,575.66   $      3,151.32
170   Bautista                Herodis             NJ                       12/15/2019     1/26/2020 $         568.06   $       568.06   $      1,136.12
171   Bautista Mejia          Jose Luis           NJ                       12/24/2017     1/21/2018 $         309.77   $       309.77   $        619.54
172   Belmar                  Christopher         NYC                       6/24/2018     6/16/2019 $       1,785.05   $     1,785.05   $      3,570.10
173   Beltran                 Manuel              NJ                        8/26/2018     6/30/2019 $       5,185.88   $     5,185.88   $     10,371.76
174   Beltraz                 Jordan              Long Island               3/25/2018    10/28/2018 $         976.53   $       976.53   $      1,953.06
175   Benjamin                Daijia              NYC                       10/8/2017    10/29/2017 $          98.67   $        98.67   $        197.34
176   Berroa                  Juan                Westchester                 3/5/2017    1/26/2020 $      16,867.53   $    16,867.53   $     33,735.06
177   Bien Aime               Luc                 NJ                          3/4/2018    4/15/2018 $         184.10   $       184.10   $        368.20
178   Bobadilla Cordova       Samuel              Long Island              10/13/2019     11/3/2019 $         165.50   $       165.50   $        331.00
179   Bonifacio               Anderson            NYC                       7/15/2018      8/5/2018 $         294.47   $       294.47   $        588.94
180   Bonilla                 Elmerzon            NJ                          3/3/2019    1/26/2020 $       6,181.89   $     6,181.89   $     12,363.78
181   Bonilla                 Jose                NJ                        12/3/2017     2/25/2018 $         870.08   $       870.08   $      1,740.16
182   Bonilla Velasquez       Jose Isaias         NJ                        12/3/2017     3/24/2019 $       8,211.13   $     8,211.13   $     16,422.26
183   Bordonada               Edgardo             NJ                        10/6/2019     1/26/2020 $         815.23   $       815.23   $      1,630.46
184   Bowden                  Artis               NY                        9/22/2019     1/26/2020 $       1,606.56   $     1,606.56   $      3,213.12
185   Bravo Cid               Ignacio Alejandro   NYC/NJ                    10/6/2019     1/12/2020 $       1,248.08   $     1,248.08   $      2,496.16
186   Brito                   Jalmizon            NJ                          2/5/2017     8/5/2018 $       5,483.83   $     5,483.83   $     10,967.66
187   Brito Loza              Jose Alberto        Westchester               2/12/2017     8/13/2017 $       1,031.31   $     1,031.31   $      2,062.62
188   Broomes                 Danquan             NYC                      12/23/2018     12/1/2019 $       2,796.65   $     2,796.65   $      5,593.30
189   Brown II                Anthony D.          NYC                       10/8/2017     4/15/2018 $         351.82   $       351.82   $        703.64
190   Burno                   Randy               NYC                       6/23/2019     1/26/2020 $       1,266.83   $     1,266.83   $      2,533.66
191   Bustillo                Juan                Long Island               4/29/2018    10/20/2019 $       2,663.93   $     2,663.93   $      5,327.86
192   Caban                   Antonio             NJ                          8/6/2017    8/27/2017 $          89.54   $        89.54   $        179.08
193   Cabral                  Leury               NJ                        4/21/2019      8/4/2019 $       1,359.95   $     1,359.95   $      2,719.90
194   Cabreja                 Cristopher          NJ                          4/7/2019     9/8/2019 $       1,660.12   $     1,660.12   $      3,320.24
195   Cabreja-Contreras       Junior              NJ                          9/9/2018    6/30/2019 $       4,441.94   $     4,441.94   $      8,883.88
196   Cabrera                 Darvi               NJ                        7/21/2019      8/4/2019 $         494.23   $       494.23   $        988.46
197   Cabrera                 David               PA                          9/8/2019    1/26/2020 $       1,041.10   $     1,041.10   $      2,082.20
198   Cabrera                 Jorge               NJ                          2/5/2017     8/4/2019 $      11,068.02   $    11,068.02   $     22,136.04
199   Caceres                 Milton A.           NJ                          6/9/2019     7/7/2019 $         543.29   $       543.29   $      1,086.58
200   Caceres Villa           Luis                Long Island               4/14/2019     6/30/2019 $       1,696.28   $     1,696.28   $      3,392.56
201   Caceres Villa           Luis Omar           Long Island                 7/7/2019    1/26/2020 $       4,011.80   $     4,011.80   $      8,023.60
202   Caceres-Pichardo        Joel                NJ                        3/25/2018     1/26/2020 $       3,772.77   $     3,772.77   $      7,545.54
203   Caez                    Matthew             CT                        1/21/2018     1/28/2018 $          32.20   $        32.20   $         64.40
204   Calderon                Dante               NJ                          2/5/2017    9/10/2017 $       2,801.92   $     2,801.92   $      5,603.84
205   Calesten                Miguel              NJ                          8/6/2017    12/2/2018 $         294.33   $       294.33   $        588.66
206   Calle                   Richarth            NJ                        3/31/2019     1/26/2020 $       5,913.63   $     5,913.63   $     11,827.26
207   Calle Brown             Luis Roberto        NY                        7/21/2019     12/1/2019 $       1,436.76   $     1,436.76   $      2,873.52
208   Calles                  Filadelfo           NJ                          1/6/2019    1/26/2020 $       6,409.98   $     6,409.98   $     12,819.96
209   Calles                  Victor              NJ                          1/6/2019    3/17/2019 $       1,390.40   $     1,390.40   $      2,780.80
210   Camacho                 Christopher         NJ                        2/25/2018     1/26/2020 $       6,062.60   $     6,062.60   $     12,125.20
211   Camacho                 Frank               NYC                       1/20/2019     4/14/2019 $       4,839.38   $     4,839.38   $      9,678.76
212   Camacho                 Ignacio             NYC                       8/12/2018     1/26/2020 $      22,315.67   $    22,315.67   $     44,631.34
213   Camacho                 Nestro              PA                        2/24/2019     8/11/2019 $       2,946.83   $     2,946.83   $      5,893.66
214   Camilo Perez            Juan                Westchester              11/10/2019     1/26/2020 $       2,071.74   $     2,071.74   $      4,143.48
215   Campana                 Joshua              NY                        7/14/2019     1/26/2020 $       2,450.14   $     2,450.14   $      4,900.28
216   Campbell                Errol               NJ                        3/25/2018     1/13/2019 $       2,431.92   $     2,431.92   $      4,863.84
217   Campos                  Brandon             NJ                       10/20/2019    11/17/2019 $         274.40   $       274.40   $        548.80
218   Campos                  Hernan              NJ                          2/5/2017    10/6/2019 $      19,855.00   $    19,855.00   $     39,710.00
219   Canales                 Denis A             Long Island                 2/5/2017     4/2/2017 $       1,355.20   $     1,355.20   $      2,710.40
220   Canales                 Milton              Long Island                 4/9/2017   11/24/2019 $       4,586.21   $     4,586.21   $      9,172.42
221   Candelario Calderon     Mariano             NYC                      12/24/2017     1/28/2018 $         123.83   $       123.83   $        247.66
222   Caniz                   Vinicio             NYC                       4/22/2018     1/26/2020 $      17,863.21   $    17,863.21   $     35,726.42



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                            Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 5 of 22 PageID: 830

                                                     Su v. Ernie's Auto Detailing Inc., et al.
                                                       Case No. 20-CV-17785-KM-ESK
                                                                    Exhibit 1


                                                                        Violation    To Violation
                                                       Geographic      Period From Period Week                         Liquidated     Total Damages
               Last Name            First Name         Worksheets      Week Ending     Ending      Back Wages Due     Damages Due          Due
223   Caniz                   Vinicio              NJ                    10/29/2017     2/17/2019 $       5,241.50   $     5,241.50   $     10,483.00
224   Cano Abad               Paula                NJ                     5/20/2018     6/17/2018 $         144.75   $       144.75   $        289.50
225   Capellan                Bismark              NJ                     12/8/2019     1/26/2020 $         762.12   $       762.12   $      1,524.24
226   Capellan                Pablo                NJ                    12/23/2018    10/27/2019 $       3,425.25   $     3,425.25   $      6,850.50
227   Caplin Carlin           Michael P.           Long Island           11/11/2018    11/25/2018 $         239.25   $       239.25   $        478.50
228   Caputo                  Juan A.              NYC                    3/26/2017    12/15/2019 $      24,292.64   $    24,292.64   $     48,585.28
229   Caraballo               Fernando             NYC                    11/4/2018     12/2/2018 $         502.04   $       502.04   $      1,004.08
230   Carbajal                Alexander            Westchester              7/2/2017   10/13/2019 $      14,304.95   $    14,304.95   $     28,609.90
231   Carbajal                Fredy                Westchester            7/23/2017     1/26/2020 $       3,097.41   $     3,097.41   $      6,194.82
232   Carbajal                Julio A.             Long Island            4/16/2017    10/15/2017 $       1,772.75   $     1,772.75   $      3,545.50
233   Carbajal Ardon          Luis Eduardo         NYC/Westchester          2/5/2017    1/26/2020 $      21,992.62   $    21,992.62   $     43,985.24
234   Carbajal Garcia         Nelson Enrique       CT/Westchester           2/5/2017     1/5/2020 $      16,486.10   $    16,486.10   $     32,972.20
235   Carchi                  Benito               NJ                       2/5/2017    1/26/2020 $      32,840.73   $    32,840.73   $     65,681.46
236   Carlos                  Juan                 NJ                    10/27/2019     1/26/2020 $       2,295.88   $     2,295.88   $      4,591.76
237   Carlos Alcantara        Juan                 NJ                       2/5/2017    4/21/2019 $      10,182.50   $    10,182.50   $     20,365.00
238   Carlos Almanzar         Yhan                 Westchester           12/16/2018      1/6/2019 $         186.50   $       186.50   $        373.00
239   Carlos Alvarado         Jose                 NJ                     2/17/2019      5/5/2019 $         975.41   $       975.41   $      1,950.82
240   Carlos Aquino           Juan                 NJ                     2/19/2017     4/29/2018 $       4,461.89   $     4,461.89   $      8,923.78
241   Carlos Camacho          Jose                 NJ                     10/8/2017      9/1/2019 $      16,932.60   $    16,932.60   $     33,865.20
242   Carlos Macario          Juan                 NJ                     3/19/2017      8/5/2018 $         864.03   $       864.03   $      1,728.06
243   Carlos Perez            Jean                 NYC                    3/17/2019      7/7/2019 $         695.75   $       695.75   $      1,391.50
244   Carlos Yacute           Jose                 NJ                       2/5/2017    1/26/2020 $      27,576.80   $    27,576.80   $     55,153.60
245   Cartagena               Faileider            NYC                   12/17/2017     5/27/2018 $         670.49   $       670.49   $      1,340.98
246   Castellano              Miguel               NJ                       7/7/2019    1/26/2020 $       3,870.13   $     3,870.13   $      7,740.26
247   Castillo                Jefferson            NJ                       2/5/2017    9/29/2019 $      10,129.02   $    10,129.02   $     20,258.04
248   Castillo                Jeyfri               NYC                   10/28/2018      2/3/2019 $       1,212.75   $     1,212.75   $      2,425.50
249   Castillo                Yefry                NYC                      6/4/2017    1/26/2020 $      29,078.23   $    29,078.23   $     58,156.46
250   Castillo Rivera         Jonathan             NJ                     7/22/2018    11/25/2018 $       2,131.25   $     2,131.25   $      4,262.50
251   Caston                  Walter               NY                     1/28/2018     10/6/2019 $       3,939.36   $     3,939.36   $      7,878.72
252   Castro                  Gregorio             NYC                      6/3/2018    9/23/2018 $       3,073.02   $     3,073.02   $      6,146.04
253   Castro Ayala Xavier     Jonathan             Long Island              7/8/2018    5/19/2019 $       2,127.81   $     2,127.81   $      4,255.62
254   Ceballos                Cesar                NYC/NJ                   2/5/2017    1/26/2020 $      20,080.95   $    20,080.95   $     40,161.90
255   Celesten                Jose                 NJ                       4/2/2017    1/26/2020 $      21,829.44   $    21,829.44   $     43,658.88
256   Celesten                Jose                 NJ                    12/16/2018     2/17/2019 $         126.18   $       126.18   $        252.36
257   Cespedes                Richard              NYC/NJ                 11/4/2018     1/26/2020 $      24,531.73   $    24,531.73   $     49,063.46
258   Cespedes Germoso        Christian De Jesus   NYC/NJ                   2/5/2017    1/26/2020 $      31,394.14   $    31,394.14   $     62,788.28
259   Chanancia               Gustavo A.           NJ                     12/9/2018     1/26/2020 $       9,508.62   $     9,508.62   $     19,017.24
260   Chavez                  Emilio               NYC                    8/18/2019     1/26/2020 $      11,867.92   $    11,867.92   $     23,735.84
261   Chavez                  Germin               NJ                     12/3/2017      3/4/2018 $       1,077.75   $     1,077.75   $      2,155.50
262   Chavez                  Wilbert              NYC                    6/24/2018    11/11/2018 $       3,738.28   $     3,738.28   $      7,476.56
263   Chavez                  Ezequiel             NYC                      9/3/2017    1/26/2020 $      45,992.07   $    45,992.07   $     91,984.14
264   Chavez                  Neftali              NYC                    7/21/2019     1/26/2020 $      10,184.55   $    10,184.55   $     20,369.10
265   Chom                    Adelso               NJ                       6/4/2017    6/18/2017 $         174.59   $       174.59   $        349.18
266   Chom                    Luis                 NJ                       2/5/2017    4/23/2017 $       1,726.81   $     1,726.81   $      3,453.62
267   Cifuentes               Luis                 NJ                     1/21/2018     8/25/2019 $       1,337.40   $     1,337.40   $      2,674.80
268   Cigarran                Carlos               NJ                       2/5/2017    3/25/2018 $       4,833.24   $     4,833.24   $      9,666.48
269   Cittadino Hernandez     Alejandro Jesus      NYC                    12/1/2019     1/26/2020 $       1,106.63   $     1,106.63   $      2,213.26
270   Clark                   Jeremy               NY                     5/21/2017    10/27/2019 $       1,081.67   $     1,081.67   $      2,163.34
271   Clemente                Edwin                NJ                     8/11/2019      9/1/2019 $          95.92   $        95.92   $        191.84
272   Coco                    Aneudy R.            NJ                     7/28/2019     9/29/2019 $         637.61   $       637.61   $      1,275.22
273   Coley                   Raquan               NYC                      7/8/2018     6/9/2019 $       2,494.39   $     2,494.39   $      4,988.78
274   Colin                   Marco A.             CT                    12/10/2017     6/10/2018 $       1,706.18   $     1,706.18   $      3,412.36
275   Colin                   Venancio             Westchester            1/26/2020     1/26/2020 $         201.87   $       201.87   $        403.74
276   Colin                   Victor               Westchester            1/14/2018     4/29/2018 $       1,251.39   $     1,251.39   $      2,502.78
277   Collado                 Andrew               Long Island            1/21/2018     1/28/2018 $          44.28   $        44.28   $         88.56
278   Colon                   Cesar                NYC                    4/23/2017     6/18/2017 $         256.38   $       256.38   $        512.76
279   Colon                   David                NJ                       8/5/2018    8/19/2018 $          46.57   $        46.57   $         93.14
280   Colon                   Jose                 NYC                      6/3/2018    7/22/2018 $         991.70   $       991.70   $      1,983.40
281   Colon                   Pedro                NJ                       5/5/2019     6/9/2019 $         407.83   $       407.83   $        815.66
282   Colon Lopez             Edward Orlando       NJ                    11/10/2019    12/15/2019 $         515.42   $       515.42   $      1,030.84
283   Contreras               Felipe               NJ                       2/5/2017    1/26/2020 $      16,464.50   $    16,464.50   $     32,929.00
284   Contreras               Felipe               NYC/NJ                   4/1/2018    2/17/2019 $       7,163.73   $     7,163.73   $     14,327.46
285   Contreras Colin         Cesar                CT/ NJ/ Westchester    3/25/2018     1/26/2020 $      10,242.94   $    10,242.94   $     20,485.88
286   Corea Lima              Carlos Mauricio      NJ                     9/16/2018     10/7/2018 $         210.74   $       210.74   $        421.48
287   Coreas                  Enrique              NYC                    9/10/2017     8/18/2019 $         669.94   $       669.94   $      1,339.88
288   Corniel                 Jazviny              NYC                    9/29/2019     1/26/2020 $       3,760.30   $     3,760.30   $      7,520.60
289   Coronado Crisostomo     Carlos Manuel        NYC                    1/13/2019    11/10/2019 $      16,426.30   $    16,426.30   $     32,852.60
290   Coronel Ordonez         Raul Octavio         NJ                     1/19/2020     1/26/2020 $         251.35   $       251.35   $        502.70
291   Corporan                Miguel               NJ                       5/7/2017    8/25/2019 $       8,380.99   $     8,380.99   $     16,761.98
292   Corporan                Miguel               NJ                    12/23/2018     2/24/2019 $         174.67   $       174.67   $        349.34
293   Correa                  Jhonny               NJ                     3/12/2017      7/2/2017 $       1,126.62   $     1,126.62   $      2,253.24
294   Corsino                 Luis E.              Long Island            3/31/2019     5/19/2019 $         989.73   $       989.73   $      1,979.46
295   Cortes                  Luis                 NJ                       4/7/2019    4/14/2019 $         141.05   $       141.05   $        282.10
296   Cosby                   Terry                NJ                    12/29/2019     1/26/2020 $         134.71   $       134.71   $        269.42



                                                                         4
                           Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 6 of 22 PageID: 831

                                                  Su v. Ernie's Auto Detailing Inc., et al.
                                                    Case No. 20-CV-17785-KM-ESK
                                                                 Exhibit 1


                                                                       Violation    To Violation
                                                   Geographic         Period From Period Week                         Liquidated     Total Damages
               Last Name          First Name       Worksheets         Week Ending     Ending      Back Wages Due     Damages Due          Due
297   Cosme                  Jose              NJ                        7/22/2018     2/17/2019 $       1,495.38   $     1,495.38   $      2,990.76
298   Cosme Morel            Jose Carlos       Long Island                 2/5/2017    1/26/2020 $      16,070.66   $    16,070.66   $     32,141.32
299   Cosme Ortiz            Gabriel Antonio   Long Island                 2/5/2017    5/27/2018 $       4,377.67   $     4,377.67   $      8,755.34
300   Cress                  Octavio           NJ                        2/12/2017     4/29/2018 $       5,882.25   $     5,882.25   $     11,764.50
301   Crispin                Otto              NJ                       12/24/2017     6/17/2018 $         490.88   $       490.88   $        981.76
302   Cruz                   Brandon           NJ                       11/19/2017     1/26/2020 $       7,177.93   $     7,177.93   $     14,355.86
303   Cruz                   Estefany          Long Island               12/9/2018     12/9/2018 $          79.75   $        79.75   $        159.50
304   Cruz                   Fernie            NY                       12/16/2018     12/1/2019 $       3,796.46   $     3,796.46   $      7,592.92
305   Cruz                   Pavel             NJ                          9/9/2018    6/16/2019 $         372.35   $       372.35   $        744.70
306   Cruz                   Francisco         NJ                        9/22/2019     1/26/2020 $       3,221.26   $     3,221.26   $      6,442.52
307   Cruz Cueto             Wilson Alberto    NJ                          7/9/2017     7/8/2018 $       2,145.67   $     2,145.67   $      4,291.34
308   Cruz Hidalgo           Simon Y.          NJ                        5/14/2017      8/6/2017 $         205.95   $       205.95   $        411.90
309   Cruz Linares           Silverio          NYC/ NJ/                    8/6/2017    1/26/2020 $      21,143.88   $    21,143.88   $     42,287.76
310   Cruz Pichardo          Juan Jose         Long Island/                2/5/2017    1/26/2020 $      20,870.02   $    20,870.02   $     41,740.04
311   Cruz Valerio           Elvis De Jesus    Westchester              11/10/2019     1/26/2020 $       1,830.80   $     1,830.80   $      3,661.60
312   Cruzado                Sergio F.         NJ                        4/29/2018     1/26/2020 $      13,637.06   $    13,637.06   $     27,274.12
313   Cruzado                Sergio            NJ                          5/7/2017    6/25/2017 $         708.70   $       708.70   $      1,417.40
314   Cubas                  Eduardo           Long Island                 2/5/2017    5/14/2017 $       1,092.17   $     1,092.17   $      2,184.34
315   Cubas                  Segundo M.        NJ                          2/5/2017    1/26/2020 $       4,513.40   $     4,513.40   $      9,026.80
316   Cubero                 Ignacio           NJ                          2/5/2017    3/26/2017 $         737.75   $       737.75   $      1,475.50
317   Cuellar                Alvaro            NJ                          2/5/2017    1/26/2020 $      23,883.62   $    23,883.62   $     47,767.24
318   Cuellar                Daniel            NJ                          2/5/2017    1/26/2020 $      30,648.79   $    30,648.79   $     61,297.58
319   Cuellar                Fernando          NJ                        1/19/2020     1/26/2020 $         173.47   $       173.47   $        346.94
320   Cuellar                Manuel            NJ                        12/1/2019     1/26/2020 $       1,377.17   $     1,377.17   $      2,754.34
321   Cuellar                Miguel            NJ                        12/1/2019     1/26/2020 $       1,439.14   $     1,439.14   $      2,878.28
322   Cuello                 Garibaldi         NYC                       1/20/2019     1/26/2020 $      22,613.78   $    22,613.78   $     45,227.56
323   Cueto                  Isael             NJ                          2/5/2017    1/26/2020 $      11,385.05   $    11,385.05   $     22,770.10
324   Cueto                  Novilio           NJ                          2/5/2017    1/26/2020 $      19,209.18   $    19,209.18   $     38,418.36
325   Cueto                  Rafael            NJ                          2/5/2017    1/19/2020 $      20,711.15   $    20,711.15   $     41,422.30
326   Cueto                  Rafel             Westchester               12/2/2018     2/17/2019 $       1,226.23   $     1,226.23   $      2,452.46
327   Cueto                  Reny              NJ                       11/25/2018     2/17/2019 $         125.74   $       125.74   $        251.48
328   Cueto Cruz             Renny Manuel      NJ                        4/29/2018     3/10/2019 $       3,905.82   $     3,905.82   $      7,811.64
                                               Long Island/ NJ/
329   Cueto Jimenez          Reny              Westchester                  2/5/2017      1/26/2020 $   13,206.91   $    13,206.91   $     26,413.82
330   Cueto-Martes           Yerninton         NJ                           2/5/2017      1/19/2020 $   17,000.32   $    17,000.32   $     34,000.64
331   Cuevas                 Aneudi            Westchester                 3/24/2019      1/26/2020 $   12,034.43   $    12,034.43   $     24,068.86
332   Cuevas                 Faustino          NJ/Westchester              8/11/2019      1/26/2020 $    1,757.33   $     1,757.33   $      3,514.66
333   Cullins                Anthony           NJ                          9/15/2019      1/26/2020 $      729.20   $       729.20   $      1,458.40
334   Cuomo                  Kenneth           NYC                          2/3/2019       6/9/2019 $    3,235.07   $     3,235.07   $      6,470.14
335   Cusanero               Jose              NJ                         10/21/2018      9/15/2019 $    5,944.83   $     5,944.83   $     11,889.66
336   Cusanero               Rodolfo           NJ                          12/3/2017      1/21/2018 $      615.68   $       615.68   $      1,231.36
337   Da Silva               Carlos            NJ                         10/20/2019      12/1/2019 $    1,188.73   $     1,188.73   $      2,377.46
338   Dalchan                Ganesh            NJ                           2/5/2017      1/26/2020 $    7,335.39   $     7,335.39   $     14,670.78
339   Damian Levia           Edgardo           NJ                           9/8/2019      1/26/2020 $    4,040.30   $     4,040.30   $      8,080.60
340   Daniel Hernandez       Victor            Westchester                 7/16/2017      4/22/2018 $    5,909.25   $     5,909.25   $     11,818.50
341   Daniel Ramos           Joshua            NJ                          6/24/2018       7/1/2018 $       45.84   $        45.84   $         91.68
342   Daniel Santana         Luis              NYC                         11/5/2017      12/3/2017 $       45.38   $        45.38   $         90.76
343   Dario Gomez            Ruben             NJ                           2/5/2017      8/19/2018 $    7,585.58   $     7,585.58   $     15,171.16
344   Dario Raigoza          Leon              NJ                          8/25/2019      1/19/2020 $    2,685.98   $     2,685.98   $      5,371.96
345   Darwing Gonzalez       Sera              NJ                          5/19/2019      1/26/2020 $      657.91   $       657.91   $      1,315.82
346   David Angeles          Jose              NJ                          6/17/2018      9/30/2018 $    1,200.72   $     1,200.72   $      2,401.44
347   David Ferguson         Timothy           NY                          8/18/2019      1/26/2020 $    3,089.86   $     3,089.86   $      6,179.72
348   David Lafrance         Christopher       Long Island                 6/17/2018      7/15/2018 $      224.77   $       224.77   $        449.54
349   David Maldonado        Jose              NJ                         11/10/2019      1/26/2020 $    1,240.70   $     1,240.70   $      2,481.40
350   David Portillo         Jose              NJ                           6/9/2019      1/26/2020 $    4,757.38   $     4,757.38   $      9,514.76
351   David Rodario          Kelvin            NJ                          7/21/2019      7/28/2019 $      101.31   $       101.31   $        202.62
352   David Vargas           Inocencio         NYC                         7/21/2019       9/1/2019 $    3,133.20   $     3,133.20   $      6,266.40
353   Davis                  Keith             NJ                           2/5/2017     10/15/2017 $    7,739.12   $     7,739.12   $     15,478.24
354   Davis                  Sucadi            NYC                          7/2/2017      7/16/2017 $      107.63   $       107.63   $        215.26
355   Dawkins                Warrick           NYC                          6/2/2019      1/26/2020 $    5,250.00   $     5,250.00   $     10,500.00
356   De Jesus               Carlos            Long Island                 2/10/2019      1/26/2020 $    2,729.33   $     2,729.33   $      5,458.66
357   De Jesus Alvarado      Esau              NJ                           2/5/2017      1/26/2020 $   19,030.52   $    19,030.52   $     38,061.04
358   De Jesus Taveras       Alexander         Westchester                 9/10/2017      11/4/2018 $    9,197.43   $     9,197.43   $     18,394.86
359   De La Cruz             Deivis            NJ                          3/26/2017      8/27/2017 $      923.39   $       923.39   $      1,846.78
360   De La Cruz             Javier            NJ                           4/2/2017      1/26/2020 $   20,065.05   $    20,065.05   $     40,130.10
361   De La Cruz             Oscar             NJ                           4/2/2017     11/17/2019 $   19,334.28   $    19,334.28   $     38,668.56
362   De La Cruz             Pabel             NYC                        11/11/2018     12/16/2018 $      307.93   $       307.93   $        615.86
363   De La Cruz             Pedro             NYC/ NJ/                   12/17/2017      1/26/2020 $    9,994.25   $     9,994.25   $     19,988.50
364   De La Cruz             Rafael            NY                           2/5/2017       5/7/2017 $    1,118.58   $     1,118.58   $      2,237.16
365   De La Cruz             William           NYC                        10/29/2017     11/12/2017 $      179.21   $       179.21   $        358.42
366   De La Rosa             Adriano           NYC                         6/23/2019     11/17/2019 $    3,226.88   $     3,226.88   $      6,453.76
367   De La Rosa             Edwin             NYC/NJ                      5/21/2017      6/16/2019 $    1,849.71   $     1,849.71   $      3,699.42
368   De La Rosa             Eliand            NYC                         6/23/2019      1/26/2020 $    9,590.88   $     9,590.88   $     19,181.76




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                                  Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 7 of 22 PageID: 832

                                                            Su v. Ernie's Auto Detailing Inc., et al.
                                                              Case No. 20-CV-17785-KM-ESK
                                                                           Exhibit 1


                                                                                 Violation    To Violation
                                                             Geographic         Period From Period Week                         Liquidated     Total Damages
                Last Name                   First Name       Worksheets         Week Ending     Ending      Back Wages Due     Damages Due          Due
369   De La Rosa                      Yoenny             NJ                        4/21/2019     11/3/2019 $       1,786.42   $     1,786.42   $      3,572.84
370   De La Rosa Veloz                Jorge Antonio      NYC                       3/25/2018     12/9/2018 $      10,451.55   $    10,451.55   $     20,903.10
371   De Los Santos                   Elvis              NYC                       5/20/2018    10/14/2018 $       4,164.68   $     4,164.68   $      8,329.36
372   De Los Santos                   Osterman B.        NJ                          5/5/2019    1/26/2020 $         296.25   $       296.25   $        592.50
373   Decena                          Arsenio            NJ                          2/5/2017    1/26/2020 $      11,602.67   $    11,602.67   $     23,205.34
374   Decena                          Brandon            NJ                          2/5/2017    1/26/2020 $       1,751.92   $     1,751.92   $      3,503.84
375   Decena                          Franklyn           NJ                          8/6/2017    1/26/2020 $      13,330.23   $    13,330.23   $     26,660.46
376   Decena                          Johan              NYC                       4/23/2017     1/26/2020 $      29,496.93   $    29,496.93   $     58,993.86
377   Decena                          Martires           NJ                          2/5/2017    1/26/2020 $       8,427.10   $     8,427.10   $     16,854.20
378   Decena                          Osvaldo            NJ                          2/5/2017    1/26/2020 $      26,742.16   $    26,742.16   $     53,484.32
379   Decena                          Oswaldo            NJ                          2/5/2017    5/26/2019 $       6,333.38   $     6,333.38   $     12,666.76
380   Decena Tolentino                Angel Junior       NJ                        7/22/2018     5/19/2019 $       1,073.18   $     1,073.18   $      2,146.36
381   Decena Tolentino                Angely             NJ                        8/12/2018    11/24/2019 $       5,931.46   $     5,931.46   $     11,862.92
382   Del Carmen Hernandez            Jose               NJ                        10/1/2017    10/22/2017 $         203.06   $       203.06   $        406.12
383   Del Orbe                        Jose David         NJ                          2/5/2017    1/26/2020 $       2,430.17   $     2,430.17   $      4,860.34
384   Del Rosario                     Body               NYC                      11/19/2017     4/15/2018 $         562.00   $       562.00   $      1,124.00
385   Del Rosario                     Damian             Long Island                 2/5/2017    1/26/2020 $      14,499.08   $    14,499.08   $     28,998.16
386   Del Valle                       Eduardo            Westchester              12/23/2018     4/28/2019 $       2,373.60   $     2,373.60   $      4,747.20
387   DelaCruz                        Luis J.            NYC                       7/16/2017     9/17/2017 $       1,299.25   $     1,299.25   $      2,598.50
388   DeLaCruz                        Yefri              NJ                          7/1/2018    9/16/2018 $         513.58   $       513.58   $      1,027.16
389   Delgado                         Anthony            Westchester               2/25/2018     4/15/2018 $         512.41   $       512.41   $      1,024.82
390   Deusanio                        Vincent            NYC                         5/6/2018   12/29/2019 $       1,346.23   $     1,346.23   $      2,692.46
391   Diaz                            Mario              Long Island/NJ            7/23/2017    12/16/2018 $       7,432.58   $     7,432.58   $     14,865.16
392   Diaz                            Michael            NJ                        7/21/2019    10/20/2019 $       1,144.67   $     1,144.67   $      2,289.34
393   Diaz                            Miguel             NJ                        3/12/2017    12/10/2017 $       1,832.31   $     1,832.31   $      3,664.62
394   Diaz                            Nemias             NJ                        4/22/2018      9/8/2019 $       5,035.00   $     5,035.00   $     10,070.00
395   Diaz                            Omar L.            Long Island                 5/6/2018    7/15/2018 $         939.88   $       939.88   $      1,879.76
396   Diaz                            Oscar              NJ                        4/29/2018     5/27/2018 $         336.19   $       336.19   $        672.38
397   Diaz                            Yoel               Westchester                 5/6/2018    1/26/2020 $      16,981.59   $    16,981.59   $     33,963.18
398   Diaz Medina                     Kelvin             NJ                        7/23/2017     4/28/2019 $       7,665.96   $     7,665.96   $     15,331.92
399   Diaz Medina                     Melvin X.          NJ                        12/3/2017     4/28/2019 $       6,515.51   $     6,515.51   $     13,031.02
400   Dick                            Cecil              NYC                      10/15/2017      6/9/2019 $       7,048.94   $     7,048.94   $     14,097.88
401   Dillon                          Keon               NYC                      11/10/2019     1/26/2020 $       3,026.67   $     3,026.67   $      6,053.34
402   Dimas Alvarado                  Jose               NJ                        3/10/2019     1/26/2020 $       9,812.95   $     9,812.95   $     19,625.90
403   Domingo Gomes                   Jose               Long Island              10/13/2019     1/26/2020 $       1,355.20   $     1,355.20   $      2,710.40
404   Dominguez                       Jose               NYC                      10/21/2018    10/20/2019 $       6,204.83   $     6,204.83   $     12,409.66
405   Dominguez                       Mario              NJ                       11/24/2019     1/26/2020 $       1,048.46   $     1,048.46   $      2,096.92
406   Dominguez                       Rafael             NYC/NJ                    4/16/2017    12/30/2018 $       9,302.05   $     9,302.05   $     18,604.10
407   Dominguez Jr.                   Edgar              Long Island                 4/8/2018    1/26/2020 $         901.17   $       901.17   $      1,802.34
408   Donato                          Odair              NYC                         4/9/2017    5/14/2017 $         586.97   $       586.97   $      1,173.94
409   Drada                           Christina          NJ                          9/9/2018    12/9/2018 $         661.01   $       661.01   $      1,322.02
410   Duarte                          Helena             NJ                        9/22/2019     1/26/2020 $       1,744.61   $     1,744.61   $      3,489.22
411   Dubon                           Edy Lopez          NY                        8/19/2018     1/26/2020 $       5,325.79   $     5,325.79   $     10,651.58
412   DuDamel                         Victor             NYC                       3/26/2017     8/26/2018 $         845.60   $       845.60   $      1,691.20
413   Duran                           Davian             NJ                       10/13/2019     1/26/2020 $         519.01   $       519.01   $      1,038.02
414   Duran                           Ramón              NJ                          2/5/2017    2/25/2018 $       2,213.66   $     2,213.66   $      4,427.32
                                                         Long Island/ NJ/ NY/
415   Duverge                         Eduardo            Westchester                  2/5/2017      1/26/2020 $   15,062.00   $    15,062.00   $     30,124.00
416   Duverge                         Luis               NJ                           2/5/2017      1/26/2020 $   15,680.35   $    15,680.35   $     31,360.70
417   Duverge                         Luis               Long Island                11/11/2018      2/24/2019 $      617.03   $       617.03   $      1,234.06
418   Echevarria                      Daniel             NJ                         11/24/2019      12/8/2019 $       24.50   $        24.50   $         49.00
419   Edenilson Gonzales Barrientos   Alberth            NJ                           2/5/2017      6/30/2019 $    8,711.58   $     8,711.58   $     17,423.16
420   Edgardo Hernendez               Jose               NJ                          5/12/2019      1/26/2020 $    5,847.32   $     5,847.32   $     11,694.64
421   Eduardo Coroy                   Edgar              NJ                           4/7/2019      1/26/2020 $    5,069.28   $     5,069.28   $     10,138.56
422   Eduardo Cuellar                 Alber              NJ                           2/5/2017      10/6/2019 $   12,148.96   $    12,148.96   $     24,297.92
423   Eduardo Cusanero                Jose               NJ                          2/12/2017      2/26/2017 $      278.63   $       278.63   $        557.26
424   Eduardo Escobar                 Chris              Long Island                  2/5/2017      4/29/2018 $    1,614.21   $     1,614.21   $      3,228.42
425   Eduardo Mejia                   Osman              NJ/Westchester             10/20/2019      1/26/2020 $    2,247.52   $     2,247.52   $      4,495.04
426   Eduardo Ulloa                   Ramon              NJ                         10/20/2019      1/26/2020 $    1,251.07   $     1,251.07   $      2,502.14
427   Elias Hernandez                 Jose               NJ                          2/10/2019      7/14/2019 $      659.42   $       659.42   $      1,318.84
428   Elias Marroquin                 Victoriano         NJ                         12/29/2019      1/26/2020 $      336.70   $       336.70   $        673.40
429   Elias Ramos                     Jose               Long Island                  2/5/2017      4/21/2019 $    2,052.17   $     2,052.17   $      4,104.34
430   Elisaul Miranda                 Benny              NJ                          3/25/2018      6/17/2018 $      468.75   $       468.75   $        937.50
431   Elizabeth Orell                 Yanira             NJ                         11/17/2019      1/26/2020 $    1,697.27   $     1,697.27   $      3,394.54
432   Elvir Ramirez                   Nery               Long Island                  2/5/2017      1/26/2020 $   35,432.30   $    35,432.30   $     70,864.60
433   Emilio De Asis                  Luis               NYC/NJ                      5/27/2018      1/26/2020 $   31,661.15   $    31,661.15   $     63,322.30
434   Emilio Leonardo                 Cesar              NYC                          8/5/2018      9/23/2018 $      756.66   $       756.66   $      1,513.32
435   Encarnacion                     Altagracia         NYC                         10/6/2019     12/29/2019 $    1,669.00   $     1,669.00   $      3,338.00
436   Enright                         Patrick            NJ                           1/6/2019     12/15/2019 $    2,485.59   $     2,485.59   $      4,971.18
437   Enrique Lemus                   Jose               NJ                          3/25/2018      1/26/2020 $   22,320.68   $    22,320.68   $     44,641.36
438   Enrique Tirado                  Pedro              NYC                          9/9/2018      1/26/2020 $   24,561.78   $    24,561.78   $     49,123.56
439   Ernesto Ledesma                 Luis               NJ                           2/5/2017      1/26/2020 $   17,913.59   $    17,913.59   $     35,827.18
440   Ernesto Tejeda                  Divan              NJ                           8/4/2019      1/26/2020 $    1,266.80   $     1,266.80   $      2,533.60




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                            Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 8 of 22 PageID: 833

                                                    Su v. Ernie's Auto Detailing Inc., et al.
                                                      Case No. 20-CV-17785-KM-ESK
                                                                   Exhibit 1


                                                                         Violation    To Violation
                                                      Geographic        Period From Period Week                         Liquidated     Total Damages
               Last Name           First Name         Worksheets        Week Ending     Ending      Back Wages Due     Damages Due          Due
441   Escamilla               Jose                NJ                       1/19/2020     1/26/2020 $          99.92   $        99.92   $        199.84
442   Escobar                 Iris                Long Island              3/31/2019     1/26/2020 $       5,697.68   $     5,697.68   $     11,395.36
443   Espada                  Harry               NJ                       10/6/2019     1/26/2020 $         467.59   $       467.59   $        935.18
444   Espada                  Jose                NJ                       1/12/2020     1/26/2020 $         451.18   $       451.18   $        902.36
445   Espada                  Luis                NJ/PA                   11/25/2018     1/19/2020 $       1,968.18   $     1,968.18   $      3,936.36
446   Espinal                 Francisco           NYC                        2/5/2017    5/27/2018 $       4,132.40   $     4,132.40   $      8,264.80
447   Espinal                 Franklin            NJ                       7/29/2018     8/12/2018 $         153.33   $       153.33   $        306.66
448   Espinal                 Kevin               Westchester              6/18/2017    10/27/2019 $       6,475.17   $     6,475.17   $     12,950.34
449   Espinal                 William             NYC                      4/22/2018     10/7/2018 $       3,519.94   $     3,519.94   $      7,039.88
450   Espinosa Jacome         William             NJ                       12/8/2019     1/12/2020 $         299.20   $       299.20   $        598.40
451   Espinosa Jimenez        Miguel              NJ                       12/8/2019     1/26/2020 $       1,095.53   $     1,095.53   $      2,191.06
452   Espinoza                Edgardo             NJ                       4/30/2017     5/14/2017 $         239.67   $       239.67   $        479.34
453   Espinoza                Jose A.             NY                      11/19/2017     1/26/2020 $       9,455.75   $     9,455.75   $     18,911.50
454   Espiritu                Jeffrie             NJ                         2/5/2017    10/6/2019 $       6,724.24   $     6,724.24   $     13,448.48
455   Estevez                 Abel                NYC/NJ                   3/26/2017     1/26/2020 $       1,242.96   $     1,242.96   $      2,485.92
456   Estevez Rodriguez       Juan A.             NYC                      6/10/2018      7/7/2019 $       7,542.43   $     7,542.43   $     15,084.86
457   Esther                  Maria               NJ                       3/31/2019     9/15/2019 $       1,416.94   $     1,416.94   $      2,833.88
458   Estrada                 Glenda              Westchester              11/3/2019     1/26/2020 $       1,900.78   $     1,900.78   $      3,801.56
459   Estrada                 Selvin              NJ                       8/11/2019    11/24/2019 $       1,191.38   $     1,191.38   $      2,382.76
460   Estrada                 Victor              Long Island                3/4/2018    5/19/2019 $       5,014.63   $     5,014.63   $     10,029.26
461   Estuardo Cusanero       Edwin               NJ                         5/7/2017    6/25/2017 $         592.17   $       592.17   $      1,184.34
462   Estuardo Dardon         Rony                NJ                      10/20/2019     1/26/2020 $       1,056.92   $     1,056.92   $      2,113.84
463   Eustache                Patriss             NYC                        1/7/2018     3/4/2018 $          91.30   $        91.30   $        182.60
464   Ezequiel Villalobos     Geraldo             NJ                       7/14/2019      9/8/2019 $         765.00   $       765.00   $      1,530.00
465   Fabian Moran            Genaro Arier        NYC                     11/19/2017     8/19/2018 $      10,011.20   $    10,011.20   $     20,022.40
466   Familia                 Edimir              NYC                        8/4/2019    1/26/2020 $      11,391.67   $    11,391.67   $     22,783.34
467   Familia                 Jeankarlo           NYC                      8/19/2018    11/25/2018 $         707.98   $       707.98   $      1,415.96
468   Fay                     Jonathan            NJ                       8/26/2018     1/13/2019 $       2,400.42   $     2,400.42   $      4,800.84
469   Felix                   Anabel              NYC                      4/23/2017      5/7/2017 $          96.90   $        96.90   $        193.80
470   Felix                   Roberto             NJ                         2/5/2017     4/8/2018 $       3,865.58   $     3,865.58   $      7,731.16
471   Feliz                   Confesor            NJ/NY                      3/5/2017    1/26/2020 $      16,396.23   $    16,396.23   $     32,792.46
472   Feliz                   Eymond A.           NJ                         2/5/2017    1/26/2020 $       8,652.56   $     8,652.56   $     17,305.12
473   Fermin                  Bianca              NJ                       5/19/2019     1/26/2020 $       3,052.80   $     3,052.80   $      6,105.60
474   Fernandez               Cristian De Jesus   NJ                       5/28/2017     7/23/2017 $         312.67   $       312.67   $        625.34
475   Fernandez               Maynor              NJ                       7/23/2017     9/10/2017 $         442.33   $       442.33   $        884.66
476   Fernandez               Rendy               NJ                       8/12/2018      9/8/2019 $       1,897.81   $     1,897.81   $      3,795.62
477   Fernando Gaviria        Daniel              NJ                      11/11/2018     1/26/2020 $      11,079.20   $    11,079.20   $     22,158.40
478   Fernando Hernandez      Luis                NJ                       11/4/2018     1/26/2020 $       3,171.01   $     3,171.01   $      6,342.02
479   Fernando Zapata         Luis                NJ                       9/29/2019     1/26/2020 $       1,489.80   $     1,489.80   $      2,979.60
480   Ferreira                Jose                NJ/NY                      2/5/2017    1/26/2020 $      11,574.62   $    11,574.62   $     23,149.24
481   Fierro                  Esteban             NJ                         2/5/2017     1/5/2020 $      23,143.33   $    23,143.33   $     46,286.66
482   Figueroa                Elian               NJ                       11/3/2019     1/26/2020 $         833.80   $       833.80   $      1,667.60
483   Figueroa                Hector J.           NJ                       5/28/2017    10/15/2017 $         301.15   $       301.15   $        602.30
484   Figueroa                Juan F.             NJ                       10/6/2019    10/13/2019 $          48.75   $        48.75   $         97.50
485   Figueroa                Madelyn             Westchester              6/25/2017     6/10/2018 $       1,418.40   $     1,418.40   $      2,836.80
486   Figueroa                Bryan               NYC                     11/19/2017    11/26/2017 $          65.60   $        65.60   $        131.20
487   Flameco                 Alfredo             NJ                       10/6/2019     1/26/2020 $         371.89   $       371.89   $        743.78
488   Florentino              Darvi               NJ                       11/4/2018     1/26/2020 $         584.26   $       584.26   $      1,168.52
489   Flores                  Abel                NJ                       11/4/2018     10/6/2019 $       3,645.67   $     3,645.67   $      7,291.34
490   Flores                  Jose                Long Island/NY             2/5/2017    1/26/2020 $       1,145.99   $     1,145.99   $      2,291.98
491   Flores                  Victor              NJ                         1/5/2020    1/26/2020 $         444.03   $       444.03   $        888.06
492   Flores Castillo         Carlos Daniel       NJ                       2/10/2019     3/17/2019 $         442.46   $       442.46   $        884.92
493   Flores Reyes            Victor Hugo         NJ                       4/28/2019     5/12/2019 $         224.44   $       224.44   $        448.88
494   Florimon Valdez         Samuel              Long Island                3/4/2018    6/10/2018 $         425.70   $       425.70   $        851.40
495   Francisco               Emanuel             NJ                         2/5/2017    1/26/2020 $      11,729.14   $    11,729.14   $     23,458.28
496   Francisco               Juan                NYC/Westchester          6/17/2018     9/16/2018 $       2,768.50   $     2,768.50   $      5,537.00
497   Francisco Perez         Sandy               NJ                       7/21/2019      8/4/2019 $         214.75   $       214.75   $        429.50
498   Franco                  Aldemar             NJ                         1/5/2020    1/26/2020 $         616.19   $       616.19   $      1,232.38
499   Freeman                 Kevin               NYC                      10/7/2018    10/28/2018 $         168.03   $       168.03   $        336.06
500   Freeman                 Wayne               NY                         2/5/2017   10/13/2019 $       4,645.75   $     4,645.75   $      9,291.50
501   Frias                   Alexis              NJ                       7/21/2019     1/26/2020 $       3,773.73   $     3,773.73   $      7,547.46
502   Fuentes                 Ivan                NJ                       1/20/2019      1/5/2020 $       3,427.51   $     3,427.51   $      6,855.02
503   Fuentes Portillo        Kevin               Long Island              4/22/2018      7/1/2018 $         103.95   $       103.95   $        207.90
504   Funes                   Juan A.             NJ                         7/7/2019    1/26/2020 $       4,198.37   $     4,198.37   $      8,396.74
505   Funez                   Robin               NJ                       5/19/2019     1/26/2020 $       5,700.16   $     5,700.16   $     11,400.32
506   Gabriel Aguinada        Jose                Long Island                2/5/2017    1/26/2020 $      22,921.07   $    22,921.07   $     45,842.14
507   Gabriel Barahona        Deybin              Long Island                2/5/2017    1/26/2020 $      19,314.07   $    19,314.07   $     38,628.14
508   Gabriel Ortiz           Jose                NJ                       8/11/2019      1/5/2020 $         407.09   $       407.09   $        814.18
509   Gabriel Tejada          Jose                Westchester             11/12/2017    12/17/2017 $         610.75   $       610.75   $      1,221.50
510   Galindez                Gustavo             NJ                       7/21/2019     12/1/2019 $       2,663.83   $     2,663.83   $      5,327.66
511   Galindo                 Wilson              NJ                         2/5/2017   10/15/2017 $       2,691.59   $     2,691.59   $      5,383.18
512   Gamboa                  Maria               NJ                       2/24/2019     3/31/2019 $         292.88   $       292.88   $        585.76
513   Garcia                  Alexis              NJ                       7/14/2019     1/26/2020 $       3,249.16   $     3,249.16   $      6,498.32
514   Garcia                  Angel               NJ                       8/13/2017      7/8/2018 $         235.41   $       235.41   $        470.82



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                           Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 9 of 22 PageID: 834

                                                  Su v. Ernie's Auto Detailing Inc., et al.
                                                    Case No. 20-CV-17785-KM-ESK
                                                                 Exhibit 1


                                                                       Violation    To Violation
                                                    Geographic        Period From Period Week                         Liquidated     Total Damages
               Last Name           First Name       Worksheets        Week Ending     Ending      Back Wages Due     Damages Due          Due
515   Garcia                 Carlos             Long Island                7/1/2018    8/19/2018 $         289.16   $       289.16   $        578.32
516   Garcia                 Christian          NJ                         9/8/2019    9/29/2019 $          51.10   $        51.10   $        102.20
517   Garcia                 Cristian           CT                       8/25/2019     1/26/2020 $       1,105.68   $     1,105.68   $      2,211.36
518   Garcia                 Ederis             NYC                        2/5/2017     4/8/2018 $         303.25   $       303.25   $        606.50
519   Garcia                 Elvis              NJ                         8/6/2017    1/26/2020 $       8,197.47   $     8,197.47   $     16,394.94
520   Garcia                 Elvis              NJ                       4/23/2017    12/17/2017 $         606.83   $       606.83   $      1,213.66
521   Garcia                 Jhancarlso         NJ                         9/8/2019   10/27/2019 $         310.54   $       310.54   $        621.08
522   Garcia                 Jonathan           NYC                      12/3/2017    12/24/2017 $         218.67   $       218.67   $        437.34
523   Garcia                 Joseph             NJ                         3/5/2017   10/22/2017 $       1,977.62   $     1,977.62   $      3,955.24
524   Garcia                 Kevin              CT                       8/25/2019     1/26/2020 $       1,386.37   $     1,386.37   $      2,772.74
525   Garcia                 Osly               CT                       1/21/2018      3/4/2018 $         199.98   $       199.98   $        399.96
526   Garcia                 Pablo              NJ                       6/16/2019     1/26/2020 $       1,146.27   $     1,146.27   $      2,292.54
527   Garcia                 Radhames           Long Island                2/5/2017    1/26/2020 $      11,505.48   $    11,505.48   $     23,010.96
528   Garcia                 Victor             NJ                       8/11/2019     9/29/2019 $         205.98   $       205.98   $        411.96
529   Garcia Bello           William Jose       NYC                      1/13/2019     5/19/2019 $       5,248.03   $     5,248.03   $     10,496.06
530   Garcia Perez           German             NJ                      12/24/2017     1/21/2018 $         243.70   $       243.70   $        487.40
531   Garcia-Beras           Rafael             NYC                     12/17/2017     7/29/2018 $       2,303.40   $     2,303.40   $      4,606.80
532   Garci-Cabral           Claudio E.         NJ                       3/24/2019     1/26/2020 $       2,217.17   $     2,217.17   $      4,434.34
533   Garibaldy Mauricio     Kessel             NYC/Long Island          4/22/2018     1/26/2020 $      15,173.33   $    15,173.33   $     30,346.66
534   Gavarrete              Anibal             NJ                       8/11/2019    11/17/2019 $       1,752.12   $     1,752.12   $      3,504.24
535   Gaviria                Santiago           NJ                       12/8/2019     1/26/2020 $         723.76   $       723.76   $      1,447.52
536   Genao                  Brinaldy           NJ                         2/5/2017    1/26/2020 $      11,727.86   $    11,727.86   $     23,455.72
537   Geraldo Ramirez        Luis D.            NJ                       3/12/2017     8/25/2019 $       6,781.74   $     6,781.74   $     13,563.48
538   German                 Raul               NYC                      8/20/2017     1/26/2020 $      28,769.22   $    28,769.22   $     57,538.44
539   Giannelli              Paul               NY                         2/5/2017    1/26/2020 $       8,475.78   $     8,475.78   $     16,951.56
540   Gilbert                Joshua             PA                         7/7/2019    9/15/2019 $         152.75   $       152.75   $        305.50
541   Gilbert                Julian             PA                         7/7/2019    9/15/2019 $         120.00   $       120.00   $        240.00
542   Gilberto Sunuc         Pedro              NJ                         9/9/2018   10/21/2018 $         562.72   $       562.72   $      1,125.44
543   Giovanni Perez         Nelson             NJ                         9/8/2019    12/1/2019 $         585.02   $       585.02   $      1,170.04
544   Godoy                  Neftali            NJ                         6/4/2017   11/26/2017 $       1,685.67   $     1,685.67   $      3,371.34
545   Gomez                  Angel              NJ                         4/8/2018    1/26/2020 $      12,136.10   $    12,136.10   $     24,272.20
546   Gomez                  Armando            NJ/NY                      2/5/2017    3/24/2019 $       6,571.58   $     6,571.58   $     13,143.16
547   Gomez                  Catherine          NYC                      11/4/2018     1/26/2020 $      18,576.48   $    18,576.48   $     37,152.96
548   Gomez                  Lisandro           NJ                      11/24/2019     12/1/2019 $          29.50   $        29.50   $         59.00
549   Gomez                  Oscar              NJ                       12/8/2019     1/26/2020 $       1,014.02   $     1,014.02   $      2,028.04
550   Gomez                  Ricardo            NJ                      12/17/2017     2/25/2018 $         871.59   $       871.59   $      1,743.18
551   Gomez                  Samuel             NJ                         2/5/2017    2/26/2017 $          49.43   $        49.43   $         98.86
552   Gomez                  Wilmer             NYC                      2/19/2017     3/25/2018 $       4,577.89   $     4,577.89   $      9,155.78
553   Gomez Campos           Fredy              Long Island              6/18/2017      1/7/2018 $       2,325.85   $     2,325.85   $      4,651.70
554   Gomez Gallegos         Juan Carlos        NJ                      10/27/2019     1/26/2020 $       1,498.85   $     1,498.85   $      2,997.70
555   Gonzales               Anastasio          NJ                         6/9/2019    1/26/2020 $       2,400.69   $     2,400.69   $      4,801.38
556   Gonzales               Juana              NJ                      12/29/2019     1/19/2020 $         458.79   $       458.79   $        917.58
557   Gonzalez               Edwin              NJ                       6/16/2019     1/26/2020 $       3,039.51   $     3,039.51   $      6,079.02
558   Gonzalez               Maria              NJ                         8/4/2019    1/26/2020 $         803.76   $       803.76   $      1,607.52
559   Gonzalez               Nercido            NJ                       6/30/2019     8/11/2019 $          42.08   $        42.08   $         84.16
560   Gonzalez               Rolando            NJ                       9/15/2019     1/12/2020 $       1,370.22   $     1,370.22   $      2,740.44
561   Gonzalez Cruz          Pedro              NJ                       3/10/2019      4/7/2019 $         451.18   $       451.18   $        902.36
562   Gonzalez Gomez         Juan A.            NJ/NY                      9/3/2017   12/31/2017 $         486.98   $       486.98   $        973.96
563   Gonzalez Munoz         Tomas Roberto      NJ                       3/19/2017     1/26/2020 $      25,531.74   $    25,531.74   $     51,063.48
564   Gonzalez Paulino       Waldy              NJ                         9/8/2019    11/3/2019 $         995.56   $       995.56   $      1,991.12
565   Gonzalez Pena          Ignacio            NJ                         2/5/2017   11/11/2018 $      19,503.50   $    19,503.50   $     39,007.00
566   Gonzalez Peralta       Danilo             NJ                       1/12/2020     1/26/2020 $         242.72   $       242.72   $        485.44
567   Gonzalez Rodriguez     Joel Jose          NJ                       4/28/2019     1/26/2020 $       4,554.90   $     4,554.90   $      9,109.80
568   Gonzalez Rosario       Kirsi              NYC                        6/2/2019    1/26/2020 $      11,128.40   $    11,128.40   $     22,256.80
569   Gonzalez Sande         Juan               NJ                       10/1/2017    10/22/2017 $         167.04   $       167.04   $        334.08
570   Gracida                Avimael            NJ                       4/21/2019     1/26/2020 $       3,841.97   $     3,841.97   $      7,683.94
571   Grau Ramirez           Jose Nahum         NJ                       6/17/2018     1/26/2020 $       4,276.46   $     4,276.46   $      8,552.92
572   Gregory Sanchez        Tristan            NJ                       9/15/2019      1/5/2020 $       1,996.03   $     1,996.03   $      3,992.06
573   Grier                  Shakir A.          NYC                      3/25/2018     7/29/2018 $         526.63   $       526.63   $      1,053.26
574   Gritor                 Namir              NJ                      10/13/2019     1/12/2020 $         224.10   $       224.10   $        448.20
575   Gross                  Wilfredo           Westchester             12/16/2018     1/26/2020 $      16,476.40   $    16,476.40   $     32,952.80
576   Grullon                Isidro             NYC/NJ                     2/5/2017     6/4/2017 $         735.41   $       735.41   $      1,470.82
577   Grullon                Leonardo           NYC/Westchester            7/2/2017    9/22/2019 $         889.30   $       889.30   $      1,778.60
578   Guardado               Sigredo            NJ                       12/8/2019     1/26/2020 $         961.35   $       961.35   $      1,922.70
579   Guardado Galdamez      Gonzalo De J.      Long Island              12/1/2019     1/19/2020 $         313.30   $       313.30   $        626.60
580   Guedez Yepez           Julio Cesar        NYC                      9/10/2017     1/26/2020 $      15,406.51   $    15,406.51   $     30,813.02
581   Guerra                 Francis            NJ                         2/5/2017    1/26/2020 $      18,891.32   $    18,891.32   $     37,782.64
582   Guerra                 Jose               Westchester                2/5/2017   12/24/2017 $       4,810.48   $     4,810.48   $      9,620.96
583   Guerra                 Robinson           Long Island                2/5/2017     4/2/2017 $         322.83   $       322.83   $        645.66
584   Guerrero               James              NY                       8/18/2019     1/26/2020 $       1,128.92   $     1,128.92   $      2,257.84
585   Guerrero               Jorge              NY                         2/5/2017    1/26/2020 $      16,091.47   $    16,091.47   $     32,182.94
586   Guerrero               Tobias             NJ                         2/5/2017    6/10/2018 $       4,962.25   $     4,962.25   $      9,924.50
587   Guerrero Lopez         Claudio Isidro     NJ                       10/6/2019     1/26/2020 $       1,552.53   $     1,552.53   $      3,105.06
588   Guichardo              Andres             Westchester                6/9/2019    6/23/2019 $         315.90   $       315.90   $        631.80



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                             Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 10 of 22 PageID: 835

                                                     Su v. Ernie's Auto Detailing Inc., et al.
                                                       Case No. 20-CV-17785-KM-ESK
                                                                    Exhibit 1


                                                                          Violation    To Violation
                                                      Geographic         Period From Period Week                         Liquidated     Total Damages
                 Last Name           First Name       Worksheets         Week Ending     Ending      Back Wages Due     Damages Due          Due
589   Guichardo Gil            Emilio A.          Westchester               5/21/2017     8/27/2017 $       1,419.33   $     1,419.33   $      2,838.66
590   Guillen Rondon           Luis David         NYC                       7/15/2018     8/12/2018 $         995.68   $       995.68   $      1,991.36
591   Gutierrez                Ever               CT/Westchester              2/5/2017    1/26/2020 $      18,198.49   $    18,198.49   $     36,396.98
592   Gutierrez                Israel             NJ                        5/20/2018     6/10/2018 $         144.00   $       144.00   $        288.00
593   Gutierrez                Alexander          NYC                       10/8/2017    10/22/2017 $         137.07   $       137.07   $        274.14
594   Guy Ikokwj               Nathan             NY                       11/10/2019     1/26/2020 $         747.80   $       747.80   $      1,495.60
595   Guzman                   Eduardo            NJ                          2/5/2017     3/4/2018 $       3,450.24   $     3,450.24   $      6,900.48
596   Guzman                   Eliezer            NJ                          2/5/2017    12/3/2017 $       1,136.92   $     1,136.92   $      2,273.84
597   Guzman Felipe            Fidel Jose         NJ                        10/7/2018     1/26/2020 $       3,359.94   $     3,359.94   $      6,719.88
598   Gyamfi                   Mark               NYC                       10/8/2017      5/6/2018 $         273.90   $       273.90   $        547.80
599   Hairro                   John               NJ                       10/29/2017    11/25/2018 $       4,790.16   $     4,790.16   $      9,580.32
600   Halcomb                  Sage               NYC                         2/3/2019    1/26/2020 $       1,960.80   $     1,960.80   $      3,921.60
601   Hansel Urena             Pedro              Westchester               1/13/2019     1/26/2020 $      16,599.45   $    16,599.45   $     33,198.90
602   Henry Ortiz              Carlos             NJ                        3/24/2019     3/31/2019 $         129.83   $       129.83   $        259.66
603   Herlein                  Facundo            NJ                          3/4/2018    6/17/2018 $         807.92   $       807.92   $      1,615.84
604   Hernandez                Amadeo             CT                          2/5/2017    1/26/2020 $      15,916.53   $    15,916.53   $     31,833.06
605   Hernandez                Amadeo             NYC                       2/18/2018     2/17/2019 $      10,230.48   $    10,230.48   $     20,460.96
606   Hernandez                Andres G.          NJ                        7/21/2019     1/26/2020 $       4,608.80   $     4,608.80   $      9,217.60
607   Hernandez                Ariel              NY                        5/21/2017     1/26/2020 $       7,212.75   $     7,212.75   $     14,425.50
608   Hernandez                Braulio            NJ                          2/5/2017    1/26/2020 $      17,965.64   $    17,965.64   $     35,931.28
609   Hernandez                Dennis             Long Island               5/26/2019     1/26/2020 $       4,659.63   $     4,659.63   $      9,319.26
610   Hernandez                Eduardo            NJ                          2/5/2017    11/5/2017 $       1,319.41   $     1,319.41   $      2,638.82
611   Hernandez                Elington           NYC                       7/28/2019     1/19/2020 $       6,020.06   $     6,020.06   $     12,040.12
612   Hernandez                Eliud              NJ                          7/2/2017    1/26/2020 $      14,183.66   $    14,183.66   $     28,367.32
613   Hernandez                Ernesto            NJ                          7/8/2018   11/17/2019 $       3,533.83   $     3,533.83   $      7,067.66
614   Hernandez                Fidel              NYC                         2/5/2017     4/9/2017 $         364.19   $       364.19   $        728.38
615   Hernandez                Francisco          NJ                          5/7/2017    5/14/2017 $         153.98   $       153.98   $        307.96
616   Hernandez                Hector             NJ                        3/10/2019     3/24/2019 $         145.08   $       145.08   $        290.16
617   Hernandez                Isidro             NJ                        2/12/2017      3/5/2017 $         125.32   $       125.32   $        250.64
618   Hernandez                Jimmy A.           NJ                          2/5/2017     4/8/2018 $       5,486.33   $     5,486.33   $     10,972.66
619   Hernandez                Jorge              NJ                        8/13/2017      5/6/2018 $         123.60   $       123.60   $        247.20
620   Hernandez                Julio              Westchester                 7/2/2017    7/23/2017 $         172.33   $       172.33   $        344.66
621   Hernandez                Keivi              NJ                        7/22/2018     1/26/2020 $       4,270.49   $     4,270.49   $      8,540.98
622   Hernandez                Kenny              NJ                          7/7/2019    1/26/2020 $       1,405.72   $     1,405.72   $      2,811.44
623   Hernandez                Keny               NJ                          5/6/2018    12/2/2018 $       1,605.98   $     1,605.98   $      3,211.96
624   Hernandez                Luis               NJ/Westchester              6/2/2019     9/1/2019 $       1,400.73   $     1,400.73   $      2,801.46
625   Hernandez                Manuel             NJ                          2/5/2017    1/26/2020 $       7,659.90   $     7,659.90   $     15,319.80
626   Hernandez                Manuel             NYC/NJ                      4/1/2018     9/8/2019 $      14,488.72   $    14,488.72   $     28,977.44
627   Hernandez                Mario              NYC                         5/5/2019    5/26/2019 $          58.44   $        58.44   $        116.88
628   Hernandez                Miguel             NJ                        3/31/2019     9/15/2019 $       3,786.08   $     3,786.08   $      7,572.16
629   Hernandez                Erick              NJ                          4/7/2019    5/12/2019 $         520.67   $       520.67   $      1,041.34
630   Hernandez Jimenez        Luis Manuel        NYC                         1/7/2018    1/26/2020 $      46,384.60   $    46,384.60   $     92,769.20
631   Hernandez Pacheco        Rafael Angel       NYC                      10/15/2017      1/7/2018 $         836.97   $       836.97   $      1,673.94
632   Herrera                  Jair               NJ                        6/10/2018     6/30/2019 $          47.50   $        47.50   $         95.00
633   Herrera                  Sonny              NY                       10/15/2017    11/19/2017 $         194.93   $       194.93   $        389.86
634   Hill                     Tomell             NY                        8/18/2019     1/26/2020 $       1,473.14   $     1,473.14   $      2,946.28
635   Holguin Diaz             Cesar Ariel        NJ                       10/27/2019    11/17/2019 $         610.20   $       610.20   $      1,220.40
636   Huff                     Harold             NJ                        5/28/2017     9/16/2018 $       1,238.40   $     1,238.40   $      2,476.80
637   Huff                     Joe                NJ                        4/16/2017     5/13/2018 $       3,173.45   $     3,173.45   $      6,346.90
638   Humberto Groy Patzan     Maynor             NJ                          2/5/2017    2/12/2017 $          95.24   $        95.24   $        190.48
639   Huz                      Arturo             NJ                          2/5/2017    11/3/2019 $      18,079.15   $    18,079.15   $     36,158.30
640   Huz                      Secundino          NJ                          2/5/2017   11/26/2017 $       3,342.61   $     3,342.61   $      6,685.22
641   Huz                      Victor             NJ                          2/5/2017   11/26/2017 $       3,176.40   $     3,176.40   $      6,352.80
642   Ibarra                   Raul               Long Island               4/14/2019     1/26/2020 $       3,674.78   $     3,674.78   $      7,349.56
643   Ibarra                   Silvio             NJ                        3/25/2018     1/26/2020 $      12,531.57   $    12,531.57   $     25,063.14
644   Iraheta Sanchez          Wilber Yobanis     Long Island               6/11/2017     1/26/2020 $       4,891.93   $     4,891.93   $      9,783.86
645   Irizarry                 Izayah             NJ                          2/5/2017    4/30/2017 $         604.08   $       604.08   $      1,208.16
646   Irrizarri                Fernando           NY                       12/10/2017      1/7/2018 $         124.70   $       124.70   $        249.40
647   Irving                   Bashir             NY                          7/7/2019     1/5/2020 $         674.01   $       674.01   $      1,348.02
648   Israel Saquic            Randolfo           NJ                        12/9/2018      1/6/2019 $         105.49   $       105.49   $        210.98
649   Isuiza                   Carlos             NJ                          2/5/2017     3/3/2019 $       1,875.39   $     1,875.39   $      3,750.78
650   Isuiza                   Orlando            NJ                          2/5/2017    1/26/2020 $      22,132.12   $    22,132.12   $     44,264.24
651   Jackson                  Elijah             NJ                        5/13/2018     7/15/2018 $         498.50   $       498.50   $        997.00
652   Jackson                  Marques            NJ                          2/5/2017    7/23/2017 $       3,109.19   $     3,109.19   $      6,218.38
653   Jacob Diers              Gerard             NY                        6/11/2017      7/2/2017 $          84.79   $        84.79   $        169.58
654   Jahongi                  Alimon             NYC                         2/5/2017    1/26/2020 $      20,460.00   $    20,460.00   $     40,920.00
655   Jairo Villegas           John               Westchester               4/28/2019     1/26/2020 $       8,821.79   $     8,821.79   $     17,643.58
656   James                    Chris              NJ                        8/13/2017    10/29/2017 $         129.42   $       129.42   $        258.84
657   Janer Pineda             Jhon               NJ                        6/17/2018     7/29/2018 $         923.50   $       923.50   $      1,847.00
658   Javier Jimenez           Christopher        NJ                        3/25/2018     7/22/2018 $         185.33   $       185.33   $        370.66
659   Javier Peralta           Francisco          Westchester               7/22/2018     1/26/2020 $      19,905.34   $    19,905.34   $     39,810.68
660   Javier Sass              Francisco          NJ                       11/26/2017      1/7/2018 $         416.97   $       416.97   $        833.94
661   Jemmil Aponte Sierra     Alexander          NYC                      12/23/2018     1/26/2020 $      11,872.23   $    11,872.23   $     23,744.46
662   Jimenez                  Adriel             NYC                         2/5/2017     5/7/2017 $       1,826.68   $     1,826.68   $      3,653.36



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                                 Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 11 of 22 PageID: 836

                                                         Su v. Ernie's Auto Detailing Inc., et al.
                                                           Case No. 20-CV-17785-KM-ESK
                                                                        Exhibit 1


                                                                              Violation    To Violation
                                                          Geographic         Period From Period Week                         Liquidated     Total Damages
               Last Name                 First Name       Worksheets         Week Ending     Ending      Back Wages Due     Damages Due          Due
663   Jimenez                      Genaro             NJ                          2/5/2017    1/26/2020 $      15,466.25   $    15,466.25   $     30,932.50
664   Jimenez                      Gustavo            NJ                       12/15/2019     1/12/2020 $         368.18   $       368.18   $        736.36
665   Jimenez                      Harrinson          Long Island/NJ/NY           7/7/2019    1/26/2020 $       2,577.54   $     2,577.54   $      5,155.08
666   Jimenez                      Hosmey             NJ                        5/19/2019     12/1/2019 $       1,076.85   $     1,076.85   $      2,153.70
667   Jimenez                      Samuel             NJ                        9/15/2019    10/13/2019 $         238.17   $       238.17   $        476.34
668   Jimenez                      Ysidoro            Long Island               5/20/2018     2/17/2019 $         325.88   $       325.88   $        651.76
669   Jimenez Colon                Richardo           NJ                        8/26/2018     11/4/2018 $         362.27   $       362.27   $        724.54
670   Jimenez Garcia               Jose Luis          NYC                       4/28/2019     1/19/2020 $         972.00   $       972.00   $      1,944.00
671   Jimenez Ventura              Christopher Luis   NYC                      11/26/2017      9/9/2018 $          64.49   $        64.49   $        128.98
672   Joaquin Lopes                Isai Jonathan      NJ                        1/26/2020     1/26/2020 $         241.50   $       241.50   $        483.00
673   Joel Cusanero                Maynor             NJ                       10/20/2019     1/26/2020 $       1,740.74   $     1,740.74   $      3,481.48
674   Joel Rodriguez               Kilmer             NYC                       9/23/2018    11/11/2018 $         851.35   $       851.35   $      1,702.70
675   Johnson                      Rafael             NYC/NJ                    6/17/2018     1/26/2020 $      10,451.85   $    10,451.85   $     20,903.70
676   Johnson                      Umar               NY                        7/21/2019     8/25/2019 $          85.10   $        85.10   $        170.20
677   Jordan Lopez                 Oswaldo Vladimir   Long Island               7/28/2019    10/27/2019 $       1,402.82   $     1,402.82   $      2,805.64
678   Jorge Anderson               Luis               NYC/NJ                    4/22/2018     1/26/2020 $       6,161.43   $     6,161.43   $     12,322.86
679   Jorge Cusnero                Jose               NJ                        4/23/2017     5/14/2017 $         284.76   $       284.76   $        569.52
680   Jorge Rosa                   Christopher        Westchester                 9/9/2018    6/30/2019 $      12,184.90   $    12,184.90   $     24,369.80
681   Jose Fernandez               Carlos             Westchester               1/27/2019      4/7/2019 $       3,119.32   $     3,119.32   $      6,238.64
682   Jose Martinez                Fausto             NYC                       1/14/2018     1/26/2020 $      33,687.88   $    33,687.88   $     67,375.76
683   Jose Martinez                Victor             NYC                       7/22/2018     7/29/2018 $         245.71   $       245.71   $        491.42
684   Jose Mendez                  Luis               NJ                        11/3/2019     1/26/2020 $       1,137.22   $     1,137.22   $      2,274.44
685   Jose Placencia               Winston            NYC                         9/3/2017    1/26/2020 $      27,146.59   $    27,146.59   $     54,293.18
686   Jose Rodriguez Varamendi     Darwin             Long Island               3/24/2019     5/19/2019 $       1,050.36   $     1,050.36   $      2,100.72
687   Jose Sanchez                 Yoel               NYC                       4/21/2019     1/26/2020 $      20,419.82   $    20,419.82   $     40,839.64
688   Josue Alvarado               Dixin              Long Island              11/24/2019     1/26/2020 $       1,166.60   $     1,166.60   $      2,333.20
689   Josue Banegas                Carlos             CT                          9/8/2019    1/26/2020 $       1,620.31   $     1,620.31   $      3,240.62
690   Josue Castro                 Otis               NJ                        7/14/2019     1/26/2020 $       3,010.37   $     3,010.37   $      6,020.74
691   Josue Eusebio                Harold             NJ                        5/28/2017     1/26/2020 $      18,409.87   $    18,409.87   $     36,819.74
692   Jovel                        Santiago           NJ                          2/5/2017     3/5/2017 $         283.10   $       283.10   $        566.20
693   Juan Peralta                 Jose               NJ/Westchester            6/17/2018     9/22/2019 $       9,769.27   $     9,769.27   $     19,538.54
694   Juarez Sanchez               Jose Fernando      Westchester               4/14/2019     1/26/2020 $       3,957.52   $     3,957.52   $      7,915.04
695   Junior Gomez                 Frank              Westchester              10/20/2019     1/26/2020 $       1,858.88   $     1,858.88   $      3,717.76
696   Kennedy                      Steven             NY                       11/19/2017    12/10/2017 $         113.37   $       113.37   $        226.74
697   Kirkland                     Michael            NJ                        9/24/2017     12/2/2018 $       3,806.95   $     3,806.95   $      7,613.90
698   Lambert                      Shon               NYC                         2/3/2019    1/26/2020 $       2,241.05   $     2,241.05   $      4,482.10
699   Lantigua Adames              Anthony            NJ                          9/3/2017   11/19/2017 $         791.03   $       791.03   $      1,582.06
700   Lara                         Joscar             NJ                        1/19/2020     1/26/2020 $         100.65   $       100.65   $        201.30
701   Larios                       Eveling            NYC                       8/18/2019     9/15/2019 $         558.63   $       558.63   $      1,117.26
702   Latoni Rivera                Julian             NYC                       6/11/2017      8/6/2017 $         218.18   $       218.18   $        436.36
703   Lawrence                     Mikhail-Rose       NYC                         2/4/2018    2/25/2018 $         100.93   $       100.93   $        201.86
704   Leal Rodriguez               Alexander          NJ                        12/1/2019     1/12/2020 $          52.68   $        52.68   $        105.36
705   Leary                        Rajeeer R.         NJ                        12/3/2017     1/21/2018 $         147.67   $       147.67   $        295.34
706   Lebron                       Manuel             NYC                       4/23/2017     6/24/2018 $       2,827.12   $     2,827.12   $      5,654.24
707   Lecky                        Leroy              NYC                       10/8/2017    12/17/2017 $         122.65   $       122.65   $        245.30
708   Ledesma                      Delvinson          NJ                        7/23/2017      2/4/2018 $         788.85   $       788.85   $      1,577.70
709   Ledgister                    Justin             NY                        12/2/2018     1/26/2020 $       1,901.14   $     1,901.14   $      3,802.28
710   Lenin Alacron                Maynor             NJ                          2/5/2017    6/18/2017 $       3,400.30   $     3,400.30   $      6,800.60
711   Leon                         Jonathan E.        NJ                        5/20/2018     2/17/2019 $       2,779.80   $     2,779.80   $      5,559.60
712   Leon Guerra                  Jose E.            Westchester                 2/5/2017    1/26/2020 $      14,068.44   $    14,068.44   $     28,136.88
713   Leon Martin                  Jose               NJ                          2/5/2017   10/27/2019 $      13,966.23   $    13,966.23   $     27,932.46
714   León Ramirez                 Jonathan           NJ                          2/5/2017    1/26/2020 $      17,069.90   $    17,069.90   $     34,139.80
715   Leonel Guzman                Mario              Long Island               2/10/2019     1/26/2020 $       4,662.99   $     4,662.99   $      9,325.98
716   Leonel Portillo              Jose               NJ                        4/22/2018      7/8/2018 $       1,526.73   $     1,526.73   $      3,053.46
717   Leung                        Michael            NYC                       6/30/2019     9/22/2019 $         728.75   $       728.75   $      1,457.50
718   Lewis                        Rodney             NJ                        2/12/2017    11/17/2019 $       3,561.45   $     3,561.45   $      7,122.90
719   Lino                         Julio              NYC                       5/26/2019     10/6/2019 $       5,028.88   $     5,028.88   $     10,057.76
720   Liquet                       Welinston          NJ                          1/6/2019    1/26/2020 $       2,172.58   $     2,172.58   $      4,345.16
721   Liu                          JarJay             NYC                       6/17/2018     1/26/2020 $      11,261.47   $    11,261.47   $     22,522.94
722   Lopez                        Alejandro          NJ                        2/24/2019     12/8/2019 $       1,887.51   $     1,887.51   $      3,775.02
723   Lopez                        Carlos             NJ                          6/3/2018    2/17/2019 $         738.51   $       738.51   $      1,477.02
724   Lopez                        Gloria             NJ                        12/8/2019     1/26/2020 $         996.90   $       996.90   $      1,993.80
725   Lopez                        Ismael             NJ                        11/4/2018     1/26/2020 $       8,121.50   $     8,121.50   $     16,243.00
726   Lopez                        Jerry              NYC/Westchester             2/5/2017    2/24/2019 $      11,524.36   $    11,524.36   $     23,048.72
727   Lopez                        Joel               NJ                          2/5/2017   10/14/2018 $         972.49   $       972.49   $      1,944.98
728   Lopez                        Luis               NJ                        3/17/2019    12/15/2019 $       2,156.33   $     2,156.33   $      4,312.66
729   Lopez                        Omar               NJ                          2/5/2017    1/26/2020 $       2,937.36   $     2,937.36   $      5,874.72
730   Lopez                        Sonia              NJ                        12/8/2019     1/26/2020 $       1,063.78   $     1,063.78   $      2,127.56
731   Lopez                        Nicolas            NYC                      10/15/2017    10/20/2019 $      11,724.61   $    11,724.61   $     23,449.22
732   Lopez Cano                   Julio              NJ                          2/5/2017    4/30/2017 $         872.33   $       872.33   $      1,744.66
733   Lopez Flores                 Reynaldo           NJ                        1/19/2020     1/26/2020 $         199.83   $       199.83   $        399.66
734   Lopez Guzman                 Samuel             NJ                        3/19/2017     1/26/2020 $      21,035.33   $    21,035.33   $     42,070.66




                                                                            10
                              Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 12 of 22 PageID: 837

                                                      Su v. Ernie's Auto Detailing Inc., et al.
                                                        Case No. 20-CV-17785-KM-ESK
                                                                     Exhibit 1


                                                                           Violation  To Violation
                                                       Geographic         Period From Period Week                          Liquidated     Total Damages
               Last Name             First Name        Worksheets         Week Ending   Ending          Back Wages Due    Damages Due          Due
                                                   Long Island/ NJ/
735   Lopez Marte               Pedro Manuel       Westchester                  2/5/2017      1/26/2020 $     10,587.85   $   10,587.85   $    21,175.70
736   Lopez Rivera              Jose               Long Island                 6/16/2019       1/5/2020 $      1,022.80   $    1,022.80   $     2,045.60
737   Lopez Velasquez           Rene Javier        Long Island                 9/23/2018       6/9/2019 $      2,774.21   $    2,774.21   $     5,548.42
738   Lorenzo Alvarado          Oseas              NJ                           5/7/2017      3/24/2019 $     11,392.72   $   11,392.72   $    22,785.44
739   Louis Juste               Stevens            Long Island                 6/17/2018      9/16/2018 $        445.32   $      445.32   $       890.64
740   Lozada                    Jacobo             NJ                           2/5/2017      11/3/2019 $     30,457.56   $   30,457.56   $    60,915.12
741   Lugardo                   Ricardo            NJ                          7/21/2019      8/25/2019 $        692.26   $      692.26   $     1,384.52
742   Lugo                      Amado              NJ                           3/5/2017      1/26/2020 $      5,874.87   $    5,874.87   $    11,749.74
743   Lugo                      Elisha             NYC                         5/27/2018     11/10/2019 $      2,928.08   $    2,928.08   $     5,856.16
744   Lugo                      Juan               NJ                          11/4/2018      1/26/2020 $     14,340.85   $   14,340.85   $    28,681.70
745   Lugo                      Leonardo           NJ/Westchester               5/7/2017      1/26/2020 $      9,244.81   $    9,244.81   $    18,489.62
746   Lugo Reinoso              Warter De Jesus    NJ                          5/20/2018      9/15/2019 $      2,460.41   $    2,460.41   $     4,920.82
747   Luis DeLeon               Jose               NJ                           2/5/2017      1/26/2020 $      6,439.43   $    6,439.43   $    12,878.86
748   Luis Jerrez               Jose               NJ                         10/29/2017      7/14/2019 $      7,446.63   $    7,446.63   $    14,893.26
749   Luis Perez                Jose               NYC                          6/3/2018       7/8/2018 $      1,287.17   $    1,287.17   $     2,574.34
750   Luis Rojas                Jose               Westchester                 4/28/2019      4/28/2019 $        383.90   $      383.90   $       767.80
751   Luna                      Jose L.            NJ                          4/23/2017      4/30/2017 $         53.83   $       53.83   $       107.66
752   Luna                      Claudio            NYC                          2/5/2017      1/26/2020 $     20,460.00   $   20,460.00   $    40,920.00
753   Luna Checo                Marvin             NJ                          9/10/2017      1/26/2020 $     18,812.92   $   18,812.92   $    37,625.84
754   Luzon                     Socrates           NYC                          2/5/2017      9/23/2018 $      5,777.28   $    5,777.28   $    11,554.56
755   Lynch                     Michael            NYC                          5/5/2019      1/26/2020 $        109.09   $      109.09   $       218.18
756   Macario                   Rigoberto          NJ                          3/19/2017       8/5/2018 $        856.35   $      856.35   $     1,712.70
757   Macias                    Edwin              Long Island                 5/20/2018      5/27/2018 $         86.04   $       86.04   $       172.08
758   Malary Jr.                Dalendo R.         Long Island                  3/3/2019       3/3/2019 $         33.00   $       33.00   $        66.00
759   Maldonado                 Julian             Westchester                11/24/2019      1/26/2020 $        898.30   $      898.30   $     1,796.60
760   Maldonado                 Orlin              Long Island                  2/5/2017     10/29/2017 $      4,604.14   $    4,604.14   $     9,208.28
761   Maldonado                 Roberto            NJ                           7/8/2018      1/26/2020 $      7,452.81   $    7,452.81   $    14,905.62
762   Mancilla                  Jorge              NJ                          1/19/2020      1/26/2020 $        207.63   $      207.63   $       415.26
763   Manigat                   Paul               NYC                         11/4/2018      8/11/2019 $      4,482.36   $    4,482.36   $     8,964.72
764   Manuel Brito              Carlos             Westchester                12/17/2017      1/26/2020 $     14,020.42   $   14,020.42   $    28,040.84
765   Manuel Cabrera            Ronal              Westchester                 7/21/2019     12/29/2019 $      7,083.60   $    7,083.60   $    14,167.20
766   Manuel De Leon            Luis               NYC                          9/3/2017       9/9/2018 $      8,786.65   $    8,786.65   $    17,573.30
767   Manuel Delgado            Juan               NJ                           2/5/2017      5/27/2018 $      6,945.77   $    6,945.77   $    13,891.54
768   Manuel Disla              Feliz              NJ                          9/15/2019     10/13/2019 $        156.43   $      156.43   $       312.86
769   Manuel Grullon            Victor             NJ                           5/7/2017     12/22/2019 $     19,501.23   $   19,501.23   $    39,002.46
770   Manuel Guzman             Jose               Westchester                 9/17/2017       1/7/2018 $        675.00   $      675.00   $     1,350.00
771   Manuel Lopez              Carlos             NYC                          2/5/2017      1/26/2020 $     22,050.80   $   22,050.80   $    44,101.60
772   Manuel Lopez              Johan              NJ                          7/15/2018       1/6/2019 $      1,558.63   $    1,558.63   $     3,117.26
773   Manuel Lopez              Luis               Long Island                 5/20/2018      5/12/2019 $         96.25   $       96.25   $       192.50
774   Manuel Lopez Corzo        Juan               NJ/Westchester               5/5/2019      8/18/2019 $      1,862.28   $    1,862.28   $     3,724.56
775   Manuel Melendez           Juan               NJ                          2/17/2019      1/26/2020 $        855.62   $      855.62   $     1,711.24
776   Manuel Pena               Antonio            NJ                           2/5/2017       9/9/2018 $      6,997.81   $    6,997.81   $    13,995.62
777   Manuel Reyes Casillas     Jose               NJ                          5/19/2019     11/10/2019 $        939.42   $      939.42   $     1,878.84
778   Manuel Suchite            Victor             NJ                          10/6/2019      12/8/2019 $      1,754.00   $    1,754.00   $     3,508.00
779   Manuel Tay                Victor             NJ                           2/5/2017      9/17/2017 $      3,067.53   $    3,067.53   $     6,135.06
780   Manuel Vazquez            Jose               NJ                          5/19/2019      5/19/2019 $        102.66   $      102.66   $       205.32
781   Manuel Velasquez          Jose               NJ                          4/23/2017      7/21/2019 $      8,791.50   $    8,791.50   $    17,583.00
782   Manuel Villalobos         Enrique            Long Island                 3/25/2018      2/17/2019 $      2,213.33   $    2,213.33   $     4,426.66
783   Manzueta                  Jason              Westchester                  5/6/2018       7/8/2018 $      1,275.83   $    1,275.83   $     2,551.66
784   Maquin                    Adan               NJ                           2/5/2017       4/9/2017 $        446.00   $      446.00   $       892.00
785   Marcelino                 Jose               Westchester                11/12/2017      12/9/2018 $        866.22   $      866.22   $     1,732.44
786   Mariano                   Peter              NY                          10/6/2019      1/26/2020 $      2,337.36   $    2,337.36   $     4,674.72
787   Mariela Luna              Ana                NJ                          12/8/2019      1/26/2020 $        666.57   $      666.57   $     1,333.14
788   Marin                     Eduardo            NJ                           2/5/2017     12/30/2018 $      3,526.85   $    3,526.85   $     7,053.70
789   Marin                     Jorge              NJ                           2/5/2017      2/26/2017 $         35.86   $       35.86   $        71.72
790   Marina                    Yamil              NJ                         10/27/2019     12/29/2019 $         20.26   $       20.26   $        40.52
791   Mario Salvador            Jose               NYC                          9/3/2017      1/26/2020 $     33,766.00   $   33,766.00   $    67,532.00
792   Mark Pabilonia            David              NY                          5/20/2018       1/5/2020 $      5,752.40   $    5,752.40   $    11,504.80
793   Marquez                   Dayron             NJ                          1/26/2020      1/26/2020 $        209.22   $      209.22   $       418.44
794   Marrero                   Franklin           NJ                           2/5/2017      1/26/2020 $      9,688.43   $    9,688.43   $    19,376.86
795   Marrero                   Junior             NJ                           2/5/2017      3/12/2017 $        442.14   $      442.14   $       884.28
796   Marte                     Francisco          NJ/Westchester              3/25/2018      2/17/2019 $      1,708.12   $    1,708.12   $     3,416.24
797   Marte                     Francisco A.       NJ                           2/5/2017      1/26/2020 $     16,478.18   $   16,478.18   $    32,956.36
798   Marte                     Joan               NYC                        10/21/2018       7/7/2019 $     12,750.37   $   12,750.37   $    25,500.74
799   Marte                     Jose               NYC/Westchester            12/10/2017      2/25/2018 $      1,328.48   $    1,328.48   $     2,656.96
800   Marte                     Juan               NYC                          2/5/2017      1/26/2020 $     40,247.03   $   40,247.03   $    80,494.06
801   Marte                     Luis               NJ                           2/4/2018      1/26/2020 $      5,900.76   $    5,900.76   $    11,801.52
802   Marte Rodriguez           Santo              Westchester                 9/17/2017      11/5/2017 $      1,303.20   $    1,303.20   $     2,606.40
803   Martes                    Miguel             NYC                         6/10/2018      1/26/2020 $     19,493.25   $   19,493.25   $    38,986.50
804   Martine                   Joel               NYC                         8/18/2019      1/26/2020 $     10,668.54   $   10,668.54   $    21,337.08
805   Martinez                  Angelo             NYC                         6/17/2018       6/2/2019 $      2,532.72   $    2,532.72   $     5,065.44
806   Martinez                  Christian          Westchester                10/21/2018     12/30/2018 $      1,298.88   $    1,298.88   $     2,597.76




                                                                         11
                           Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 13 of 22 PageID: 838

                                                   Su v. Ernie's Auto Detailing Inc., et al.
                                                     Case No. 20-CV-17785-KM-ESK
                                                                  Exhibit 1


                                                                        Violation    To Violation
                                                    Geographic         Period From Period Week                         Liquidated     Total Damages
               Last Name           First Name       Worksheets         Week Ending     Ending      Back Wages Due     Damages Due          Due
807   Martinez               David              NJ                          3/5/2017     4/8/2018 $         350.08   $       350.08   $        700.16
808   Martinez               Eleuris            NYC                      10/29/2017     1/26/2020 $      23,473.48   $    23,473.48   $     46,946.96
809   Martinez               Freddy             NJ                        4/29/2018     5/13/2018 $         351.68   $       351.68   $        703.36
810   Martinez               Genaro D.          NJ                       10/29/2017     6/24/2018 $       2,584.24   $     2,584.24   $      5,168.48
811   Martinez               Hector             NJ                       12/31/2017     9/16/2018 $       1,088.38   $     1,088.38   $      2,176.76
812   Martinez               Hector J.          NJ                          8/4/2019    9/29/2019 $         773.08   $       773.08   $      1,546.16
813   Martinez               Hugo               NJ                        6/17/2018     8/18/2019 $       6,744.83   $     6,744.83   $     13,489.66
814   Martinez               Jason              CT                        7/29/2018     9/23/2018 $         814.52   $       814.52   $      1,629.04
815   Martinez               Jorge              NJ                       12/29/2019     1/26/2020 $         456.82   $       456.82   $        913.64
816   Martinez               Jose               NJ/NY                     9/23/2018    10/20/2019 $       2,811.98   $     2,811.98   $      5,623.96
817   Martinez               Juan L.            NYC                       2/10/2019      3/3/2019 $         310.73   $       310.73   $        621.46
818   Martinez               Leonardo J.        NJ/Westchester            8/19/2018    12/22/2019 $       3,267.33   $     3,267.33   $      6,534.66
819   Martinez               Leonel             Westchester              10/21/2018    12/16/2018 $       1,767.07   $     1,767.07   $      3,534.14
820   Martinez               Manuel             NYC                       10/8/2017    11/19/2017 $          38.93   $        38.93   $         77.86
821   Martinez               Miguel             NJ                          4/8/2018     8/4/2019 $       5,944.40   $     5,944.40   $     11,888.80
822   Martinez               Raul               NJ                        12/2/2018      2/3/2019 $          87.75   $        87.75   $        175.50
823   Martinez               Ricardo            Long Island                 2/5/2017    4/15/2018 $       6,749.22   $     6,749.22   $     13,498.44
824   Martinez               Roberto D.         NJ                       10/29/2017     6/24/2018 $       2,703.27   $     2,703.27   $      5,406.54
825   Martinez               Rolando            Long Island               2/25/2018      3/4/2018 $          83.44   $        83.44   $        166.88
826   Martinez               Victor             NY                        4/14/2019     6/16/2019 $         501.98   $       501.98   $      1,003.96
827   Martinez               William            NJ                       12/29/2019     1/26/2020 $         536.71   $       536.71   $      1,073.42
828   Martinez               Wilson             NJ                          2/5/2017    1/26/2020 $      18,664.48   $    18,664.48   $     37,328.96
829   Martinez               Joan               NYC                       9/10/2017     4/14/2019 $       7,228.50   $     7,228.50   $     14,457.00
830   Martinez Arias         Jose               NJ                          2/5/2017    1/26/2020 $      16,784.17   $    16,784.17   $     33,568.34
831   Martinez Jimenez       Raul               NY                        6/18/2017     1/26/2020 $      12,431.90   $    12,431.90   $     24,863.80
832   Martinez Rosaldo       Jose Manuel        Westchester                 7/2/2017    4/22/2018 $       6,925.44   $     6,925.44   $     13,850.88
833   Martinez Sandford      Justin             NJ                       10/20/2019    11/24/2019 $          20.42   $        20.42   $         40.84
834   Martinez Santana       Victor             Long Island              12/10/2017     7/15/2018 $       2,458.41   $     2,458.41   $      4,916.82
835   Masariego              Odin               NJ                       10/20/2019     1/26/2020 $       1,460.25   $     1,460.25   $      2,920.50
836   Masri                  Yohnny             Long Island               11/4/2018     8/25/2019 $       6,322.96   $     6,322.96   $     12,645.92
837   Matas Almanzar         Miller Alexander   NYC                       4/30/2017     1/26/2020 $      34,853.81   $    34,853.81   $     69,707.62
838   Mateo                  Aneudy             NJ                        11/4/2018     12/2/2018 $         312.33   $       312.33   $        624.66
839   Mateo                  Eladio             NJ/NYC                    4/23/2017     1/26/2020 $      46,319.05   $    46,319.05   $     92,638.10
840   Matias                 Kenyer             Long Island               8/19/2018     2/10/2019 $       3,557.13   $     3,557.13   $      7,114.26
841   Matos                  Ivan               NJ                        7/23/2017     1/13/2019 $       6,122.56   $     6,122.56   $     12,245.12
842   Matos                  Julio              NYC                       4/28/2019     6/30/2019 $         198.25   $       198.25   $        396.50
843   Mayorga                Brayan             NJ                        2/12/2017    10/15/2017 $         334.58   $       334.58   $        669.16
844   Maysonet               Juan L.            NJ                        9/15/2019     1/26/2020 $         584.67   $       584.67   $      1,169.34
845   McNally                Bayardo            NJ                        5/12/2019     1/26/2020 $       1,013.62   $     1,013.62   $      2,027.24
846   Medina                 Carlos             Westchester                 1/7/2018    12/9/2018 $       8,049.17   $     8,049.17   $     16,098.34
847   Medina                 Ezekiel            NYC                       6/23/2019     1/26/2020 $       3,379.83   $     3,379.83   $      6,759.66
848   Medina                 Edward             NYC                         2/5/2017    1/26/2020 $      20,460.00   $    20,460.00   $     40,920.00
849   Medina Mata            Eduardo            Long Island/                2/5/2017    1/26/2020 $       8,774.97   $     8,774.97   $     17,549.94
850   Medrano                Erick              CT                        11/4/2018     5/12/2019 $       3,008.12   $     3,008.12   $      6,016.24
851   Mejia                  Alex               NJ                          7/7/2019    7/21/2019 $         180.17   $       180.17   $        360.34
852   Mejia                  Edwin              NYC                       6/18/2017     11/4/2018 $       7,046.18   $     7,046.18   $     14,092.36
853   Mejia                  Elias M.           Long Island               2/10/2019     1/26/2020 $       4,410.05   $     4,410.05   $      8,820.10
854   Mejia                  Felis              NJ                        8/19/2018      9/2/2018 $         212.25   $       212.25   $        424.50
855   Mejia                  Jefry              NJ/Westchester              2/5/2017   12/22/2019 $      12,234.30   $    12,234.30   $     24,468.60
856   Mejia                  Jose               NYC                         2/5/2017     4/9/2017 $         959.70   $       959.70   $      1,919.40
857   Mejia                  Lester             NJ                        2/25/2018     7/21/2019 $       9,931.87   $     9,931.87   $     19,863.74
858   Mejia                  Patricio           NJ                        5/19/2019     6/16/2019 $         348.10   $       348.10   $        696.20
859   Mejia Flores           Elias              NJ                        8/12/2018      1/6/2019 $         136.08   $       136.08   $        272.16
860   Mejia Medina           Felipe             NYC                         5/5/2019    10/6/2019 $         381.74   $       381.74   $        763.48
861   Mejia Ponce            Victor Alfonos     NJ                        6/30/2019     1/26/2020 $       4,593.42   $     4,593.42   $      9,186.84
862   Mejica                 Rafael             NJ                        7/15/2018     9/30/2018 $         119.53   $       119.53   $        239.06
863   Melara Gonzalez        Jose David         NYC                       3/25/2018      9/2/2018 $       7,705.53   $     7,705.53   $     15,411.06
864   Melendez               Fernando           NJ                        9/15/2019     1/12/2020 $         770.75   $       770.75   $      1,541.50
865   Melendez               Ruben              NJ                          9/3/2017    11/4/2018 $       4,446.83   $     4,446.83   $      8,893.66
866   Melendez Chapas        Jose Abel          NJ                       11/18/2018     1/26/2020 $       3,921.14   $     3,921.14   $      7,842.28
867   Melgar                 Elmer              NJ                          2/5/2017    4/16/2017 $       1,058.63   $     1,058.63   $      2,117.26
868   Melo                   Maria T.           NJ                          1/5/2020    1/26/2020 $         485.56   $       485.56   $        971.12
869   Mena                   Arnulfo            NY                        3/25/2018     10/7/2018 $       2,671.03   $     2,671.03   $      5,342.06
870   Mena                   Christian          Westchester              12/16/2018     2/17/2019 $         481.35   $       481.35   $        962.70
871   Mena                   Cristian           NJ/NY/NYC                 3/26/2017     1/26/2020 $      20,039.83   $    20,039.83   $     40,079.66
872   Mena                   Francisco          NYC                       7/15/2018     1/26/2020 $      43,491.78   $    43,491.78   $     86,983.56
873   Menas Quezada          Henry Tomas        NYC                      10/20/2019     1/26/2020 $       2,829.13   $     2,829.13   $      5,658.26
874   Mencia Sosa            Socrates           NJ/NYC                    8/11/2019     1/26/2020 $       6,891.32   $     6,891.32   $     13,782.64
875   Mendes Tejada          Edwin              NYC                       2/24/2019     5/19/2019 $       7,915.27   $     7,915.27   $     15,830.54
876   Mendez                 Daniel             NJ                          2/5/2017     3/5/2017 $         227.21   $       227.21   $        454.42
877   Mendez                 Guillermo          NJ                          2/5/2017     7/2/2017 $       2,751.58   $     2,751.58   $      5,503.16
878   Mendez                 Isachar            PA                        4/21/2019      5/5/2019 $         135.85   $       135.85   $        271.70
879   Mendez                 Maria              NYC                      10/21/2018    10/28/2018 $         148.91   $       148.91   $        297.82
880   Mendez                 Ronny              NJ                        2/24/2019     1/26/2020 $       6,718.98   $     6,718.98   $     13,437.96



                                                                      12
                           Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 14 of 22 PageID: 839

                                                   Su v. Ernie's Auto Detailing Inc., et al.
                                                     Case No. 20-CV-17785-KM-ESK
                                                                  Exhibit 1


                                                                      Violation    To Violation
                                                    Geographic       Period From Period Week                         Liquidated     Total Damages
               Last Name           First Name       Worksheets       Week Ending     Ending      Back Wages Due     Damages Due          Due
881   Mendez                 Wadis A.           NJ/Westchester            2/5/2017    1/26/2020 $      21,930.89   $    21,930.89   $     43,861.78
882   Mendez                 Wilmer             NJ                      1/27/2019      6/2/2019 $       1,555.40   $     1,555.40   $      3,110.80
883   Mendez Diaz            Nearton Cesar      NJ                      4/16/2017     1/26/2020 $      13,482.93   $    13,482.93   $     26,965.86
884   Mendez Guerra          Oscar Saul         NJ                        2/5/2017    1/26/2020 $      16,621.59   $    16,621.59   $     33,243.18
885   Mendez Santana         David Daniel       NJ                        5/6/2018    1/26/2020 $       4,849.25   $     4,849.25   $      9,698.50
886   Mendoz Marioquin       Esteban            NJ                      7/21/2019     12/8/2019 $       1,893.67   $     1,893.67   $      3,787.34
887   Mendoza                Mark               NYC                     2/24/2019     7/21/2019 $      11,185.00   $    11,185.00   $     22,370.00
888   Mendoza                Leonel             NYC                       2/5/2017    1/26/2020 $      26,556.23   $    26,556.23   $     53,112.46
889   Menendez               Rafael             NJ                      8/13/2017    11/12/2017 $         132.75   $       132.75   $        265.50
890   Mercado                Steve              NJ                        6/3/2018     7/1/2018 $         259.51   $       259.51   $        519.02
891   Mercado                Steven             NJ                      7/15/2018      4/7/2019 $       2,362.98   $     2,362.98   $      4,725.96
892   Mercedes               Franklin           NJ                        2/5/2017    7/15/2018 $       7,566.91   $     7,566.91   $     15,133.82
893   Merino Munoz           Jose               Long Island             7/16/2017     6/30/2019 $      12,637.00   $    12,637.00   $     25,274.00
894   Merino Munoz           Jose Luis          Long Island               7/7/2019    1/26/2020 $       3,997.07   $     3,997.07   $      7,994.14
895   Merino Munoz           Josue Alejandro    Long Island               4/7/2019    1/26/2020 $       4,762.00   $     4,762.00   $      9,524.00
896   Metzler                Mark               NY                        2/5/2017    6/11/2017 $       1,248.71   $     1,248.71   $      2,497.42
897   Miceli                 Nicolas            NJ                      3/31/2019     6/30/2019 $       1,557.92   $     1,557.92   $      3,115.84
898   Micheli                Damon              NY                        2/5/2017     5/7/2017 $         172.42   $       172.42   $        344.84
899   Michelle Sandoval      Erica              NJ                      1/19/2020     1/26/2020 $         215.09   $       215.09   $        430.18
900   Miguel Bautista        Carlos             Westchester             7/22/2018     2/17/2019 $       5,754.89   $     5,754.89   $     11,509.78
901   Miguel Flores          Jose               NJ                        3/4/2018   10/20/2019 $       3,329.81   $     3,329.81   $      6,659.62
902   Miguel Geraldinio      Onix               NJ                      7/23/2017      9/3/2017 $          79.58   $        79.58   $        159.16
903   Miguel Palomo          Juan               NJ                      5/19/2019     1/26/2020 $       5,693.56   $     5,693.56   $     11,387.12
904   Miguel Pena            Luis               NYC                    12/17/2017      1/7/2018 $         136.00   $       136.00   $        272.00
905   Miguel Rodriguez       Danny              NYC                     3/25/2018     3/25/2018 $          90.24   $        90.24   $        180.48
906   Milla                  Jose               NYC/Westchester         3/26/2017     1/26/2020 $      18,095.73   $    18,095.73   $     36,191.46
907   Minaya Rosa            Emmanuelle         NJ                      5/20/2018     8/19/2018 $         759.15   $       759.15   $      1,518.30
908   Minyety                Meykol             NJ                      4/16/2017      9/3/2017 $       1,026.67   $     1,026.67   $      2,053.34
909   Miranda                Araceli            NJ                      5/20/2018     1/26/2020 $      13,578.22   $    13,578.22   $     27,156.44
910   Miranda                Jorge              NJ                        2/5/2017    1/26/2020 $      30,182.86   $    30,182.86   $     60,365.72
911   Miranda Cooper         Joshua             Long Island            10/15/2017     5/13/2018 $          21.27   $        21.27   $         42.54
912   Missael Rojas          David              NJ                      12/8/2019     1/26/2020 $         760.51   $       760.51   $      1,521.02
913   Mizar Nogueira         Angel              NJ                        9/3/2017    1/26/2020 $      17,646.68   $    17,646.68   $     35,293.36
914   Mojica                 Adolfo             Long Island             6/18/2017     9/17/2017 $         954.50   $       954.50   $      1,909.00
915   Monge                  Antonio            NJ                      1/28/2018    10/14/2018 $       2,793.92   $     2,793.92   $      5,587.84
916   Monroy                 Cecilio            Westchester               2/5/2017    2/26/2017 $         343.80   $       343.80   $        687.60
917   Montalvo               Ezequiel           NJ                        9/8/2019    9/29/2019 $          84.17   $        84.17   $        168.34
918   Montero Castillo       Wilquin            NJ                     11/24/2019     1/26/2020 $       1,500.37   $     1,500.37   $      3,000.74
919   Monteroso              Rafael             Long Island               2/5/2017    1/26/2020 $      13,030.93   $    13,030.93   $     26,061.86
920   Montes                 Santiago           NJ                        7/8/2018    4/14/2019 $       6,344.67   $     6,344.67   $     12,689.34
921   Montoya                Bryan              NJ                      8/13/2017     12/8/2019 $       4,287.53   $     4,287.53   $      8,575.06
                                                NJ/ NY/ Long Island/
922   Morales                Daris              Westchester             7/23/2017     1/26/2020 $      10,893.66   $    10,893.66   $     21,787.32
923   Morales                Giovanni           NYC                     9/24/2017     1/26/2020 $      24,326.33   $    24,326.33   $     48,652.66
924   Morales                Heriberto          NJ                        2/5/2017    1/26/2020 $       9,902.95   $     9,902.95   $     19,805.90
925   Morales                Israel             NYC                     10/8/2017     1/26/2020 $       4,711.17   $     4,711.17   $      9,422.34
926   Morales                Luis               PA                        7/7/2019    1/26/2020 $       1,759.85   $     1,759.85   $      3,519.70
927   Morales                Raymond            Westchester             3/25/2018     1/19/2020 $       8,796.25   $     8,796.25   $     17,592.50
928   Morales Barranco       Isaac              NJ                      6/18/2017      7/8/2018 $       7,821.42   $     7,821.42   $     15,642.84
929   Morales Cruz           Migdoel            PA                      9/22/2019     1/26/2020 $         677.83   $       677.83   $      1,355.66
930   Morataya               Mirna              NJ                        6/9/2019     9/1/2019 $         858.57   $       858.57   $      1,717.14
931   Morataya               Teodoro            NJ                      6/18/2017     8/20/2017 $         639.33   $       639.33   $      1,278.66
932   Moratayra              Danilo             Long Island             12/3/2017     1/26/2020 $       7,224.98   $     7,224.98   $     14,449.96
933   Mordan Santana         Yorby              NJ                        5/7/2017    6/18/2017 $         579.90   $       579.90   $      1,159.80
934   Morel                  Willy              NYC                     5/28/2017     6/25/2017 $         638.88   $       638.88   $      1,277.76
935   Morel Concino          Michael            NYC                     5/14/2017     4/29/2018 $       4,449.52   $     4,449.52   $      8,899.04
936   Morel Gonzalez         David              NJ                     11/24/2019     1/26/2020 $       1,332.52   $     1,332.52   $      2,665.04
937   Morell                 Jose               NJ                      9/15/2019     12/8/2019 $         286.67   $       286.67   $        573.34
938   Morles                 Aaron D.           NYC                     12/2/2018     9/15/2019 $       6,366.10   $     6,366.10   $     12,732.20
939   Morris-Bobb            Jassiem            NYC                     1/21/2018    12/29/2019 $       4,882.18   $     4,882.18   $      9,764.36
940   Morrobel               Juan C.            Westchester             9/17/2017     1/26/2020 $      12,988.45   $    12,988.45   $     25,976.90
941   Mota Ramirez           Amalvi Mercedez    NJ                     11/24/2019     1/26/2020 $       1,105.64   $     1,105.64   $      2,211.28
942   Mota Ramirez           Mikael             Westchester            11/18/2018    11/25/2018 $         108.35   $       108.35   $        216.70
943   Moura                  Gileno             NYC                       2/5/2017    1/26/2020 $      21,975.28   $    21,975.28   $     43,950.56
944   Mulero                 Hector             NJ                        2/4/2018     3/4/2018 $         259.98   $       259.98   $        519.96
945   Mundle                 Franklin           NYC                    12/23/2018     6/16/2019 $       2,390.55   $     2,390.55   $      4,781.10
946   Munguia                Alejandro          NJ                      7/21/2019     1/26/2020 $       6,128.38   $     6,128.38   $     12,256.76
947   Munguia                Concepcion         Long Island            12/30/2018    12/30/2018 $          85.50   $        85.50   $        171.00
948   Munguia Ortiz          Edilberto          Long Island               1/5/2020    1/26/2020 $         188.18   $       188.18   $        376.36
949   Munoz                  Jose               Westchester             4/28/2019      9/1/2019 $       4,728.76   $     4,728.76   $      9,457.52
950   Munoz Almonte          Jose A.            NYC                     7/29/2018      9/2/2018 $         994.41   $       994.41   $      1,988.82
951   Nahum Oliva            Eriksso            NJ                     12/29/2019     1/26/2020 $         634.84   $       634.84   $      1,269.68
952   Najarro                Gerson             NJ                        2/5/2017    4/22/2018 $       4,406.83   $     4,406.83   $      8,813.66




                                                                      13
                            Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 15 of 22 PageID: 840

                                                    Su v. Ernie's Auto Detailing Inc., et al.
                                                      Case No. 20-CV-17785-KM-ESK
                                                                   Exhibit 1


                                                                         Violation    To Violation
                                                     Geographic         Period From Period Week                         Liquidated     Total Damages
                Last Name          First Name        Worksheets         Week Ending     Ending      Back Wages Due     Damages Due          Due
953    Natareno               Alma               NJ                        11/3/2019      1/5/2020 $         239.70   $       239.70   $        479.40
954    Navarro                Justo              NJ                        7/29/2018    12/22/2019 $       3,056.93   $     3,056.93   $      6,113.86
955    Navedo                 Carlos             NJ                          1/5/2020    1/26/2020 $         235.92   $       235.92   $        471.84
956    Nazario                Ervin              Long Island               9/17/2017    11/11/2018 $       7,308.15   $     7,308.15   $     14,616.30
957    Negron                 Anthony            NJ                        3/31/2019     7/21/2019 $       1,280.79   $     1,280.79   $      2,561.58
958    Negron                 Christopher        NJ                          5/6/2018    6/24/2018 $         179.79   $       179.79   $        359.58
959    Negron                 Joseph             NJ                        8/13/2017     1/26/2020 $       8,090.62   $     8,090.62   $     16,181.24
960    Nelson Cortes          Fabio              Westchester               6/25/2017      8/5/2018 $      11,630.12   $    11,630.12   $     23,260.24
961    Nelson Rodriguez       Luis               NJ                        7/23/2017    10/27/2019 $       3,029.37   $     3,029.37   $      6,058.74
962    Nicolas Martinez       Dilmer Alexander   NJ                        5/20/2018     1/26/2020 $      10,646.38   $    10,646.38   $     21,292.76
963    Nieto                  Jorge              NJ                          2/5/2017    1/26/2020 $       8,268.01   $     8,268.01   $     16,536.02
964    Nin                    Bryan              NJ/NY/Westchester         2/26/2017     1/26/2020 $       9,211.08   $     9,211.08   $     18,422.16
965    Noel Melgar            Elmer              NJ                        11/4/2018     3/17/2019 $       2,076.00   $     2,076.00   $      4,152.00
966    Noel Santana           Shasky             NJ                        3/25/2018    11/18/2018 $       2,561.58   $     2,561.58   $      5,123.16
967    Nogueira               Jesus              NJ                          2/5/2017    1/26/2020 $         342.52   $       342.52   $        685.04
968    Nogueira               Tomas              NJ                          8/6/2017    12/9/2018 $       2,181.08   $     2,181.08   $      4,362.16
969    Nogueira Cobos         Luis Angel         NJ                        12/9/2018     1/26/2020 $       9,683.82   $     9,683.82   $     19,367.64
970    Nolasco                Glenn              NYC                         9/3/2017    10/8/2017 $          22.92   $        22.92   $         45.84
971    Nova                   Gabriel A.         NJ                        6/18/2017     9/30/2018 $       7,200.75   $     7,200.75   $     14,401.50
972    Nunez                  Anthony            NJ                          7/7/2019    1/26/2020 $       3,026.47   $     3,026.47   $      6,052.94
973    Nunez                  Javier             NJ                        4/14/2019    12/22/2019 $       4,209.61   $     4,209.61   $      8,419.22
974    Nunez                  Kelvin             NJ                       10/27/2019     1/26/2020 $       1,798.41   $     1,798.41   $      3,596.82
975    Nunez                  Noel               NJ                        9/15/2019    10/13/2019 $          79.58   $        79.58   $        159.16
976    Nunez Duran            Jesus A.           NJ                        3/17/2019     5/12/2019 $         458.17   $       458.17   $        916.34
977    Nunez Rivera           Angel M.           NJ                          8/5/2018   12/29/2019 $         125.56   $       125.56   $        251.12
978    Objio                  Nilson             NJ/NYC                      2/5/2017     9/8/2019 $      17,902.34   $    17,902.34   $     35,804.68
979    Ojeda                  Alexander          NJ                       12/17/2017    11/10/2019 $       8,538.92   $     8,538.92   $     17,077.84
980    Ojeda                  Daniel             NYC                         2/5/2017    1/26/2020 $      14,692.48   $    14,692.48   $     29,384.96
981    Ojeda                  Manuel             NJ                          4/7/2019    4/14/2019 $         231.08   $       231.08   $        462.16
982    Ojeda                  Richard            NJ                        11/3/2019     12/1/2019 $          67.01   $        67.01   $        134.02
983    Oladapo                Akerodolu          NYC                         2/5/2017   11/18/2018 $       6,577.24   $     6,577.24   $     13,154.48
984    Olan Rivera            Nelson             NJ                          5/6/2018     8/5/2018 $         828.66   $       828.66   $      1,657.32
985    Olatunde               Shane              NYC                       8/12/2018     4/14/2019 $       1,709.70   $     1,709.70   $      3,419.40
986    Olivo Romero           Jose De Jesus      NJ                        8/19/2018     3/31/2019 $       3,731.25   $     3,731.25   $      7,462.50
987    Olmedo                 Javier             NJ                        1/20/2019    10/13/2019 $         410.00   $       410.00   $        820.00
988    Olmedo                 Pedro              NJ                          2/5/2017    2/18/2018 $       6,715.08   $     6,715.08   $     13,430.16
989    Omar Ruano             Neris              NJ                       12/29/2019     1/26/2020 $         809.05   $       809.05   $      1,618.10
990    O'neil Rodriguez       Jairo              NJ                        12/3/2017     2/17/2019 $       4,852.75   $     4,852.75   $      9,705.50
991    Oquendo                Alejandro          NJ                          2/5/2017    1/26/2020 $       6,979.15   $     6,979.15   $     13,958.30
992    Ordonez                Pablo              NJ                       12/16/2018     1/26/2020 $       3,171.90   $     3,171.90   $      6,343.80
993    Ore                    Edwin              NJ                          3/5/2017    1/26/2020 $          65.93   $        65.93   $        131.86
994    Orellana               Samuel             NYC                         2/5/2017    4/15/2018 $       4,736.00   $     4,736.00   $      9,472.00
995    Orellana               Wilfredo           NJ                          2/5/2017    2/26/2017 $         194.85   $       194.85   $        389.70
996    Orellana Cuellar       Roberto Antonio    NJ                        5/19/2019     1/26/2020 $       8,273.62   $     8,273.62   $     16,547.24
997    Orellana Merlos        Samuel Isaac       NJ                          9/9/2018     3/3/2019 $       1,403.65   $     1,403.65   $      2,807.30
998    Oritz                  Carlos             NJ                          5/7/2017    9/17/2017 $       1,753.70   $     1,753.70   $      3,507.40
999    Orlando Peraza         Edwin              NJ                        5/19/2019    10/13/2019 $       3,542.33   $     3,542.33   $      7,084.66
1000   Orrego                 Jonnathan          NJ                        11/3/2019    12/15/2019 $         281.40   $       281.40   $        562.80
1001   Ortega                 Alexandra          NJ                        4/30/2017     1/26/2020 $      10,563.94   $    10,563.94   $     21,127.88
1002   Ortega                 John               NJ                        9/15/2019     12/8/2019 $       1,575.92   $     1,575.92   $      3,151.84
1003   Ortiz                  Alexis             NJ                        9/24/2017     10/1/2017 $          64.05   $        64.05   $        128.10
1004   Ortiz                  Erika              NJ                        12/8/2019     1/26/2020 $         927.05   $       927.05   $      1,854.10
1005   Ortiz                  Halan              NJ                        8/12/2018     1/26/2020 $       2,621.67   $     2,621.67   $      5,243.34
1006   Ortiz                  Jancer             NJ                          2/5/2017    9/24/2017 $       2,891.44   $     2,891.44   $      5,782.88
1007   Ortiz                  Luis               NJ                        1/12/2020     1/26/2020 $         381.08   $       381.08   $        762.16
1008   Ortiz                  Rogelio            NJ                          8/4/2019    1/26/2020 $       4,663.18   $     4,663.18   $      9,326.36
1009   Ortiz                  Stefan             Long Island                 2/5/2017   10/22/2017 $         613.68   $       613.68   $      1,227.36
1010   Ortiz                  Victor             NJ                          2/5/2017    1/26/2020 $      11,232.65   $    11,232.65   $     22,465.30
1011   Ortiz                  Winton             NJ                        7/14/2019     1/26/2020 $       1,829.84   $     1,829.84   $      3,659.68
1012   Ortiz Acevedo          Steven Michel      NYC                       2/10/2019    11/24/2019 $       8,930.90   $     8,930.90   $     17,861.80
1013   Ortiz Benitez          Fredys             NJ                          2/5/2017    5/21/2017 $       1,554.75   $     1,554.75   $      3,109.50
1014   Ortiz Maldonado        Joel Alexis        NJ                        12/8/2019     1/26/2020 $         444.86   $       444.86   $        889.72
1015   Ortiz Torres           Horacio Elmer      NJ                          2/5/2017    1/26/2020 $      16,196.63   $    16,196.63   $     32,393.26
1016   Osorio                 Antonio            NYC                         2/5/2017    1/26/2020 $      26,171.87   $    26,171.87   $     52,343.74
1017   Osorio                 Isaul              NYC                       3/12/2017    11/19/2017 $      10,408.25   $    10,408.25   $     20,816.50
1018   Osvaldo Armira         Luis               NJ                          2/5/2017    4/16/2017 $         880.50   $       880.50   $      1,761.00
1019   Osvaldo Diaz           Jose               NJ                          2/5/2017    1/26/2020 $      14,754.16   $    14,754.16   $     29,508.32
1020   Osvaldo Velasquez      Kevin              Long Island               3/24/2019     5/19/2019 $       1,039.36   $     1,039.36   $      2,078.72
1021   Owen                   Patrick            NY                          4/1/2018    1/26/2020 $      11,329.38   $    11,329.38   $     22,658.76
1022   Pablo Martinez         Juan               NJ                        9/16/2018     1/26/2020 $      11,173.14   $    11,173.14   $     22,346.28
1023   Pablo Tejeda           Juan               NYC/Westchester           3/26/2017     5/19/2019 $      18,481.50   $    18,481.50   $     36,963.00
1024   Pabon                  Eric               NJ                        11/4/2018     1/26/2020 $       3,647.33   $     3,647.33   $      7,294.66
1025   Pacheco                Ronan              NYC                         2/5/2017    1/26/2020 $      36,999.60   $    36,999.60   $     73,999.20
1026   Padilla                David              Long Island               7/29/2018     1/26/2020 $       6,695.04   $     6,695.04   $     13,390.08



                                                                       14
                            Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 16 of 22 PageID: 841

                                                    Su v. Ernie's Auto Detailing Inc., et al.
                                                      Case No. 20-CV-17785-KM-ESK
                                                                   Exhibit 1


                                                                         Violation    To Violation
                                                     Geographic         Period From Period Week                         Liquidated     Total Damages
                Last Name           First Name       Worksheets         Week Ending     Ending      Back Wages Due     Damages Due          Due
1027   Padilla                Miguel             NJ                        8/11/2019    12/22/2019 $       1,057.83   $     1,057.83   $      2,115.66
1028   Paez Bastida           Francis            NYC                       4/28/2019     10/6/2019 $       9,238.57   $     9,238.57   $     18,477.14
1029   Pagan                  Luis E.            NJ                       10/13/2019     1/26/2020 $         830.59   $       830.59   $      1,661.18
1030   Paloguachi             Sandro             NYC/Westchester             2/5/2017    1/26/2020 $      14,408.27   $    14,408.27   $     28,816.54
1031   Palomo Ventura         Carlos Ivan        NJ                        4/16/2017     1/26/2020 $      22,558.25   $    22,558.25   $     45,116.50
1032   Pantaleon              Francisco          NYC                         2/5/2017    1/26/2020 $      46,882.84   $    46,882.84   $     93,765.68
1033   Par                    Wilbert            NYC                         5/6/2018    1/26/2020 $      12,950.00   $    12,950.00   $     25,900.00
1034   Paredes                Ivan               NJ                        1/12/2020     1/26/2020 $         183.70   $       183.70   $        367.40
1035   Paredes Grullon        Nicolas            NJ                          4/7/2019     5/5/2019 $         567.63   $       567.63   $      1,135.26
1036   Parquet                Joe                NY                       11/19/2017     1/14/2018 $         195.75   $       195.75   $        391.50
1037   Patricio               Randy              Westchester                 7/2/2017    1/26/2020 $      19,405.96   $    19,405.96   $     38,811.92
1038   Paulino                Angel R.           NYC/Westchester           9/24/2017     1/26/2020 $      24,873.07   $    24,873.07   $     49,746.14
1039   Paulino                Jose               NJ                       12/23/2018     1/26/2020 $       2,488.93   $     2,488.93   $      4,977.86
1040   Paulino Feliz          Annelly            NYC                       12/2/2018     1/26/2020 $      13,835.58   $    13,835.58   $     27,671.16
1041   Paulino Jimenez        Bill               Westchester               4/16/2017     1/26/2020 $      16,833.12   $    16,833.12   $     33,666.24
1042   Payamps                Victor             NJ                          7/9/2017    4/21/2019 $       5,506.83   $     5,506.83   $     11,013.66
1043   Payano                 Jose               NJ                          2/5/2017    1/26/2020 $       1,126.21   $     1,126.21   $      2,252.42
1044   Payano Vargas          Yael               NJ                          9/1/2019    1/26/2020 $       1,831.00   $     1,831.00   $      3,662.00
1045   Paz Martinez           Sergio             NJ                          8/4/2019     1/5/2020 $       3,155.05   $     3,155.05   $      6,310.10
1046   Paz Rivera             Rodolfo            NJ                        5/13/2018     7/15/2018 $       1,277.43   $     1,277.43   $      2,554.86
1047   Peavy                  Eligah             NJ                       10/13/2019    12/15/2019 $          69.10   $        69.10   $        138.20
1048   Peguero                Victor             NJ                          9/3/2017    10/8/2017 $         262.08   $       262.08   $        524.16
1049   Pena                   Alfredo            NJ                        9/10/2017     10/8/2017 $         439.03   $       439.03   $        878.06
1050   Pena                   Edward             NYC                         5/6/2018    5/27/2018 $         696.95   $       696.95   $      1,393.90
1051   Pena                   Erick              NJ                        9/23/2018     11/4/2018 $         319.83   $       319.83   $        639.66
1052   Pena                   Francisco A.       NJ                        11/5/2017     1/26/2020 $      10,326.75   $    10,326.75   $     20,653.50
1053   Pena                   Ignacio            NJ                        11/4/2018     1/26/2020 $      11,965.16   $    11,965.16   $     23,930.32
1054   Pena                   Jose D.            NJ                          2/5/2017    1/26/2020 $       4,785.96   $     4,785.96   $      9,571.92
1055   Pena                   Milton             NJ                        5/28/2017     6/25/2017 $          78.92   $        78.92   $        157.84
1056   Pena                   Santiago           NYC                       3/26/2017     1/26/2020 $      28,913.19   $    28,913.19   $     57,826.38
1057   Pena Rodriguez         Radhame            Long Island               4/30/2017      8/6/2017 $       2,505.30   $     2,505.30   $      5,010.60
1058   Peneda                 Mario              NJ                       10/29/2017     12/3/2017 $         376.05   $       376.05   $        752.10
1059   Penn                   Kerry              NJ                        8/13/2017    12/10/2017 $          47.56   $        47.56   $         95.12
1060   Peralta                Daneuris           NJ/Westchester            5/21/2017     1/19/2020 $      16,711.27   $    16,711.27   $     33,422.54
1061   Peralta                Leonardo           Westchester               5/19/2019     8/25/2019 $       3,157.06   $     3,157.06   $      6,314.12
1062   Peralta                Ramon              NJ                        7/29/2018     9/23/2018 $         486.80   $       486.80   $        973.60
1063   Peralta                Victor             Westchester               1/14/2018     9/29/2019 $         524.43   $       524.43   $      1,048.86
1064   Peralta Guzman         Alberto            Westchester               12/8/2019     1/26/2020 $       1,908.94   $     1,908.94   $      3,817.88
1065   Peralta Peralta        Jose Luis          Westchester               3/25/2018     1/26/2020 $      10,220.33   $    10,220.33   $     20,440.66
1066   Perdomo                Alvan              NJ                        6/24/2018      9/2/2018 $         714.38   $       714.38   $      1,428.76
1067   Perdomo                Angel              NJ                        8/12/2018     1/26/2020 $       5,457.23   $     5,457.23   $     10,914.46
1068   Perdomo                Cesar              NJ                        8/26/2018     9/30/2018 $          56.60   $        56.60   $        113.20
1069   Perdomo                Inasio             NJ                        7/22/2018      9/9/2018 $         932.74   $       932.74   $      1,865.48
1070   Perdomo                Marino             NJ                        8/19/2018     11/3/2019 $       2,481.33   $     2,481.33   $      4,962.66
1071   Perdomo                Yordani            NJ                          9/2/2018    1/26/2020 $       6,007.12   $     6,007.12   $     12,014.24
1072   Perdomojerez           Aneudy             NJ                          6/3/2018    10/6/2019 $       2,150.17   $     2,150.17   $      4,300.34
1073   Perez                  Christian          NJ/NYC                    6/10/2018    10/21/2018 $       3,386.24   $     3,386.24   $      6,772.48
1074   Perez                  Diego              NJ                          6/9/2019    1/12/2020 $         404.33   $       404.33   $        808.66
1075   Perez                  Edany              Westchester               6/25/2017     6/17/2018 $       3,440.90   $     3,440.90   $      6,881.80
1076   Perez                  Jhonny             Westchester               12/8/2019     1/26/2020 $         536.87   $       536.87   $      1,073.74
1077   Perez                  Jose               NJ                        8/12/2018     7/21/2019 $         349.67   $       349.67   $        699.34
1078   Perez                  Migueli            NJ                          2/5/2017    2/26/2017 $         163.50   $       163.50   $        327.00
1079   Perez                  Puro               Westchester                 6/9/2019   12/29/2019 $       5,093.50   $     5,093.50   $     10,187.00
1080   Perez                  Sebastian          NJ                        4/29/2018     1/26/2020 $      14,548.65   $    14,548.65   $     29,097.30
1081   Perez                  Cesar              NYC/Westchester          12/10/2017      3/4/2018 $       1,662.12   $     1,662.12   $      3,324.24
1082   Perez Gil              Ivan               NJ                       10/20/2019     1/12/2020 $       1,965.50   $     1,965.50   $      3,931.00
1083   Perez Gil              Luis               NJ                       10/20/2019     1/26/2020 $       2,731.70   $     2,731.70   $      5,463.40
1084   Perez Gramajo          Herminio           NJ                          4/9/2017    6/18/2017 $       1,277.58   $     1,277.58   $      2,555.16
1085   Perez Manzueta         Aldrich            NJ                          7/1/2018    4/28/2019 $       3,749.53   $     3,749.53   $      7,499.06
1086   Perez Popoter          Esmerlin           NY                        3/25/2018     1/26/2020 $      13,946.74   $    13,946.74   $     27,893.48
1087   Perez Rosario          Raul               NY                       12/23/2018     1/26/2020 $       8,243.18   $     8,243.18   $     16,486.36
1088   Perez Santos           Eulises A.         Long Island               3/24/2019     4/14/2019 $         182.33   $       182.33   $        364.66
1089   Perez-Delos Santos     Hector             NJ                        8/19/2018     1/26/2020 $       5,564.07   $     5,564.07   $     11,128.14
1090   Petralta               Sadiel             Westchester               3/25/2018     1/26/2020 $      17,400.67   $    17,400.67   $     34,801.34
1091   Pichardo Pujols        Jose Ramon         Long Island                 3/4/2018    8/26/2018 $       1,849.93   $     1,849.93   $      3,699.86
1092   Pichinte               Carlos             NJ                        2/12/2017      4/2/2017 $         337.57   $       337.57   $        675.14
1093   Piedra                 Susana             NYC                       11/4/2018     12/8/2019 $         743.33   $       743.33   $      1,486.66
1094   Pierrot                Estanislao         NJ                          2/5/2017    1/26/2020 $      17,869.88   $    17,869.88   $     35,739.76
1095   Pierrot Sr.            T. Estanislao      NJ                          2/5/2017    1/26/2020 $       5,674.23   $     5,674.23   $     11,348.46
1096   Pimentel               Andretti           NYC                       10/7/2018    10/14/2018 $         207.24   $       207.24   $        414.48
1097   Pinales Soto           Sihan              NYC                      10/29/2017    11/12/2017 $         112.20   $       112.20   $        224.40
1098   Pinda Gonzalez         Jose Rolando       NJ                        12/8/2019     1/26/2020 $         868.93   $       868.93   $      1,737.86
1099   Pineda                 Alejandro          Long Island              10/21/2018    11/25/2018 $         207.99   $       207.99   $        415.98
1100   Pineda                 Jose               NJ                        5/27/2018     1/26/2020 $       2,843.59   $     2,843.59   $      5,687.18



                                                                       15
                             Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 17 of 22 PageID: 842

                                                     Su v. Ernie's Auto Detailing Inc., et al.
                                                       Case No. 20-CV-17785-KM-ESK
                                                                    Exhibit 1


                                                                          Violation    To Violation
                                                      Geographic         Period From Period Week                         Liquidated     Total Damages
                 Last Name           First Name       Worksheets         Week Ending     Ending      Back Wages Due     Damages Due          Due
1101   Pineda                  Kelya              NJ                        8/18/2019     1/26/2020 $       3,122.55   $     3,122.55   $      6,245.10
1102   Pineda Soriano          Mario Alberto      NJ                          8/5/2018   12/23/2018 $       1,825.50   $     1,825.50   $      3,651.00
1103   Pirir                   Cristobal          NJ                        9/16/2018     1/26/2020 $      12,785.56   $    12,785.56   $     25,571.12
1104   Pirir Morales           Marcos Antonio     NJ                          2/5/2017     4/2/2017 $         394.58   $       394.58   $        789.16
1105   Placencia               Winston            NYC                      10/28/2018     2/17/2019 $          27.77   $        27.77   $         55.54
1106   Placencio               Jork               NJ/NYC                      3/4/2018    5/13/2018 $         802.39   $       802.39   $      1,604.78
1107   Placensia               Raul M.            NJ                       12/23/2018     1/26/2020 $       5,783.40   $     5,783.40   $     11,566.80
1108   Platero                 Bryan              NYC                       3/26/2017     1/26/2020 $      23,037.38   $    23,037.38   $     46,074.76
1109   Polanco                 Berto              NJ                          4/7/2019    4/21/2019 $          39.19   $        39.19   $         78.38
1110   Polanco                 Carlos             NJ                        5/19/2019      7/7/2019 $          41.60   $        41.60   $         83.20
1111   Polanco                 Maximo             Westchester                 7/2/2017   11/12/2017 $       3,953.20   $     3,953.20   $      7,906.40
1112   Polanco                 Miguel             Westchester               8/19/2018     1/26/2020 $      10,317.23   $    10,317.23   $     20,634.46
1113   Polanco                 Richard            Westchester               8/26/2018    12/16/2018 $       3,472.30   $     3,472.30   $      6,944.60
1114   Polanco Mojica          Francisco Javier   Long Island               6/11/2017     7/30/2017 $         571.92   $       571.92   $      1,143.84
1115   Pomales                 Joshua             NJ                        3/12/2017     5/14/2017 $         416.23   $       416.23   $        832.46
1116   Pomales                 Leonardo           NJ                        4/15/2018      5/6/2018 $          38.17   $        38.17   $         76.34
1117   Portillo                Wilfredo           NJ                       12/30/2018     1/26/2020 $       9,428.93   $     9,428.93   $     18,857.86
1118   Portillo Aparicio       Cristian Edgardo   Long Island               1/21/2018      6/9/2019 $       2,401.83   $     2,401.83   $      4,803.66
1119   Portillo Nunez          Ramon              NJ                       12/29/2019     1/26/2020 $         558.13   $       558.13   $      1,116.26
1120   Portillo Penate         Hugo Ernesto       Long Island              11/17/2019     1/26/2020 $         785.20   $       785.20   $      1,570.40
1121   Proanos                 Jesus              NJ                          2/5/2017     6/4/2017 $       2,117.33   $     2,117.33   $      4,234.66
1122   Quezada                 Francis            NYC                       2/10/2019      7/7/2019 $      11,444.65   $    11,444.65   $     22,889.30
1123   Quezada                 Ronaldo            NJ                        8/13/2017     1/26/2020 $      10,257.86   $    10,257.86   $     20,515.72
1124   Quino                   Mario              NJ                        3/19/2017      9/2/2018 $       1,378.85   $     1,378.85   $      2,757.70
1125   Quintero                Jose               NJ                        5/28/2017    12/15/2019 $       2,367.56   $     2,367.56   $      4,735.12
1126   Quintero Sanchez        Jose A.            NJ                          2/5/2017     1/6/2019 $      18,171.08   $    18,171.08   $     36,342.16
1127   Rabanales               Alberto            Westchester              11/24/2019     1/26/2020 $       1,147.75   $     1,147.75   $      2,295.50
1128   Rabel                   Reginal            NJ                        8/13/2017     1/26/2020 $      13,649.39   $    13,649.39   $     27,298.78
1129   Rafael Liriano          Jose               Long Island                 2/5/2017    8/18/2019 $      13,926.38   $    13,926.38   $     27,852.76
1130   Rafael Liriano          Jose               NJ                          9/3/2017    2/17/2019 $         785.18   $       785.18   $      1,570.36
                                                  CT/ NJ/ NYC/
1131   Rafael Salobo           Luis               Westchester                  2/5/2017      1/26/2020 $   19,139.00   $    19,139.00   $     38,278.00
1132   Raful                   Walid              NJ                           2/5/2017      1/26/2020 $   15,407.48   $    15,407.48   $     30,814.96
1133   Ramirez                 Jason              NJ                         10/29/2017      1/26/2020 $   10,192.34   $    10,192.34   $     20,384.68
1134   Ramirez                 Miguel             Westchester                10/20/2019      1/26/2020 $    2,213.58   $     2,213.58   $      4,427.16
1135   Ramirez                 Yobani             NJ                         12/31/2017      1/26/2020 $   15,894.73   $    15,894.73   $     31,789.46
1136   Ramirez                 Yovani             NJ                          2/12/2017      1/26/2020 $   35,169.58   $    35,169.58   $     70,339.16
1137   Ramirez Beltre          Henry              NJ                          8/18/2019      1/26/2020 $    2,282.68   $     2,282.68   $      4,565.36
1138   Ramirez Montoya         Reyes              NJ                          2/24/2019      1/26/2020 $    7,808.83   $     7,808.83   $     15,617.66
1139   Ramirez Taveras         Edwin Miguel       NYC                         2/25/2018      2/25/2018 $      108.44   $       108.44   $        216.88
1140   Ramiro Batista          Gilberto           Long Island                 2/11/2018       3/4/2018 $      576.43   $       576.43   $      1,152.86
1141   Ramon Garcia            Jose               NJ                          8/25/2019     10/27/2019 $    1,164.17   $     1,164.17   $      2,328.34
1142   Ramos                   Angel              NJ                          3/25/2018       4/1/2018 $      152.71   $       152.71   $        305.42
1143   Ramos                   Felipe             NYC                         12/2/2018      2/24/2019 $    4,096.76   $     4,096.76   $      8,193.52
1144   Ramos                   Melbin             Westchester                  2/5/2017      4/14/2019 $   14,126.68   $    14,126.68   $     28,253.36
1145   Ramos                   Melvin             NJ                          2/12/2017       4/9/2017 $      550.45   $       550.45   $      1,100.90
1146   Ramos                   Michel             NJ/Westchester               6/4/2017      1/26/2020 $   10,626.71   $    10,626.71   $     21,253.42
1147   Ramos                   Sebastian          NJ                           5/7/2017      6/18/2017 $      339.60   $       339.60   $        679.20
1148   Ramos Gomez             Andrweus M.        NJ                          11/4/2018      1/26/2020 $    5,398.51   $     5,398.51   $     10,797.02
1149   Ramos Hernandez         Diego Alexander    Long Island                 8/25/2019      1/26/2020 $    1,843.94   $     1,843.94   $      3,687.88
1150   Ramos Lopez             Ruben Alfonso      NY                          10/6/2019      1/26/2020 $    1,779.00   $     1,779.00   $      3,558.00
1151   Ramos Pomales           Christian          NYC                         6/17/2018      8/19/2018 $      912.65   $       912.65   $      1,825.30
1152   Ramos Quinteros         Jose B.            NJ                          4/14/2019      1/26/2020 $    6,175.09   $     6,175.09   $     12,350.18
1153   Ramos Robles            Jose A             NJ                           9/8/2019      1/26/2020 $    1,628.73   $     1,628.73   $      3,257.46
1154   Raul Flores             Luis               NJ                         10/27/2019     12/15/2019 $      715.97   $       715.97   $      1,431.94
1155   Raymundo                Walter             NYC                         5/20/2018      7/15/2018 $    1,679.01   $     1,679.01   $      3,358.02
1156   Recinos                 Selvin             NJ                         12/29/2019      1/26/2020 $      684.57   $       684.57   $      1,369.14
1157   Rene Peralta            Benjamin           Westchester                 6/25/2017      12/8/2019 $   15,274.87   $    15,274.87   $     30,549.74
1158   Retityo                 Engel              NJ                           4/7/2019      5/12/2019 $      279.08   $       279.08   $        558.16
1159   Reyes                   Delbi              Westchester                 4/16/2017      9/17/2017 $    2,879.07   $     2,879.07   $      5,758.14
1160   Reyes                   Disleury           Westchester                 8/26/2018      10/7/2018 $    1,318.33   $     1,318.33   $      2,636.66
1161   Reyes                   Francis            Westchester                 12/1/2019      1/26/2020 $    1,451.73   $     1,451.73   $      2,903.46
1162   Reyes                   Hever              Long Island                 4/21/2019      1/26/2020 $    4,067.18   $     4,067.18   $      8,134.36
1163   Reyes                   Joseph             NYC                         8/20/2017      12/3/2017 $      526.08   $       526.08   $      1,052.16
1164   Reyes                   Rafael             NJ                          6/17/2018       1/5/2020 $   10,340.73   $    10,340.73   $     20,681.46
1165   Reyes                   Ulises             NJ                           5/7/2017       7/8/2018 $    6,166.00   $     6,166.00   $     12,332.00
1166   Reyes                   Yaneiuris          Long Island                 6/17/2018     10/14/2018 $    1,706.10   $     1,706.10   $      3,412.20
1167   Reyes Jimenez           Sergio             NYC                          2/5/2017      1/26/2020 $   18,284.51   $    18,284.51   $     36,569.02
1168   Reyes Lopez             Paola              NYC                         2/17/2019      6/30/2019 $    4,537.58   $     4,537.58   $      9,075.16
1169   Reyes Sierra            Wilfredo           NJ                          1/27/2019      8/25/2019 $    1,634.34   $     1,634.34   $      3,268.68
1170   Reynoso                 Deini              NJ/Westchester               2/5/2017     10/28/2018 $    5,796.85   $     5,796.85   $     11,593.70
1171   Reynoso Jakson          Yemil              NJ                           9/8/2019      1/26/2020 $    1,183.25   $     1,183.25   $      2,366.50
1172   Ricardo Octavalo        Luis               NJ/Westchester              4/21/2019      5/26/2019 $      493.39   $       493.39   $        986.78




                                                                        16
                             Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 18 of 22 PageID: 843

                                                         Su v. Ernie's Auto Detailing Inc., et al.
                                                           Case No. 20-CV-17785-KM-ESK
                                                                        Exhibit 1


                                                                              Violation    To Violation
                                                           Geographic        Period From Period Week                         Liquidated     Total Damages
                Last Name            First Name            Worksheets        Week Ending     Ending      Back Wages Due     Damages Due          Due
1173   Riley                   I-God                   NJ                       6/17/2018     9/16/2018 $         422.59   $       422.59   $        845.18
1174   Rivadeneira             Renzo                   NJ                      12/15/2019     1/26/2020 $         485.90   $       485.90   $        971.80
1175   Rivas                   Aldo                    Long Island              5/20/2018      9/8/2019 $       7,541.83   $     7,541.83   $     15,083.66
1176   Rivas                   Kevin                   Long Island                2/5/2017   11/11/2018 $         369.92   $       369.92   $        739.84
1177   Rivera                  Arnaldo J.              PA                       4/28/2019     5/19/2019 $         190.75   $       190.75   $        381.50
1178   Rivera                  Charles                 NJ                         2/5/2017    2/18/2018 $       1,184.23   $     1,184.23   $      2,368.46
1179   Rivera                  Daniel                  NJ                      10/14/2018     1/26/2020 $      10,626.99   $    10,626.99   $     21,253.98
1180   Rivera                  Duly                    NJ                         6/9/2019    1/26/2020 $       5,402.28   $     5,402.28   $     10,804.56
1181   Rivera                  Ever                    Long Island              3/25/2018     5/19/2019 $       6,407.63   $     6,407.63   $     12,815.26
1182   Rivera                  Jose A.                 NYC                        9/3/2017    1/26/2020 $      27,788.08   $    27,788.08   $     55,576.16
1183   Rivera                  Miguel                  NJ                         2/5/2017     6/9/2019 $      13,153.96   $    13,153.96   $     26,307.92
1184   Rivera                  Pablo                   NYC                        3/3/2019    1/26/2020 $       7,200.00   $     7,200.00   $     14,400.00
1185   Rivera                  Yerlin                  NYC                        2/3/2019    5/12/2019 $         681.94   $       681.94   $      1,363.88
1186   Rivera Garcia           Saul Armando            NJ                       4/16/2017     1/26/2020 $      21,295.83   $    21,295.83   $     42,591.66
1187   Rivera Ramos            Jose Fabricio           Long Island              1/21/2018      3/3/2019 $       5,005.40   $     5,005.40   $     10,010.80
1188   Rivera-Luna             Jorge Luis              NYC                      12/9/2018     4/28/2019 $       2,502.50   $     2,502.50   $      5,005.00
1189   Rizo                    Johnny                  NJ                       2/19/2017     6/11/2017 $       1,312.70   $     1,312.70   $      2,625.40
1190   Robinson                Jazmine                 NYC                     10/15/2017      1/7/2018 $          93.23   $        93.23   $        186.46
1191   Robles                  Tainary                 NJ                       7/28/2019     9/22/2019 $         397.23   $       397.23   $        794.46
1192   Robles Reyes            Reynaldo                NJ                         9/8/2019   12/15/2019 $         986.61   $       986.61   $      1,973.22
1193   Roca                    Carlos                  NJ                      10/29/2017     1/26/2020 $      15,382.10   $    15,382.10   $     30,764.20
1194   Roca                    Julio                   NJ                      11/17/2019     1/26/2020 $       1,067.88   $     1,067.88   $      2,135.76
1195   Rodas                   Carlos                  NJ                         2/5/2017     5/7/2017 $       1,316.33   $     1,316.33   $      2,632.66
1196   Rodas                   Jorge                   NJ                       5/14/2017     6/18/2017 $         746.01   $       746.01   $      1,492.02
1197   Rodrigo Ramon           Isdrael                 NY                       1/12/2020     1/19/2020 $         113.74   $       113.74   $        227.48
1198   Rodriguez               Aaron                   NYC                     10/15/2017      4/7/2019 $         437.40   $       437.40   $        874.80
1199   Rodriguez               Angel                   NJ                      10/29/2017     1/26/2020 $      15,171.09   $    15,171.09   $     30,342.18
1200   Rodriguez               Armando                 NYC                     10/20/2019     1/26/2020 $          55.00   $        55.00   $        110.00
1201   Rodriguez               Audy J.                 NYC                        9/3/2017   12/17/2017 $         410.85   $       410.85   $        821.70
1202   Rodriguez               Daniel                  NJ                         4/8/2018    5/27/2018 $          92.75   $        92.75   $        185.50
1203   Rodriguez               Delio                   NJ/NYC                   1/20/2019     1/26/2020 $       9,655.84   $     9,655.84   $     19,311.68
1204   Rodriguez               Emilio                  NYC                      9/10/2017      8/4/2019 $       6,924.90   $     6,924.90   $     13,849.80
1205   Rodriguez               Euripides               NJ                         7/8/2018    1/26/2020 $       5,510.61   $     5,510.61   $     11,021.22
1206   Rodriguez               Fabio                   NYC                        2/5/2017   11/24/2019 $      43,054.70   $    43,054.70   $     86,109.40
1207   Rodriguez               Fernando                NJ                      10/29/2017     1/26/2020 $       7,916.82   $     7,916.82   $     15,833.64
1208   Rodriguez               Gabriel                 Long Island              4/22/2018      8/5/2018 $       1,638.60   $     1,638.60   $      3,277.20
1209   Rodriguez               Jeser                   NYC/Westchester            4/2/2017    1/26/2020 $      12,088.48   $    12,088.48   $     24,176.96
1210   Rodriguez               Jessy                   NJ                       9/10/2017    11/12/2017 $          32.25   $        32.25   $         64.50
1211   Rodriguez               Johan                   Westchester              9/17/2017     1/26/2020 $      14,059.42   $    14,059.42   $     28,118.84
1212   Rodriguez               Johnathan               Long Island              5/28/2017     9/24/2017 $         670.33   $       670.33   $      1,340.66
1213   Rodriguez               Kenny                   NYC                        8/5/2018    8/12/2018 $         655.13   $       655.13   $      1,310.26
1214   Rodriguez               Luis                    NYC                        2/3/2019    1/26/2020 $       7,546.29   $     7,546.29   $     15,092.58
1215   Rodriguez               Manuel                  NJ                         6/9/2019    1/26/2020 $       5,864.93   $     5,864.93   $     11,729.86
1216   Rodriguez               Rafael                  NJ                       2/19/2017     1/26/2020 $       9,948.77   $     9,948.77   $     19,897.54
1217   Rodriguez               Raymond                 NYC                      12/2/2018     3/10/2019 $       2,624.55   $     2,624.55   $      5,249.10
1218   Rodriguez               Roberto                 NYC                     11/25/2018    12/16/2018 $         359.73   $       359.73   $        719.46
1219   Rodriguez               Ronald                  NJ                         2/5/2017     5/6/2018 $       6,184.79   $     6,184.79   $     12,369.58
1220   Rodriguez               Sergio                  NJ                       3/25/2018    10/27/2019 $         438.58   $       438.58   $        877.16
1221   Rodriguez               Shadiel                 NJ                         7/7/2019    8/25/2019 $         650.58   $       650.58   $      1,301.16
1222   Rodriguez               Vivaldy A.              NJ                       4/23/2017     5/27/2018 $       3,279.15   $     3,279.15   $      6,558.30
1223   Rodriguez               Wellingthon             NJ                       12/8/2019     1/26/2020 $         815.46   $       815.46   $      1,630.92
1224   Rodriguez               Wilson                  NYC                      5/21/2017     8/20/2017 $       3,938.25   $     3,938.25   $      7,876.50
1225   Rodriguez               Darwin                  Long Island              3/25/2018      5/6/2018 $         414.19   $       414.19   $        828.38
1226   Rodriguez               Leopoldo                NYC                      9/16/2018    11/10/2019 $       3,577.73   $     3,577.73   $      7,155.46
1227   Rodriguez               Robinson R.             NYC                     12/17/2017     1/19/2020 $      23,577.90   $    23,577.90   $     47,155.80
1228   Rodriguez               Ysidoro J.              NYC                     12/17/2017     1/26/2020 $      29,376.49   $    29,376.49   $     58,752.98
1229   Rodriguez Alcantara     Rairys Rafael           NYC                      1/27/2019     1/26/2020 $      31,624.93   $    31,624.93   $     63,249.86
1230   Rodriguez Amaya         William Ariel           NJ                       12/9/2018     3/31/2019 $       2,231.87   $     2,231.87   $      4,463.74
1231   Rodriguez Gonzalez      Jairo                   NYC                     10/14/2018     1/26/2020 $      16,369.88   $    16,369.88   $     32,739.76
1232   Rodriguez Rivera        Carlos Alberto Junior   NJ                       9/22/2019    12/15/2019 $         758.25   $       758.25   $      1,516.50
1233   Rodriguez Taveras       Manuel                  Westchester              8/26/2018     1/26/2020 $      18,544.88   $    18,544.88   $     37,089.76
1234   Rojas                   Damian                  NJ                      12/16/2018     2/24/2019 $         723.08   $       723.08   $      1,446.16
1235   Rojas                   Giancarlos              Long Island              3/25/2018      5/6/2018 $         530.11   $       530.11   $      1,060.22
1236   Rojas Almanzar          Jorge Luis              NJ                       8/19/2018     1/26/2020 $       3,317.23   $     3,317.23   $      6,634.46
1237   Rojas Collado           Juan Luis               NJ                      11/24/2019     1/26/2020 $       1,717.58   $     1,717.58   $      3,435.16
1238   Rojas Melendez          Bralin                  NJ                      11/24/2019     1/26/2020 $       1,405.13   $     1,405.13   $      2,810.26
1239   Rojas Rodriguez         Enrique Antonio         NJ                       6/17/2018     1/26/2020 $      10,027.14   $    10,027.14   $     20,054.28
1240   Rojas Ventura           Jose                    NJ                       7/30/2017     3/31/2019 $       4,103.00   $     4,103.00   $      8,206.00
1241   Rolon                   Wilson                  NYC                        2/5/2017    9/30/2018 $      10,370.00   $    10,370.00   $     20,740.00
1242   Roman                   Angel                   NJ                      10/27/2019     1/26/2020 $         290.31   $       290.31   $        580.62
1243   Roman                   Nathanael               NJ/NYC                   1/20/2019     1/26/2020 $       3,149.75   $     3,149.75   $      6,299.50
1244   Roman                   Omar                    NJ                      10/29/2017     1/26/2020 $      10,918.40   $    10,918.40   $     21,836.80
1245   Roman                   Omar                    Long Island              1/27/2019     3/24/2019 $         642.80   $       642.80   $      1,285.60
1246   Romero                  Carlos                  NJ                         2/5/2017    1/26/2020 $      13,358.81   $    13,358.81   $     26,717.62



                                                                            17
                            Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 19 of 22 PageID: 844

                                                    Su v. Ernie's Auto Detailing Inc., et al.
                                                      Case No. 20-CV-17785-KM-ESK
                                                                   Exhibit 1


                                                                         Violation    To Violation
                                                     Geographic         Period From Period Week                         Liquidated     Total Damages
                Last Name           First Name       Worksheets         Week Ending     Ending      Back Wages Due     Damages Due          Due
1247   Romero                 Dennis             Long Island                 3/4/2018    4/15/2018 $          77.00   $        77.00   $        154.00
1248   Romero                 Jose               NJ                          1/6/2019    1/26/2020 $       4,555.10   $     4,555.10   $      9,110.20
1249   Romero                 Neri               NJ/Long Island            11/4/2018     1/26/2020 $       4,325.90   $     4,325.90   $      8,651.80
1250   Romero Alfaro          Miguel Enrique     NJ                        2/10/2019     1/26/2020 $       7,663.78   $     7,663.78   $     15,327.56
1251   Romero Soto            Americo            NJ                          6/9/2019   10/13/2019 $         473.13   $       473.13   $        946.26
1252   Ron Harvey             Leon               NY                          9/8/2019   11/17/2019 $          64.59   $        64.59   $        129.18
1253   Roque Ortega           Anthony Toribio    NJ                       12/31/2017     1/26/2020 $      14,178.64   $    14,178.64   $     28,357.28
1254   Rosa De La Cruz        Robinson Fermin    NYC                       6/10/2018     4/21/2019 $      18,825.66   $    18,825.66   $     37,651.32
1255   Rosado Payano          Yorbi              NJ                        10/6/2019    12/22/2019 $         975.67   $       975.67   $      1,951.34
1256   Rosario                Damian             NJ                          8/6/2017     9/2/2018 $         326.78   $       326.78   $        653.56
1257   Rosario                Felipe             NJ                        4/21/2019      7/7/2019 $         462.25   $       462.25   $        924.50
1258   Rosario                Julio              NJ                          2/5/2017    1/26/2020 $      12,538.32   $    12,538.32   $     25,076.64
1259   Rosario                Kelvin             NJ                          9/9/2018    8/18/2019 $       4,790.92   $     4,790.92   $      9,581.84
1260   Rosario                Luis               Westchester                 2/5/2017    2/12/2017 $          83.40   $        83.40   $        166.80
1261   Rosario                Alberto            NJ/NY                       2/5/2017    1/26/2020 $      14,559.15   $    14,559.15   $     29,118.30
1262   Rosario                Harrison           Long Island               3/25/2018     5/20/2018 $         606.93   $       606.93   $      1,213.86
1263   Rosario Cruz           Jimmy              NJ                        9/22/2019     1/26/2020 $       3,482.39   $     3,482.39   $      6,964.78
1264   Rosario Fernandez      Fulvio             NYC                         2/3/2019    1/26/2020 $       8,773.57   $     8,773.57   $     17,547.14
1265   Rosario Rojas          Antonio            NJ/Westchester            6/24/2018     1/26/2020 $       7,547.55   $     7,547.55   $     15,095.10
1266   Rosario Vasquez        Ramon Alfredo      NJ                        3/25/2018     1/26/2020 $      12,859.35   $    12,859.35   $     25,718.70
1267   Ruano                  Donald             NJ                        7/21/2019    10/13/2019 $         820.75   $       820.75   $      1,641.50
1268   Ruano Mancia           Anderson Alonso    NJ                        5/19/2019     1/26/2020 $       2,138.72   $     2,138.72   $      4,277.44
1269   Rubio                  Juan               NJ                        7/22/2018     6/30/2019 $         713.33   $       713.33   $      1,426.66
1270   Ruiz                   Mike               NJ/PA                     1/13/2019     1/26/2020 $       4,068.73   $     4,068.73   $      8,137.46
1271   Ruiz Murcia            Jose Javier        Long Island               5/20/2018     1/26/2020 $       6,655.34   $     6,655.34   $     13,310.68
1272   Ruiz Pena              Jimmy              NJ                        2/25/2018     4/28/2019 $       5,545.33   $     5,545.33   $     11,090.66
1273   Saca                   Daniel             NJ                          2/5/2017     7/2/2017 $         847.40   $       847.40   $      1,694.80
1274   Sadi Flores            Rony               Long Island                 2/5/2017    1/26/2020 $      14,389.07   $    14,389.07   $     28,778.14
1275   Saenz                  Nicky              NJ                        8/13/2017     1/26/2020 $      13,595.73   $    13,595.73   $     27,191.46
1276   Salas                  Mario              NJ                        9/15/2019      1/5/2020 $       2,613.20   $     2,613.20   $      5,226.40
1277   Saldivar               Alejandro          Long Island              12/10/2017    12/17/2017 $          43.20   $        43.20   $         86.40
1278   Salgado                Jostine            NJ                        6/16/2019     1/26/2020 $         435.25   $       435.25   $        870.50
1279   Salik Kirkpatrick      Ramel              NJ                        5/28/2017     8/27/2017 $         481.57   $       481.57   $        963.14
                                                 CT/ NJ/ NYC/
1280   Salobo                 Nelson             Westchester                 12/2/2018      1/26/2020 $    7,798.68   $     7,798.68   $     15,597.36
1281   Sam Maquin             Ernesto            NY                           8/6/2017      1/26/2020 $   15,595.34   $    15,595.34   $     31,190.68
1282   San Juan Santiago      Federico           NJ                          12/9/2018       6/2/2019 $    2,685.67   $     2,685.67   $      5,371.34
1283   Sanchez                Fabian             NJ                           9/8/2019      1/26/2020 $    4,044.93   $     4,044.93   $      8,089.86
1284   Sanchez                Jonathan           NJ                          6/16/2019      1/26/2020 $    4,758.23   $     4,758.23   $      9,516.46
1285   Sanchez                Ronny              NYC                         8/19/2018      1/27/2019 $    3,052.15   $     3,052.15   $      6,104.30
1286   Sanchez                Sebastian          NJ                          10/6/2019      1/26/2020 $    3,826.50   $     3,826.50   $      7,653.00
1287   Sanchez                Walter             NJ                          5/19/2019      7/21/2019 $    1,011.39   $     1,011.39   $      2,022.78
1288   Sanchez                Reynaldo           NYC                         4/23/2017      1/26/2020 $   25,128.44   $    25,128.44   $     50,256.88
                                                 NJ/ NY/ NYC/
1289   Sanchez                Roberto            Westchester                  2/5/2017      1/26/2020 $   23,310.86   $    23,310.86   $     46,621.72
1290   Sanchez Bier           Leury              NJ                          3/31/2019      1/26/2020 $    6,788.56   $     6,788.56   $     13,577.12
1291   Sanchez Lara           Gustavo            NJ                           2/5/2017      12/3/2017 $    3,880.74   $     3,880.74   $      7,761.48
1292   Sanchez Lopez          Elbio Manuel       NYC/ Westchester           11/11/2018     12/23/2018 $    1,075.13   $     1,075.13   $      2,150.26
1293   Sanchez Rodriguez      Victor Daniel      NJ                         10/20/2019     11/17/2019 $      413.41   $       413.41   $        826.82
1294   Sanchez Torres         Alejandro          NJ                           4/1/2018      4/15/2018 $       84.00   $        84.00   $        168.00
1295   Sanchez-Placencia      Geovanny           NJ                          2/17/2019      1/26/2020 $    1,315.42   $     1,315.42   $      2,630.84
1296   Sandobal Perez         Marino             NJ                          1/20/2019      4/28/2019 $    1,565.33   $     1,565.33   $      3,130.66
1297   Sandoval               Jerson             Long Island                 2/10/2019      1/26/2020 $    7,060.58   $     7,060.58   $     14,121.16
1298   Sandoval               Luis               NYC                        11/26/2017       9/8/2019 $    7,333.60   $     7,333.60   $     14,667.20
1299   Sandoval               William            NYC                        11/26/2017       9/8/2019 $    7,337.80   $     7,337.80   $     14,675.60
1300   Santana                Arcenio            NJ                           2/5/2017      3/19/2017 $      332.42   $       332.42   $        664.84
1301   Santana                Arturo             NYC                         8/18/2019       9/1/2019 $      387.48   $       387.48   $        774.96
1302   Santana                Danilo             NJ/PA                        2/5/2017       6/2/2019 $   17,044.89   $    17,044.89   $     34,089.78
1303   Santana                Gregorio           NYC                         2/25/2018      5/13/2018 $      305.47   $       305.47   $        610.94
1304   Santana                Marcos             NYC                        10/27/2019      1/26/2020 $    3,806.43   $     3,806.43   $      7,612.86
1305   Santana                Miguel             NJ                           2/5/2017      1/26/2020 $   13,710.43   $    13,710.43   $     27,420.86
1306   Santana                Pedro              NJ                          5/21/2017      9/30/2018 $    1,474.65   $     1,474.65   $      2,949.30
1307   Santana                Wascar             NJ                           2/5/2017       3/3/2019 $    3,969.30   $     3,969.30   $      7,938.60
1308   Santelises             Joelmi             NYC                         7/14/2019     10/13/2019 $    1,981.25   $     1,981.25   $      3,962.50
1309   Santelises             Jose               NYC                         2/25/2018      2/24/2019 $      324.23   $       324.23   $        648.46
1310   Santiago               Antonio            NYC                          2/5/2017      1/26/2020 $   16,899.79   $    16,899.79   $     33,799.58
1311   Santiago               Lorenzo            NJ                          1/19/2020      1/19/2020 $      104.78   $       104.78   $        209.56
1312   Santiago               Nelson             NJ                           8/6/2017      5/13/2018 $      321.81   $       321.81   $        643.62
1313   Santiago               Suheily            NJ                          8/18/2019      9/22/2019 $      309.63   $       309.63   $        619.26
1314   Santiago Gonzalez      Gabriel            NJ                          8/26/2018      1/26/2020 $    6,768.78   $     6,768.78   $     13,537.56
1315   Santo                  Angelica           NJ                          5/19/2019      1/26/2020 $       92.67   $        92.67   $        185.34
1316   Santos                 Alexander          NYC                          9/8/2019      10/6/2019 $      422.54   $       422.54   $        845.08
1317   Santos                 Cristian           NJ                           2/5/2017      1/26/2020 $   17,461.49   $    17,461.49   $     34,922.98




                                                                       18
                            Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 20 of 22 PageID: 845

                                                      Su v. Ernie's Auto Detailing Inc., et al.
                                                        Case No. 20-CV-17785-KM-ESK
                                                                     Exhibit 1


                                                                           Violation    To Violation
                                                        Geographic        Period From Period Week                         Liquidated     Total Damages
                Last Name           First Name          Worksheets        Week Ending     Ending      Back Wages Due     Damages Due          Due
1318   Santos                 Grimaldo              NJ                       1/12/2020     1/26/2020 $         574.07   $       574.07   $      1,148.14
1319   Santos                 Juan                  NJ/NYC                     2/5/2017    1/26/2020 $      12,743.50   $    12,743.50   $     25,487.00
1320   Santos                 Luis A.               Long Island                2/5/2017    1/26/2020 $      14,841.41   $    14,841.41   $     29,682.82
1321   Santos                 Rudy J.               NJ                       5/19/2019     6/16/2019 $          90.42   $        90.42   $        180.84
1322   Santos Chavez          Jacob                 NJ                       1/27/2019     2/17/2019 $         241.42   $       241.42   $        482.84
1323   Santos Fermin          Pedro                 NJ                         2/5/2017    1/26/2020 $      21,701.72   $    21,701.72   $     43,403.44
1324   Santos Rodriguez       Henry Steve           NJ                       1/19/2020     1/26/2020 $         358.20   $       358.20   $        716.40
1325   Sawh                   Pursham               NYC                      7/28/2019     10/6/2019 $         914.89   $       914.89   $      1,829.78
1326   Sbiyyaa                Anass                 NYC                      6/10/2018     7/15/2018 $         877.33   $       877.33   $      1,754.66
1327   Scribner               Daniel                NY                       7/21/2019      1/5/2020 $         245.07   $       245.07   $        490.14
1328   Sean Lacy              Drea                  NY                       7/14/2019     9/15/2019 $          46.40   $        46.40   $         92.80
1329   Segovia Castro         Douglas               NJ                      12/23/2018    10/20/2019 $       5,337.10   $     5,337.10   $     10,674.20
1330   Selim                  Omar                  NYC                      4/14/2019     9/29/2019 $       2,244.22   $     2,244.22   $      4,488.44
1331   Sepulveda              Eduardo               Westchester              1/13/2019     1/26/2020 $      13,213.12   $    13,213.12   $     26,426.24
1332   Serrano                Dennis                Long Island              4/28/2019     4/28/2019 $         128.70   $       128.70   $        257.40
1333   Severino               Julio                 NJ                         2/5/2017    1/26/2020 $       9,847.19   $     9,847.19   $     19,694.38
1334   Shun Chan              Kau                   NYC                      4/23/2017    12/17/2017 $       1,010.43   $     1,010.43   $      2,020.86
1335   Sical                  Antonio               NJ                       4/14/2019     1/26/2020 $       1,857.90   $     1,857.90   $      3,715.80
1336   Sierra                 Daniel                NJ                       11/4/2018     1/26/2020 $         368.44   $       368.44   $        736.88
1337   Sierra                 Guillermo             NJ                         7/8/2018   11/18/2018 $         475.57   $       475.57   $        951.14
1338   Silvera                Tahj                  NYC                      7/15/2018     9/23/2018 $         640.39   $       640.39   $      1,280.78
1339   Silverio               Derlin                NJ                         2/5/2017    6/17/2018 $       2,492.33   $     2,492.33   $      4,984.66
1340   Silverio               Jose O.               NJ                      12/16/2018     3/24/2019 $         949.99   $       949.99   $      1,899.98
1341   Silverio               Rafael                NJ                         2/5/2017    1/26/2020 $       5,437.64   $     5,437.64   $     10,875.28
1342   Simancas               Steve                 NYC                      7/16/2017    12/30/2018 $       4,735.03   $     4,735.03   $      9,470.06
1343   Simo                   Alexander             NYC                      8/12/2018     1/26/2020 $       2,423.36   $     2,423.36   $      4,846.72
1344   Smeling Rodriguez      Luis                  NJ/NYC                     8/6/2017    1/26/2020 $      30,692.45   $    30,692.45   $     61,384.90
1345   Smith                  Ajani                 Westchester              9/16/2018     9/15/2019 $       5,132.48   $     5,132.48   $     10,264.96
1346   Smith                  Alexander             NJ                         2/4/2018    1/26/2020 $       9,988.15   $     9,988.15   $     19,976.30
1347   Smith                  Nedrick               NJ/Westchester           6/25/2017     1/26/2020 $      23,549.34   $    23,549.34   $     47,098.68
1348   Smith Uniera           Francisco Alejandro   NJ                       1/28/2018     1/26/2020 $       8,808.15   $     8,808.15   $     17,616.30
1349   Soberanes              Raul                  NJ                         2/5/2017    8/19/2018 $       8,296.08   $     8,296.08   $     16,592.16
1350   Sobrados               Neyer                 NJ                       2/17/2019     1/26/2020 $       8,010.02   $     8,010.02   $     16,020.04
1351   Solano                 Andre                 Long Island              7/23/2017    11/24/2019 $      11,339.23   $    11,339.23   $     22,678.46
1352   Solano                 Jonathan              NYC/Westchester            1/7/2018    1/26/2020 $      21,271.68   $    21,271.68   $     42,543.36
1353   Solis                  Jency                 NYC                        4/9/2017    3/31/2019 $      29,179.60   $    29,179.60   $     58,359.20
1354   Sorto                  Raul                  Long Island              2/10/2019     1/26/2020 $          93.60   $        93.60   $        187.20
1355   Sosa                   Jose                  NJ                         2/5/2017    1/26/2020 $      17,838.28   $    17,838.28   $     35,676.56
1356   Sosa                   Yordany               CT/ Westchester          3/25/2018     1/26/2020 $       8,130.75   $     8,130.75   $     16,261.50
1357   Sosa Delgado           Dante A.              NJ                         2/3/2019    1/26/2020 $       9,832.13   $     9,832.13   $     19,664.26
1358   Sosa Roriguez          Luis R.               NYC                      6/11/2017      7/2/2017 $         235.89   $       235.89   $        471.78
1359   Soto                   Jose                  NJ                         2/5/2017    5/27/2018 $       8,175.21   $     8,175.21   $     16,350.42
1360   Soto                   Lester                NJ                       11/3/2019    11/17/2019 $         116.83   $       116.83   $        233.66
1361   Soto                   Louise                NJ                       8/13/2017    12/31/2017 $          24.10   $        24.10   $         48.20
1362   Soto                   Yaderson A.           NJ                      10/20/2019    10/27/2019 $         112.17   $       112.17   $        224.34
1363   Soto                   Yaserson A.           NJ                      11/11/2018      9/1/2019 $       8,116.50   $     8,116.50   $     16,233.00
1364   Stepney                Josian                NJ                         5/6/2018     6/3/2018 $         134.90   $       134.90   $        269.80
1365   Stiff Arias Zamor      Freyson               NJ                       11/3/2019     1/26/2020 $       1,202.90   $     1,202.90   $      2,405.80
1366   Suarez                 Carlos                NJ                       4/22/2018     6/17/2018 $         511.46   $       511.46   $      1,022.92
1367   Suero                  Carlos                NJ                      12/23/2018     1/26/2020 $       3,755.95   $     3,755.95   $      7,511.90
1368   Suero                  Ruben                 NJ                       8/25/2019     1/26/2020 $       2,408.78   $     2,408.78   $      4,817.56
1369   Sundeberg              David                 NJ/NY                    7/16/2017     1/26/2020 $       3,598.52   $     3,598.52   $      7,197.04
1370   Suniaga Lopez          Petra Margarita       NJ                       9/29/2019     1/26/2020 $         454.94   $       454.94   $        909.88
1371   Susana Baez            Deyvi                 NYC                      4/16/2017     1/26/2020 $      24,452.61   $    24,452.61   $     48,905.22
1372   Sutton                 Alvin                 NJ                         2/5/2017    1/26/2020 $       5,323.62   $     5,323.62   $     10,647.24
1373   Sutuj                  Jose                  NJ                         5/7/2017    6/18/2017 $         376.20   $       376.20   $        752.40
1374   Tajboy                 Santos                NJ                       10/6/2019     1/26/2020 $       1,490.13   $     1,490.13   $      2,980.26
1375   Tavarez                Endy                  NYC                      11/4/2018     9/15/2019 $      15,289.32   $    15,289.32   $     30,578.64
1376   Tavarez                Jose                  NYC                     11/19/2017     5/20/2018 $         187.60   $       187.60   $        375.20
1377   Tavarez                Rafael                Long Island              1/21/2018     6/10/2018 $       1,764.31   $     1,764.31   $      3,528.62
1378   Tavarez                William               Long Island              3/25/2018     9/23/2018 $       1,384.21   $     1,384.21   $      2,768.42
                                                    Long Island/
1379   Taveras                Leonel                Westchester               12/17/2017      1/26/2020 $    3,545.38 $       3,545.38   $      7,090.76
1380   Taveras                Wilbert               NYC/ Westchester          12/31/2017      1/26/2020 $   30,129.89 $      30,129.89   $     60,259.78
1381   Taveras Marquez        Elvin                 NJ                         6/17/2018      1/26/2020 $    9,098.22 $       9,098.22   $     18,196.44
1382   Taylor                 Ryquana               NJ                         9/22/2019       1/5/2020 $      348.33 $         348.33   $        696.66
1383   Tejada                 Dilver                NJ                         12/9/2018      1/26/2020 $    9,952.34 $       9,952.34   $     19,904.68
1384   Tejada                 Martin                NJ                         8/13/2017     11/17/2019 $    2,197.54 $       2,197.54   $      4,395.08
1385   Tejada                 Miguel                NJ                        12/29/2019      1/26/2020 $      306.72 $         306.72   $        613.44
1386   Tellez Burgoa          Carlos Irving         NY                         1/14/2018      3/25/2018 $      522.46 $         522.46   $      1,044.92
1387   Tenorio Navarr         Evaristo Juan         NJ                         7/29/2018      1/26/2020 $    6,124.11 $       6,124.11   $     12,248.22
1388   Teyul                  Demetrio              NJ                          2/5/2017      1/26/2020 $   20,152.89 $      20,152.89   $     40,305.78
1389   Thigpen                Joseph                NY                         8/18/2019      1/26/2020 $    1,173.84 $       1,173.84   $      2,347.68




                                                                         19
                            Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 21 of 22 PageID: 846

                                                    Su v. Ernie's Auto Detailing Inc., et al.
                                                      Case No. 20-CV-17785-KM-ESK
                                                                   Exhibit 1


                                                                         Violation    To Violation
                                                     Geographic         Period From Period Week                         Liquidated     Total Damages
                Last Name           First Name       Worksheets         Week Ending     Ending      Back Wages Due     Damages Due          Due
1390   Tlacotia               Gerardo            NJ                       12/29/2019     1/26/2020 $         700.33   $       700.33   $      1,400.66
1391   Tlacotia Chico         Carlos             NJ                       12/29/2019     1/26/2020 $         690.73   $       690.73   $      1,381.46
1392   Tobar                  Santiago           NJ                        12/8/2019     1/26/2020 $         291.38   $       291.38   $        582.76
1393   Tobias                 Yohansi            NJ/NY/NYC                   9/3/2017    11/3/2019 $       5,412.52   $     5,412.52   $     10,825.04
1394   Tolentino              Aridio             NJ                          2/5/2017    1/26/2020 $      13,429.74   $    13,429.74   $     26,859.48
1395   Torrel Cruickshank     Mark               NYC                      12/10/2017     12/2/2018 $         121.28   $       121.28   $        242.56
1396   Torres                 Jesus              NJ                        1/19/2020     1/26/2020 $          89.56   $        89.56   $        179.12
1397   Torres                 Julio              PA                        2/24/2019     5/12/2019 $         817.42   $       817.42   $      1,634.84
1398   Torres                 Ruben              NJ                          4/7/2019    8/18/2019 $         919.17   $       919.17   $      1,838.34
1399   Torres                 Victor             Westchester               4/14/2019     12/8/2019 $       2,225.64   $     2,225.64   $      4,451.28
1400   Torres                 Juan               NYC                         2/5/2017    1/26/2020 $      34,138.78   $    34,138.78   $     68,277.56
1401   Torres Ponce           Julio              NJ                        12/8/2019      1/5/2020 $         280.58   $       280.58   $        561.16
1402   Torrez                 William            NJ                          7/2/2017    1/26/2020 $      15,455.65   $    15,455.65   $     30,911.30
1403   Tosta                  Eder               NJ                          2/5/2017   11/26/2017 $       2,858.36   $     2,858.36   $      5,716.72
1404   Trejo Rodriguez        Leonardo           NJ                        4/23/2017     5/14/2017 $         372.08   $       372.08   $        744.16
1405   Troncoso               Erick              NJ                          2/5/2017     9/8/2019 $         176.87   $       176.87   $        353.74
1406   Trujillo               Daniel             NJ                          3/3/2019    8/18/2019 $       2,148.06   $     2,148.06   $      4,296.12
1407   Ty                     Elmer              NJ                          2/5/2017    6/18/2017 $       2,444.75   $     2,444.75   $      4,889.50
1408   Ulloa                  Jesus              NJ                        1/26/2020     1/26/2020 $         176.28   $       176.28   $        352.56
1409   Urena                  Jose M.            NJ                       11/24/2019     1/26/2020 $         792.02   $       792.02   $      1,584.04
1410   Urena                  Rada               NJ                        5/12/2019     1/26/2020 $       1,576.17   $     1,576.17   $      3,152.34
1411   Urena Medina           Arcadio            NYC                       3/25/2018     3/31/2019 $       9,213.32   $     9,213.32   $     18,426.64
1412   Uribe                  Rafael E.          NYC                      10/21/2018     1/26/2020 $      20,336.97   $    20,336.97   $     40,673.94
1413   Us                     Oscar              NJ                          2/5/2017    6/17/2018 $         651.33   $       651.33   $      1,302.66
1414   Us                     Rolando            NJ                          2/5/2017    2/26/2017 $         243.17   $       243.17   $        486.34
1415   Uz                     Raul               NJ                          2/5/2017    7/30/2017 $       3,401.75   $     3,401.75   $      6,803.50
1416   Valencia               Diver              Westchester              12/31/2017     8/12/2018 $       4,428.99   $     4,428.99   $      8,857.98
1417   Valentine              Carlos             CT                        1/21/2018    11/18/2018 $         633.80   $       633.80   $      1,267.60
1418   Valladres              Diego              Long Island                 2/3/2019    1/26/2020 $       7,433.83   $     7,433.83   $     14,867.66
1419   Vallejos               Andre              NJ                        3/24/2019     3/31/2019 $          50.59   $        50.59   $        101.18
1420   Valverdez              Osvaldo            NJ                        10/7/2018     1/26/2020 $       5,334.56   $     5,334.56   $     10,669.12
1421   Vargas                 Glen               NYC                       2/10/2019     3/10/2019 $          76.16   $        76.16   $        152.32
1422   Vargas                 Nestor             NJ                          2/5/2017    5/21/2017 $       2,324.36   $     2,324.36   $      4,648.72
1423   Vargas                 Sergio             NJ                          7/2/2017    10/8/2017 $       1,442.68   $     1,442.68   $      2,885.36
1424   Vargas                 Wallin             NJ                        1/28/2018      4/8/2018 $         498.38   $       498.38   $        996.76
1425   Vargas Mercedes        Pedro Sadiel       NYC                      11/25/2018     1/26/2020 $      36,182.35   $    36,182.35   $     72,364.70
1426   Vasquez                Brayan E.          Long Island               4/16/2017     1/26/2020 $      19,838.36   $    19,838.36   $     39,676.72
1427   Vasquez                Brian              NJ                          7/2/2017    7/30/2017 $         142.80   $       142.80   $        285.60
1428   Vasquez                Gerson             NYC                       9/10/2017     1/26/2020 $      18,707.88   $    18,707.88   $     37,415.76
1429   Vasquez                Henry              NYC                       6/17/2018     6/24/2018 $          38.46   $        38.46   $         76.92
1430   Vasquez                Jerson D.          NJ                          6/9/2019    1/26/2020 $       2,755.06   $     2,755.06   $      5,510.12
1431   Vasquez                Mario              NJ                        9/15/2019     1/19/2020 $       3,212.97   $     3,212.97   $      6,425.94
1432   Vasquez                Monica G.          NJ/Long Island            6/18/2017     1/26/2020 $       8,143.62   $     8,143.62   $     16,287.24
1433   Vasquez Amaya          Julio Misael       NJ                          8/6/2017    1/26/2020 $      15,686.54   $    15,686.54   $     31,373.08
1434   Vasquez Gomez          Samuel             CT/NJ                       9/8/2019    1/26/2020 $         976.25   $       976.25   $      1,952.50
1435   Vasquez Narvaez        William            NJ                        4/22/2018     1/26/2020 $       9,928.91   $     9,928.91   $     19,857.82
1436   Vazquez Perez          Juan               NJ                        3/19/2017      8/4/2019 $       6,295.27   $     6,295.27   $     12,590.54
1437   Vega                   Matthew            NJ                        9/15/2019    10/13/2019 $         425.86   $       425.86   $        851.72
1438   Vela                   Elvin              Long Island                 2/4/2018    5/13/2018 $          69.02   $        69.02   $        138.04
1439   Vela                   Miguel             NJ                          2/5/2017   10/20/2019 $      11,272.38   $    11,272.38   $     22,544.76
1440   Velartes Quixon        Santos             NJ                          7/7/2019    1/26/2020 $       2,791.97   $     2,791.97   $      5,583.94
1441   Velartez               Santos             NJ                       10/29/2017     6/30/2019 $       5,504.91   $     5,504.91   $     11,009.82
1442   Velas                  Jason              Long Island               7/29/2018     8/12/2018 $         136.95   $       136.95   $        273.90
1443   Velasques-Calles       Bryan              NJ                        8/11/2019    11/17/2019 $          48.54   $        48.54   $         97.08
1444   Velasquez              Elmer              NJ                       10/22/2017     4/29/2018 $         265.37   $       265.37   $        530.74
1445   Velasquez              Irvin              NJ                        3/10/2019     1/26/2020 $       6,505.30   $     6,505.30   $     13,010.60
1446   Velasquez              Javier             NJ                          2/5/2017    1/26/2020 $      25,447.02   $    25,447.02   $     50,894.04
1447   Velasquez              Javier             Long Island               9/16/2018    12/30/2018 $       1,851.40   $     1,851.40   $      3,702.80
1448   Velasquez              Jose A.            NJ                        3/12/2017     1/26/2020 $       2,136.88   $     2,136.88   $      4,273.76
1449   Velasquez Licona       Ipolito Yoel       Long Island               7/29/2018     3/31/2019 $       3,641.20   $     3,641.20   $      7,282.40
1450   Velasquez Martinez     Roberto Carlos     Long Island               9/22/2019     1/26/2020 $       1,407.91   $     1,407.91   $      2,815.82
1451   Velasquez Mesa         Aristides          NJ                          6/9/2019     6/9/2019 $         132.25   $       132.25   $        264.50
1452   Velasquez Quixan       Encarnacion        NJ                          6/9/2019    1/26/2020 $       2,805.61   $     2,805.61   $      5,611.22
1453   Velasquez Quixon       Juan               NJ                        1/27/2019     1/26/2020 $       4,617.90   $     4,617.90   $      9,235.80
1454   Velez                  Pablo              NJ                        12/8/2019     1/26/2020 $       1,262.99   $     1,262.99   $      2,525.98
1455   Ventura                Adrian             NJ                          9/1/2019    1/26/2020 $       1,837.40   $     1,837.40   $      3,674.80
1456   Vera                   Elizabeth          NYC/ Long Island          2/25/2018    11/24/2019 $       8,384.24   $     8,384.24   $     16,768.48
1457   Verastegui             Omar               NJ                        8/27/2017    12/17/2017 $       2,084.92   $     2,084.92   $      4,169.84
1458   Vicente                Antonio            CT                          2/5/2017   10/29/2017 $       3,965.28   $     3,965.28   $      7,930.56
1459   Victoria               Yecid              NJ                          7/7/2019    1/26/2020 $       1,032.75   $     1,032.75   $      2,065.50
1460   Vilefort               Maxwell            NJ                        6/25/2017     7/30/2017 $         294.33   $       294.33   $        588.66
1461   Villagan               Ricardo            NJ                       12/16/2018     1/26/2020 $       5,714.78   $     5,714.78   $     11,429.56
1462   Villagran              Silvestre R.       NJ                        3/17/2019     6/23/2019 $       1,334.08   $     1,334.08   $      2,668.16
1463   Villalbos              David              NJ                        2/25/2018     4/15/2018 $         171.60   $       171.60   $        343.20



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                             Case 2:20-cv-17785-EP-LDW Document 78-3 Filed 05/11/23 Page 22 of 22 PageID: 847

                                                     Su v. Ernie's Auto Detailing Inc., et al.
                                                       Case No. 20-CV-17785-KM-ESK
                                                                    Exhibit 1


                                                                          Violation    To Violation
                                                       Geographic        Period From Period Week                          Liquidated     Total Damages
                 Last Name            First Name       Worksheets        Week Ending     Ending      Back Wages Due      Damages Due          Due
1464   Villalobos              Javier              NJ                       7/21/2019     1/19/2020 $       2,592.82    $     2,592.82   $      5,185.64
1465   Villalobos Narino       Luis Alfonso        NJ                         8/4/2019     1/5/2020 $         617.42    $       617.42   $      1,234.84
1466   Villanueva              Carlos A.           Long Island              1/14/2018     1/14/2018 $          39.23    $        39.23   $         78.46
1467   Villegas                Sebastian           NJ                         4/7/2019    4/28/2019 $         107.58    $       107.58   $        215.16
1468   Villot                  Luis                NYC                      9/10/2017     9/24/2017 $          90.84    $        90.84   $        181.68
1469   Viruet                  Daniel              NYC                     10/27/2019     1/26/2020 $       2,049.31    $     2,049.31   $      4,098.62
1470   Virula Cardona          Randolfo            NJ                      10/29/2017     6/23/2019 $       3,599.47    $     3,599.47   $      7,198.94
1471   Vivas                   Yersy               NJ                       2/25/2018      6/2/2019 $       2,173.75    $     2,173.75   $      4,347.50
1472   Viveros                 Hector              NYC                        2/3/2019    1/26/2020 $      15,574.30    $    15,574.30   $     31,148.60
1473   Viveros                 Hector              NJ                      11/25/2018     2/17/2019 $         268.30    $       268.30   $        536.60
1474   Vivona                  Leonarl             NJ                       4/16/2017    10/22/2017 $       1,821.39    $     1,821.39   $      3,642.78
1475   Vladimir Aponte         Russell             NYC                      3/10/2019     7/28/2019 $       7,528.98    $     7,528.98   $     15,057.96
1476   Warner                  Davani              NYC                        9/2/2018   10/28/2018 $         124.15    $       124.15   $        248.30
1477   Watson                  Oshane              NJ                         2/5/2017    2/12/2017 $          65.95    $        65.95   $        131.90
1478   Welger                  Ian                 NJ                       6/11/2017    10/29/2017 $       1,038.17    $     1,038.17   $      2,076.34
1479   Whall                   Malik               NYC                     10/29/2017    11/26/2017 $          64.00    $        64.00   $        128.00
1480   Wheeler                 Darrel              NJ                         9/3/2017    10/8/2017 $          36.42    $        36.42   $         72.84
1481   Wilfredo Zarralega      Carlos              Long Island              7/21/2019     1/26/2020 $       3,227.68    $     3,227.68   $      6,455.36
1482   William                 Dyquan              NJ                       4/29/2018     5/20/2018 $         139.65    $       139.65   $        279.30
1483   William Alexander       Andrew              NY                       1/19/2020     1/26/2020 $          60.77    $        60.77   $        121.54
1484   Williamn Bernabe        Cristobal           NJ                       8/19/2018     6/23/2019 $       5,458.55    $     5,458.55   $     10,917.10
1485   Wilson                  Javen               NJ                       12/2/2018     7/14/2019 $         928.95    $       928.95   $      1,857.90
1486   Xicay                   Erick               NJ                         2/5/2017    6/18/2017 $       3,207.25    $     3,207.25   $      6,414.50
1487   Xol Tylul               Victoriano          NJ                       1/13/2019     1/26/2020 $       5,001.13    $     5,001.13   $     10,002.26
1488   Yaurimo                 Carlos              NJ                         2/5/2017    6/11/2017 $       2,145.92    $     2,145.92   $      4,291.84
1489   Yos Perez               Israel              NJ                       4/14/2019     1/26/2020 $       4,499.70    $     4,499.70   $      8,999.40
1490   Zabrana Guillen         Jonathan            NJ                      10/13/2019     1/19/2020 $         484.40    $       484.40   $        968.80
1491   Zacarias                Jose                NJ                         2/5/2017     6/4/2017 $       1,378.67    $     1,378.67   $      2,757.34
1492   Zacarias Lorenzo        Agustin             NJ                         6/4/2017    9/22/2019 $       3,789.95    $     3,789.95   $      7,579.90
1493   Zacarias Lorenzo        Augustin            NJ                       1/13/2019     1/26/2020 $       4,501.30    $     4,501.30   $      9,002.60
1494   Zambon                  Mauro               NYC                        4/9/2017    12/2/2018 $      14,781.93    $    14,781.93   $     29,563.86
1495   Zamora                  Marco               Westchester              2/18/2018     5/27/2018 $       3,497.38    $     3,497.38   $      6,994.76
1496   Zamudio                 Oscar               NJ                         2/5/2017    12/1/2019 $      29,618.14    $    29,618.14   $     59,236.28
1497   Zapata                  Ibriel              NJ                       12/3/2017      4/7/2019 $       4,670.70    $     4,670.70   $      9,341.40
1498   Zarzuela                Samuel              NJ                       1/12/2020     1/26/2020 $         278.48    $       278.48   $        556.96
1499   Zavala                  Carlos Alvarenga    NJ                         1/6/2019    1/26/2020 $       7,797.90    $     7,797.90   $     15,595.80
1500   Zavaleta                Ernesto             NJ                       3/10/2019      4/7/2019 $         618.84    $       618.84   $      1,237.68
1501   Zepeda                  Joel                CT/Westchester          12/17/2017     1/26/2020 $       9,696.18    $     9,696.18   $     19,392.36
1502   Zorrilla                Javier              NYC                      8/19/2018     2/10/2019 $         150.40    $       150.40   $        300.80
1503   Zuniga                  Edgar               NJ                       8/11/2019     1/26/2020 $       1,766.25    $     1,766.25   $      3,532.50
1504   Zurita                  Oscar E.            NJ                         2/5/2017    1/26/2020 $      18,418.28    $    18,418.28   $     36,836.56

       Totals:                                                                                     $     8,277,810.00   $ 8,277,810.00 $ 16,555,620.00




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